                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF TENNESSEE
                            KNOXVILLE DIVISION




    LEWIS COSBY, KENNETH R. MARTIN,               )
    as beneficiary of the Kenneth Ray Martin      )
    Roth IRA, and MARTIN WEAKLEY on               )
    behalf of themselves and all others           )
    similarly situated,                           )
                                                  )
               Plaintiffs,                        )
                                                  )
    v.                                            ) No.: 3:16-CV-121-TAV-DCP
                                                  )
    KPMG, LLP,                                    )
                                                  )
               Defendant.                         )




            CORRECTED EXPERT REPORT OF CHAD COFFMAN, CFA




                                 April 19, 2019




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 1 of 125 PageID #:
                                   7446
                                                        Table of Contents
                                                                                                                                          Page

 Explanation of Need for Correction and Summary of Changes: .................................................... 3
 I.          INTRODUCTION .................................................................................................................. 12
 II.         QUALIFICATIONS ............................................................................................................... 13
 III.        SUMMARY OF OPINIONS ................................................................................................. 14
 IV.         OVERVIEW OF THE COMPANY AND ALLEGATIONS .............................................. 15
 V.          DISCUSSION OF RELIANCE ELEMENT ........................................................................ 16
 VI.         CAMMER FACTORS ........................................................................................................... 19
 VII.        APPLICATION OF EFFICIENCY FACTORS TO MILLER ENERGY SECURITIES
             ………………………………………………………………………………………………...20
        A.         OVERVIEW ............................................................................................................... 20
        B.         CAMMER FACTOR 1: AVERAGE WEEKLY TRADING VOLUME ................... 23
        C.         CAMMER FACTOR 2: ANALYST COVERAGE ................................................... 25
        D.         CAMMER FACTOR 3: MARKET MAKERS .......................................................... 28
        E.         CAMMER FACTOR 4: SEC FORM S-3 ELIGIBILITY .......................................... 30
        F.         CAMMER FACTOR 5: PRICE REACTION TO NEW INFORMATION ............... 31
        G.         ADDITIONAL FACTOR 1: MARKET CAPITALIZATION ................................... 49
        H.         ADDITIONAL FACTOR 2: THE BID-ASK SPREAD ............................................ 51
        I.         ADDITIONAL FACTOR 3: INSTITUTIONAL OWNERSHIP ............................... 54
        J.         ADDITIONAL FACTOR 4: AUTOCORRELATION .............................................. 54
        K.         ADDITIONAL FACTOR 5: OPTIONS ..................................................................... 57
 VIII. SECTION 10b-5 DAMAGES ................................................................................................ 57
 IX.         SECTION 11 DAMAGES ...................................................................................................... 59
 X.          CONCLUSION ....................................................................................................................... 60




                                                                    2
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 2 of 125 PageID #:
                                   7447
 Explanation of Need for Correction and Summary of Changes:

          i.     I initially filed my Expert Report on March 15, 2019 (the “Initial Report”). At my

 deposition on April 12, 2019, I was asked a number of questions and was shown a number of

 exhibits that suggested there were inadvertent errors in my Initial Report. Upon further review

 and as described below and demonstrated in this Corrected Expert Report, correction of these

 inadvertent errors did not impact the conclusions to be drawn from my report or change any of

 my opinions.

          ii.    First, in my initial report, I made an inadvertent error in identifying the date upon

 which the market would have first reacted to Miller Energy’s release of Q4 2013 earnings. I

 erroneously relied upon the timing of a Dow Jones Newswires publication of a “Correction” to

 the earnings report instead of the timing of the original earnings report. This inadvertent error

 caused me to analyze July 17, 2013 as the market date for the Q4 2013 earnings announcement,

 instead of July 16, 2013. I have confirmed that the market date for the other 16 earnings

 announcements I analyzed was correct.1 I have made this correction in my analysis of all Miller

 Energy Securities.

          iii.   Second, there are two days upon which Plaintiffs assert that news impacted the

 market price of Miller Energy that were inaccurately classified as “no news” days in my analysis

 (the StreetSweeper report issued after market hours on December 23, 2013 that would have

 impacted the market on December 24, 2013, and a Reuters article issued after market hours on




 1
   In my review, I also discovered evidence that the specific time of day I referenced was not always the earliest
 available reporting of certain earnings releases. I have revised the time of day where appropriate, and the
 identification of the earliest source, but none of these changes impacted the relevant identification of the market date
 or any of the analysis.




                                                       3
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 3 of 125 PageID #:
                                   7448
 October 13, 2014, that would have impacted the market on October 14, 2014).2 I have made this

 correction in my analysis of all Miller Energy Securities.

            iv.    As demonstrated within this Corrected Expert Report, while correction of these

 inadvertent errors changes certain numbers and calculations contained within the report, it does

 not impact in any way the ultimate conclusions to be drawn from the analysis or the opinions I

 have offered in this case. In addition, the errors do not indicate that the methodology used in my

 report, which is standard and regularly accepted by Courts throughout the country, is inadequate

 in any way.

            v.     As part of my detailed review, I also re-evaluated whether it was appropriate to

 include Miller Energy’s press release announcing Q4 2011 earnings after market hours on

 August 30, 2011 as new news to be analyzed given that information about Q4 2011 earnings had

 been previously released (as described further below). After my review, I can confirm that it was

 appropriate to include this earnings release in my analysis.3

            vi.    As part of this review, however, I performed additional analysis of the movements

 of Miller Energy’s Common Stock to information concerning the original reporting of Miller

 Energy’s FY 2011 financial performance which would have subsumed and provided information

 about earnings in Q4 2011 prior to August 30, 2011. In addition, this analysis sheds light on the



 2
  StreetSweeper reports are not contained in either Factiva or Investext, the third-party news and analyst report
 providers I relied upon, respectively. The Reuters article on October 13, 2014 was included in the original Factiva
 search, but was incorrectly treated as having occurred during market hours instead of after market hours. Generally
 speaking, I am confident that the methodology I employed here and have used in many other reports to identify “no
 news” dates will reliably identify days on which major news related to a company is released. However, because the
 coverage of Factiva and Investext is not universal (indeed I acknowledged in my Initial Report that Investext does
 not have universal coverage of analyst reports and that there are likely reports that I do not have) and there can be
 some ambiguity in the timing of news releases (e.g. if there is no time stamp, or the time stamp is not reported as
 expected) without intensive investigation, the methodology I employed to identify “no news” dates is necessarily not
 perfect. As I testified in my deposition, however, the inadvertent treatment of a potential news day as a “no news”
 day would, if anything, bias against finding a cause and effect relationship.
 3
     My conclusions are ultimately not sensitive to whether this event is included or not.


                                                         4
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 4 of 125 PageID #:
                                   7449
 subject of whether there is any evidence that the release of any of KPMG’s audit reports

 impacted the market price of Miller Energy Securities (an issue that was not the subject of my

 Initial Report and is irrelevant to the question of whether the market for Miller Energy Securities

 is efficient, but was raised multiple times during my deposition). I can confirm that the unique

 and complicated release of earnings information for Q4 2011 provides both additional strong

 evidence that the market for Miller Energy Securities was efficient during the Analysis Period,

 and that the prices of Miller Energy Securities were impacted by KPMG’s audit reports.

         vii. Specifically, during market hours on July 28, 2011, TheStreetSweeper published a

 report that, among other things, raised serious questions about the legitimacy of Miller Energy’s

 accounting and noted that the Company was late in providing audited financial statements.4 The

 intraday price chart below shows an immediate market reaction to that news, and demonstrates

 that the Company lost over 20% of its value. Furthermore, on this date, my event study indicates

 that the market price of Miller Energy Common Stock fell by 23.40%, after controlling for

 market and industry effects. This abnormal price decrease is statistically significant at the 99%

 level with a t-statistic of -8.83.5




 4
  “TheStreetSweeper Posts Negative Report on Miller Energy,” Benzinga, July 28, 2011 2:46 PM; “Miller Energy:
 This Hot ‘Alaska’ Stock May Be About to Melt (Part 1),” The Street Sweeper, July 28, 2011
 https://seekingalpha.com/article/282825-miller-energy-this-hot-alaska-stock-may-be-about-to-melt-part-1; “Miller
 Energy: This Hot ‘Alaska’ Stock May Be About to Melt (Part 2),” The Street Sweeper, July 28, 2011,
 https://seekingalpha.com/article/282825-miller-energy-this-hot-alaska-stock-may-be-about-to-melt-part-2.
 5
  I expanded the time period of my event study methodology to analyze the price movements and statistics for these
 pre-Analysis Period dates discussed in this section.


                                                     5
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 5 of 125 PageID #:
                                   7450
         viii. On the next trading day, July 29, 2011, the market price of Miller Energy declined

 even further, although in the middle of trading hours, Miller Energy’s CEO told the market that

 the allegations of fraud in TheStreetSweeper report were false, and that it would be releasing its

 audited Form 10-K that evening.6 On this date, my event study indicates that the market price of

 Miller Energy Common Stock fell by 17.66%, after controlling for market and industry effects.

 This abnormal price decrease is statistically significant at the 99% confidence level with a t-

 statistic of -6.64.




 6
  “Miller Energy (MILL) CEO Fights Back, Says ‘Nothing to Hide’; Stock Moving Higher,” StreetInsider.com, July
 29, 2011.


                                                  6
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 6 of 125 PageID #:
                                   7451
            ix.   After market hours on Friday July 29, 2011, Miller Energy released its purportedly

 audited Form 10-K7 (and thus first provided the market with information on its Q4 2011

 earnings). However, prior to the market opening on the next trading day of Monday, August 1,

 2011, the Company retracted the issuance of the Form 10-K because KPMG had not authorized

 the release of an audit opinion.8 In reaction to this news, my event study indicates that the market

 price of Miller Energy Common Stock fell by 9.97% on August 1, 2011, after controlling for

 market and industry effects. This abnormal price decrease is statistically significant at the 99%

 confidence interval with a t-statistic of -3.20.




 7
     Miller Energy Resources, Inc. SEC Form 10-K filed July 29, 2011 5:36 PM ET.
 8
     Miller Energy Resources, Inc. SEC Form 8-K filed August 1, 2011 9:20 AM ET.


                                                     7
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 7 of 125 PageID #:
                                   7452
        x.     By the evening of August 1, 2011, law firms began to announce investigations into

 the events that led to the unauthorized release of KPMG’s audit opinion, and the market price of

 Miller Energy Common Stock declined significantly on August 2, 2011. My event study

 indicates that the market price of Miller Energy Common Stock fell by 12.42%, after controlling

 for market and industry effects. This abnormal price decrease is statistically significant at the

 99% confidence interval with a t-statistic of -3.98.




                                               8
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 8 of 125 PageID #:
                                   7453
           xi.    On August 8, 2011, Miller Energy published an amended Form 10-K/A after-

 market hours that removed reference to KPMG’s audit opinion and made clear the results

 remained unaudited.9 This 10-K/A once again provided the market with earnings results for Q4

 2011. On August 9, 2011, my event study indicates that the market price of Miller Energy

 Common Stock fell by 18.01%, after controlling for market and industry effects. This abnormal

 price decrease is statistically significant at the 99% confidence level with a t-statistic of -5.13.




 9
     Miller Energy Resources, Inc. SEC Form 10-K/A filed August 8, 2011 9:32 PM ET


                                                    9
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 9 of 125 PageID #:
                                   7454
             xii. On August 29, 2011, Miller Energy released its final audited version of the Form

  10-K/A with KPMG’s audit opinion.10 This release once again provided the market with

  earnings information for Q4 2011, but now with the blessing of KPMG’s official audit opinion.

  With the questions surrounding whether Miller Energy would be able to publish a Form 10-K

  consistent with its prior accounting with the blessing of an auditor now resolved, the market

  price of Miller Energy climbed by over 50% on a single day. Indeed, my event study indicates

  that the market price of Miller Energy Common Stock increased by 57.85%, after controlling for

  market and industry effects. This abnormal price increase is statistically significant at the 99%

  confidence level with a t-statistic of 13.96.




  10
       Miller Energy Resources, Inc. SEC Form 10-K/A filed August 29, 2011 7:46 AM ET.


                                                     10
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 10 of 125 PageID #:
                                    7455
          xiii. The ultimate conclusion from this detailed history of the release of Q4 2011

  earnings is that (1) Miller Energy had several times already represented to the market what

  earnings it had achieved in Q4 2011 before the August 30, 2011 earnings announcement11

  (which provides additional evidence as to why it is not surprising that the formal “earnings

  release” on August 30, 2011 did not cause a statistically significant price change); and (2) the

  history of the release of Q4 2011 earnings provides its own unique evidence of how the market

  price of Miller Energy responded quickly to new publicly available information. This additional

  analysis further provides evidence of a clear cause and effect relationship between Company

  specific information and changes in the market price of Miller Energy Common Stock.




  11
    The new information contained in the Form 8-K and press release released on August 30, 2011 is presented in
  “Reconciliation of EBITDA to GAAP” and “Consolidated Statement of Income for Three Months ended April 30,
  2011.” Total Revenue, Operating Loss, and Net Income were previously reported in Miller Energy’s amended 10-K
  released on August 29, 2011.


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Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 11 of 125 PageID #:
                                    7456
  I.    INTRODUCTION

          1.     I, Chad Coffman, am the President of Global Economics Group, a Chicago-based

  firm that specializes in the application of economics, finance, statistics, and valuation principles

  to questions that arise in a variety of contexts, including, as here, in the context of litigation. I

  have been asked by counsel for the Plaintiffs in this matter to examine and opine on whether the

  markets for Miller Energy Resources, Inc. (“Miller Energy” or the “Company”) publicly traded

  securities were efficient during the period from August 29, 2011 through July 30, 2015, inclusive

  (“Analysis Period”).12 The Miller Energy publicly traded securities (collectively, “Miller Energy

  Securities”) I have been asked to consider include Miller Energy common stock (“Miller Energy

  Common Stock” or “Common Stock”) and Miller Energy’s two preferred securities (“Miller

  Energy Preferred Securities” or “Preferred Securities”): Miller Energy 10.75% Series C

  Cumulative Redeemable Preferred Stock (“Miller Energy Series C Preferred Stock” or “Series C

  Preferred Stock”), and Miller Energy 10.5% Series D Fixed Rate/Floating Rate Cumulative

  Redeemable Preferred Stock (“Miller Energy Series D Preferred Stock” or “Series D Preferred

  Stock”).

          2.     In addition, I have been asked to opine on whether calculating damages in this

  matter is subject to a common methodology under Section 10(b) of the Securities Exchange Act

  of 1934 (the “Exchange Act”) and SEC Rule 10b-5 adopted thereunder (collectively “Section

  10(b)”). Plaintiffs also have separate claims under Section 11 of the Securities Act of 1933 (the

  “Securities Act”) for the offerings of Series C Preferred Stock and Series D Preferred Stock. I



  12
    The stated Class Period in the Second Amended Class Action Complaint is August 29, 2011 – October 1, 2015,
  however, Counsel for Plaintiffs has asked me to opine on market efficiency from the beginning of the Class Period
  through July 30, 2015 (i.e. the market date before Miller Energy Securities were delisted from the New York Stock
  Exchange).


                                                     12
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 12 of 125 PageID #:
                                    7457
  was also asked to explain and demonstrate the method for computing statutory damages under

  Section 11 of the Securities Act related to these offerings.

             3.    The materials I have considered in forming my opinions are summarized in

  Appendix A. Global Economics Group is being compensated at an hourly rate of $800 per hour

  for my work on this matter, and at rates between $170 and $450 for members of my staff who

  performed work in connection with this report under my direction and supervision. My

  compensation is in no way contingent on the outcome of this case. My qualifications are

  described below.

  II.      QUALIFICATIONS

             4.    I hold a Bachelor’s Degree in Economics with Honors from Knox College and a

  Master’s of Public Policy from the University of Chicago. I am also a CFA charter-holder. The

  CFA, or Chartered Financial Analyst, designation is awarded to those who have sufficient

  practical experience and complete a rigorous series of three examinations over three years that

  cover a wide variety of financial topics including financial statement analysis and valuation.

             5.    I, along with several others, founded Global Economics Group on March 25,

  2008.13 Prior to starting Global Economics Group, I was employed by Chicago Partners LLC for

  over twelve years where I was responsible for conducting and managing analysis in a wide

  variety of areas, including securities valuation and damages, labor discrimination, and antitrust. I

  have been engaged numerous times as a valuation expert both within and outside the litigation

  context. My experience in class action securities cases includes work for plaintiffs, defendants,

  D&O insurers, and a prominent mediator (Retired Judge Daniel Weinstein) to provide economic

  analysis and opinions in dozens of securities class actions, as well as other matters. As a result of


  13
       Prior to March 16, 2011, Global Economics Group was known as Winnemac Consulting, LLC.


                                                    13
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 13 of 125 PageID #:
                                    7458
  my involvement in these cases, much of my career has been spent analyzing and making

  inferences about how quickly and reliably, and to what degree, new information impacts

  securities prices.

          6.    My qualifications are further detailed in my curriculum vitae, which is attached as

  Appendix B.

  III. SUMMARY OF OPINIONS

          7.    After analyzing Miller Energy’s Securities during the Analysis Period and giving

  careful consideration to the efficiency factors described in detail throughout this report, I have

  formed the opinion that the markets for Miller Energy Securities were efficient during the

  Analysis Period. I have also formed the opinion that damages can be calculated for the two

  proposed Classes on a class-wide basis. These opinions are based upon my analysis described in

  the remaining sections of this report.

          8.    The remainder of this report is organized as follows: Section IV of this report

  provides an overview of Miller Energy’s business operations and the allegations in this case.

  Section V discusses the reliance requirement for the claims under Section 10(b) of the Exchange

  Act and the “fraud on the market” theory. Section VI introduces the Cammer factors and other

  factors that financial economists and courts apply when evaluating market efficiency under the

  “fraud on the market” theory. Section VII provides the results of my empirical evaluation of

  each Cammer factor and other factors for the Miller Energy Securities during the Analysis

  Period. Section VIII addresses how damages under Rule 10(b)-5 in this matter are subject to a

  common approach and methodology that can be applied class-wide. Finally, Section IX

  describes the computation of statutory damages under Section 11 of the Securities Act.




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Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 14 of 125 PageID #:
                                    7459
             9.     I reserve the right to amend this report, including to reflect new information that

  becomes available to me in light of the discovery process and/or future rulings from the Court.

  IV.        OVERVIEW OF THE COMPANY AND ALLEGATIONS

             10.    During the Analysis Period, Miller Energy was incorporated in the state of

  Tennessee with its headquarters in Knoxville, Tennessee. Miller Energy described its business,

  in part, as follows:

                      We are an independent exploration and production company that utilizes
                      seismic data and other technologies for geophysical exploration,
                      development and operation of oil and gas wells in southcentral Alaska,
                      including the Cook Inlet and Kenai Peninsula, and the Appalachian region
                      of east Tennessee. During fiscal 2015, we expect to expand our operations
                      into Alaska’s North Slope (the “North Slope”) through our acquisition of
                      Savant Alaska, LLC (“Savant). Occasionally we offer these services to
                      third-party customers on a contract basis. During fiscal 2014, we continued
                      to develop our oil and gas operations acquired from Pacific Energy
                      Resources (“Pacific Energy”) in December 2009 through a bankruptcy
                      proceeding, including onshore and offshore production and processing
                      facilities, the offshore Osprey platform, and approximately 700,000 lease or
                      exploration license acres of land, along with hundreds of miles of 2-D and
                      3-D geologic seismic data, miscellaneous rods, pads, pipelines and
                      facilities.14

             11.    For the fiscal year-end 2014, Miller Energy reported the following financial figures:

  revenues of $70.5 million, operating loss of -$10.6 million, and net income loss of -$28.5

  million.15 As of April 2014, Miller Energy employed 84 employees16, and the Company’s

  Common Stock shares traded on the New York Stock Exchange under the ticker “MILL.”17



  14
    Miller Energy Resources, Inc. SEC Form 10-K for the Fiscal Year-End April 30, 2011, p. 4., Miller Energy
  Resources, Inc. SEC Form 10-K for the Fiscal Year-End April 30, 2012 p. 1., Miller Energy Resources, Inc. SEC
  Form 10-K for the Fiscal Year-End April 30, 2013 p. 1., Miller Energy Resources, Inc. SEC Form 10-K for the
  Fiscal Year-End April 30, 2014, p. 1.
  15
       Miller Energy Resources, Inc. SEC Form 10-K for the Fiscal Year-End April 30, 2014, p. F-4.
  16
       Miller Energy Resources, Inc. SEC Form 10-K for the Fiscal Year-End April 30, 2014, p. 17.
  17
       Miller Energy Resources, Inc. SEC Form 10-K for the Fiscal Year-End April 30, 2014, p. 36.




                                                       15
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 15 of 125 PageID #:
                                    7460
  Miller Energy’s Series C Preferred Stock and Series D Preferred Stock also traded on the New

  York Stock Exchange under the tickers “MillprC” and “MillprD,” respectively.18

             12.   Plaintiffs’ Complaint alleges that KPMG19 issued false and misleading statements

  and omitted material information during the Analysis Period, ultimately causing damages to

  purchasers of Miller Energy Securities who unknowingly bought Miller Energy Securities at

  artificially inflated prices and were damaged when the market prices ultimately reflected the

  concealed information.20

             13.   More specifically, the Complaint claims, among other things, that KPMG issued

  audit reports containing unqualified opinions on Miller Energy’s annual financial statements for

  fiscal years 2011 through 2014, even though Miller Energy’s financial statements were not

  prepared according to Generally Accepted Accounting Principles and vastly overstated the value

  of Miller Energy’s assets in Alaska.21 The Complaint alleges that the relevant truth was

  revealed to the markets over a series of partial corrective disclosures.22

  V.       DISCUSSION OF RELIANCE ELEMENT

             14.   Class members’ reliance on the alleged misstatements and material omissions is a

  required element for Plaintiffs’ Section 10(b) claims. Plaintiffs assert the “fraud on the market”

  theory of reliance in this matter. The “fraud on the market” theory is based on the fact that in an

  efficient market (one in which widely-available public information is quickly incorporated into

  the market price of a security), all purchasers implicitly rely on any material misrepresentations


  18
    Miller Energy Resources, Inc. SEC Form 424(b)(5) filed September 28, 2012 and Miller Energy Resources, Inc.
  SEC Form 424(b)(5) filed October 17, 2013.
  19
       Complaint ¶¶ 18-20.
  20
       Complaint ¶¶ 257 and 314.
  21
       Complaint ¶ 2.
  22
       Complaint ¶¶ 197-244.


                                                    16
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 16 of 125 PageID #:
                                    7461
  or omissions since the value of those misrepresentations or omissions is incorporated into each

  class member’s purchase price. The “fraud on the market” theory was first addressed by the U.S.

  Supreme Court in Basic Inc. v. Levinson:

                     …[I]n an open and developed securities market, the price of a company's
                     stock is determined by the available material information regarding the
                     company and its business…Misleading statements will therefore defraud
                     purchasers of stock even if the purchasers do not directly rely on the
                     misstatements…The causal connection between the defendants’ fraud and
                     the plaintiffs’ purchase of stock in such a case is no less significant than in a
                     case of direct reliance on misrepresentations.23

             15.    The Supreme Court recently reaffirmed this theory in Halliburton II:

                     More than 25 years ago, we held that plaintiffs could satisfy the reliance element
                     of the Rule 10b-5 cause of action by invoking a presumption that a public, material
                     misrepresentation will distort the price of stock traded in an efficient market, and
                     that anyone who purchases the stock at the market price may be considered to have
                     done so in reliance on the misrepresentation. We adhere to that decision and
                     decline to modify the prerequisites for invoking the presumption of reliance.24


             16.    As indicated in Basic and reaffirmed in Halliburton II, in an open, developed and

  efficient market, market prices reflect what is known about a company. If a company, or an

  auditor, provides the market with misleading information regarding its financial strength or

  business practices, the market price will be inflated (or deflated) compared to what the price

  would have been if the truth were known (but-for misleading information). Thus, in an efficient

  market, where the plaintiff asserts there were material misrepresentations or omissions, all

  purchasers implicitly relied on those misrepresentations and/or lack of disclosure by paying the

  inflated (or deflated) price.




  23
       Basic Inc., v. Levinson, 485 U.S. 224 (1988) (“Basic”), 241-42.
  24
       Halliburton Co., et al., v. Erica P. John Fund, Inc., 134 S. Ct. 2398, 2418 (2014) (“Halliburton II”).




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Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 17 of 125 PageID #:
                                    7462
             17.     Determining whether the market for a security was “open and developed” or

  “efficient” to the degree required for a presumption of reliance under the “fraud on the market”

  theory is an empirical exercise.25 The esteemed economist Dr. Eugene Fama, in his seminal

  research, first outlined definitions of an “efficient market.”26 He described different levels of

  efficiency which he called “weak-form,” “semi-strong-form,” and “strong-form” efficiency.27

             18.     The market efficiency standard adopted by Basic and reaffirmed by Halliburton II

  as necessary for the presumption of reliance conforms most closely with Dr. Fama’s “semi-

  strong form” efficiency. “Semi-strong form” efficiency implies that all publicly available

  information is reflected in a security’s current market price. This implies that security prices

  adjust to new publicly available information rapidly and in an unbiased fashion so that it is

  impossible to earn excess returns by trading on that information. Basic stated: “In an open and

  developed securities market, the price of a company’s stock is determined by the available

  material information regarding the company and its business.”28 The Supreme Court’s effective

  adoption of the “semi-strong form” efficiency standard is economically sensible because it

  recognizes that insiders often possess non-public information and that securities prices do not


  25
    To recognize the presumption of reliance, the Court explained, was not “conclusively to adopt any particular
  theory of how quickly and completely publicly available information is reflected in market price.” Basic, n.28. The
  Court instead based the presumption on the fairly modest premise that “market professionals generally consider
  most publicly announced material statements about companies, thereby affecting stock market prices.” Basic, n.24.
  Basic’s presumption of reliance thus does not rest on a “binary” view of market efficiency, but rather, market
  efficiency is a matter of degree.
  26
       Fama, E., Efficient Capital Markets: A Review of Theory and Empirical Work, 25 J. FIN. 383 (1970).
  27
    “Weak-form” efficiency requires that historical prices are not predictive of future prices. Under this form of
  efficiency, excess returns cannot be earned using strategies based on historical prices. Therefore, technical analysis
  will not produce consistent excess returns over time. “Semi-strong form” efficiency implies that all public
  information is reflected in a stock's current market price. Security prices adjust to new publicly available
  information rapidly and in an unbiased fashion so that it is impossible to earn excess returns by trading on that
  information. Under this form of efficiency, neither fundamental nor technical analysis can produce consistent excess
  returns. “Strong-form” efficiency implies all information in the market, whether public or private, is accounted for in
  the market price. In this market, investors cannot consistently earn excess returns over a long period of time even if
  they have inside information.
  28
       Basic, 241.


                                                        18
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 18 of 125 PageID #:
                                    7463
  necessarily reflect this non-public information, but that to presume reliance, the market price

  must reflect publicly available information.

             19.    In the next section, I explain the factors that are regularly considered by financial

  economists and courts in determining whether the markets for these particular securities were

  efficient.

  VI. CAMMER FACTORS

             20.    In Cammer v. Bloom, the Court identified the following factors as relevant to the

  determination of whether an efficient market exists for a given security: 1) average weekly

  trading volume, 2) analyst coverage, 3) market makers, 4) SEC Form S-3 eligibility, and 5) price

  reaction to unexpected information.29

             21.    The Cammer decision relied on Bromberg & Lowenfels’ definition of efficiency.

  As articulated below, the adopted definition of efficiency is consistent with Fama’s definition of

  “semi-strong” efficiency. For the purposes of this exercise, I adopt Bromberg & Lowenfels’

  definitions for the terms “open,” “developed,” and “efficient” as described below:

                     An open market is one in which anyone, or at least a large number of persons,
                     can buy or sell.

                     A developed market is one which has a relatively high level of activity and
                     frequency, and for which trading information (e.g., price and volume) is
                     widely available. It is principally a secondary market in outstanding
                     securities. It usually, but not necessarily, has continuity and liquidity (the
                     ability to absorb a reasonable amount of trading with relatively small price
                     changes).

                     An efficient market is one which rapidly reflects new information in price.




  29
       Cammer, et al., v. Bruce M. Bloom, et al., 711 F. Supp. 1264 (D.N.J. 1989) (“Cammer”).




                                                       19
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 19 of 125 PageID #:
                                    7464
                 These terms are cumulative in the sense that a developed market will almost
                 always be an open one. And an efficient market will almost invariably be a
                 developed one.30

          22.   While there is a well-accepted economic theory of market efficiency, there are no

  broadly accepted bright-line empirical tests that allow one to classify a particular market as

  “efficient” or “inefficient.” In my view, the Cammer decision identified important metrics to

  consider when evaluating efficiency for purposes of the “fraud on the market” theory. I also

  consider a number of other factors that courts have utilized beyond the Cammer factors.

  However, since there are no bright-line tests for efficiency, it is important to consider the

  identified efficiency factors as a whole because none of the individual tests or metrics is

  determinative as to whether a particular market is efficient.

          23.   In the subsequent sections, I evaluate the markets for Miller Energy Securities

  during the Analysis Period under each of the Cammer factors, as well as the following additional

  factors that courts have also considered in assessing market efficiency: 1) market capitalization,

  2) bid-ask spread, 3) the fraction of shares held by institutional investors, and 4) autocorrelation

  (meaning whether there is a pattern in a security’s returns so that future returns can be predicted

  based upon past returns), and 5) options trading.

  VII. APPLICATION OF EFFICIENCY FACTORS TO MILLER ENERGY
       SECURITIES

       A. OVERVIEW

          24.   After giving careful consideration to each of the efficiency factors described in

  detail below, I find that each factor supports the conclusion that the markets for Miller Energy

  Securities were efficient throughout the Analysis Period. In addition to the discussion below,


  30
    Cammer, 711 F. Supp. at 1276 n.17 (citing Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud,
  § 8.6 (Aug. 1988) (“Bromberg & Lowenfels”)) (emphasis added).


                                                   20
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 20 of 125 PageID #:
                                    7465
  Exhibit 1 summarizes how, for each of the factors examined, the empirical evidence supports a

  finding that each of the Miller Energy Securities traded in an efficient market. Exhibit 1 reflects

  that for certain factors there are separate empirical analyses for each of the Miller Energy

  Securities, while for other factors there is a single analysis that applies to Miller Energy

  Securities as a whole. For instance, Cammer Factor 2 deals with analyst coverage. Analyst

  reports disseminate value-relevant information about the financial prospects of the Company

  overall and their relevance is not limited to Miller Energy Common Stock.

          25.    As further background to my analyses, Exhibit 2, Exhibit 2-C, and Exhibit 2-D

  display the closing price and trading volume for each day throughout the Analysis Period for

  Miller Energy Common Stock, Miller Energy Series C Preferred Stock and Miller Energy Series

  D Preferred Stock, respectively.31 Appendix C provides background information and details on

  the terms of Miller Energy Series C Preferred Stock and Miller Energy Series D Preferred Stock.

          26.    In summary, and as discussed more fully below, Miller Energy Securities traded in

  efficient markets during the Analysis Period. First, the average weekly trading volume of all

  Miller Energy Securities during the Analysis Period far exceeded benchmarks that courts have

  established, and each of the Miller Energy Securities had an average weekly trading volume that

  exceeded the average security traded on the New York Stock Exchange (“NYSE”) and the

  NASDAQ Exchange (“NASDAQ”).32 Second, there were a substantial number of securities

  analysts following and reporting on Miller Energy. Third, Miller Energy Securities were actively

  traded on the New York Stock Exchange, fulfilling the Cammer factor regarding market makers.


  31
    When referring to exhibits, exhibits labeled “C” and “D” refer to Miller Energy 10.75% Series C Preferred Stock
  and Miller Energy 10.5% Series D Preferred Stock, respectively. Exhibits labelled without a letter (with the
  exception of Exhibit 9 through Exhibit 12) reference Miller Energy Common Stock.
  32
    The average weekly trading volume was 5.04%, 5.16%, and 7.93% of shares outstanding for the Common Stock,
  Series C Preferred Stock, and Series D Preferred Stock, respectively, during the Analysis Period. The average
  weekly trading volume for stocks trading on the NYSE and NASDAQ during the Analysis Period was 2.36%.


                                                     21
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 21 of 125 PageID #:
                                    7466
  Fourth, Miller Energy filed multiple SEC Forms S-3 during the Analysis Period, met the

  important eligibility criteria, and was apparently eligible to file a Form S-3 throughout the

  majority of the Analysis Period. Fifth, over most of the Analysis Period, prior to the market

  prices of Miller Energy Securities substantially falling ahead of its ultimate delisting and

  bankruptcy, the market capitalization of the Miller Energy Common Stock (or the Miller Energy

  Securities collectively) was in the mid-quartile range33 of all common stocks trading on the

  NYSE and NASDAQ combined. Sixth, over most of the Analysis Period, prior to the market

  prices of Miller Energy Securities substantially falling ahead of its ultimate delisting and

  bankruptcy, Miller Energy Securities had low bid-ask spreads relative to other exchange-traded

  common stocks. Seventh, institutions, which are considered generally to be well-informed

  investors, held, on average, over 30% of the public float of Miller Energy Common Stock.34

  Eighth, there is no evidence of consistent autocorrelation during the Analysis Period. Ninth, there

  was active trading in Miller Energy options throughout the Analysis Period. Finally, there was a

  strong cause-and-effect relationship between new Company-specific information and the market

  prices of Miller Energy Securities during the Analysis Period. My analyses of all of these factors

  support the conclusion that Miller Energy Securities traded in open, developed, and efficient

  markets throughout the Analysis Period.


  33
    The “mid-quartile range” refers to between the 25th percentile and 75th percentile of a distribution, or in the middle
  half.
  34
    Institutions also held the Preferred Securities, although the data available is limited. According to the SEC,
  institutional investment managers must use Form 13F for reports to the commission with respect to accounts holding
  Section 13(f) Securities (See https://www.sec.gov/pdf/form13f.pdf). The SEC publishes a list of Section 13F
  Securities quarterly, which lists all securities that institutions must report (quarterly lists can be found at
  https://www.sec.gov/divisions/investment/13flists.htm). For all quarterly lists starting in the third calendar quarter of
  2012 (when Series C Preferred Stock began trading) and ending at the end of the Analysis Period, the Preferred
  Securities were not labelled as Section 13F Securities, meaning institutions were not required to report their holdings
  of the Preferred Securities. This is not uncommon for preferred securities in general: only 85 of the 17,395 securities
  identified as 13-F Securities were preferred securities in the list for the second quarter of 2015 (“List of Section 13F
  Securities, Second Quarter FY 2015,” SEC, June 15, 2015).




                                                        22
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 22 of 125 PageID #:
                                    7467
         B. CAMMER FACTOR 1: AVERAGE WEEKLY TRADING VOLUME

             27.   The first Cammer Factor is the average weekly trading volume of a security.

  According to one authority cited by the Cammer court,

                    Turnover measured by average weekly trading of 2% or more of the
                    outstanding shares would justify a strong presumption that the market for the
                    security is an efficient one; 1% would justify a substantial presumption.35

             28.   Volume as a fraction of shares outstanding is an important indicator of market

  efficiency. First, volume is objectively quantifiable and comparable across securities. Second,

  high volume is generally indicative of continuity, liquidity, and market depth – which are highly

  indicative of market efficiency.36 Third, substantial volume would indicate there is likely a

  market for the collection and distribution of information about the security. As Thomas and

  Cotter explain, “[t]rading volume was also considered as an eligibility standard because it affects

  information dissemination to the market, and was an important criterion for investment analysts

  in deciding which stocks to follow.”37

             29.   Miller Energy Common Stock easily surpasses the threshold level of average

  weekly trading volume necessary for an efficient market. The average weekly trading volume for

  Miller Energy Common Stock during the Analysis Period was 5.04% of shares outstanding,


  35
       Cammer, 711 F. Supp. at 1293 (citing Bromberg & Lowenfels).
  36
    Continuity means that trades may occur at any time. Liquidity in this context means that investors can convert
  cash into shares or shares into cash at a price similar to that of the prior trade (assuming no new information).
  Sharpe, W., Alexander, G., and Bailey, J., Investments, Prentice Hall, Fifth Edition, 1995, pp. 44-45.
  Bromberg and Lowenfels define a market that has continuity and liquidity as “the ability to absorb a reasonable
  amount of trading with relatively small price changes.” Cammer, 1276 n.17 (citing Bromberg & Lowenfels).
  Market depth refers to “the number of shares that [can] be traded at the quoted bid and ask prices.” A deep market
  will have significant orders on the buy and sell side so that the market can experience a relatively large market order
  without greatly altering the market price. See Amihud, Y., et al., Liquidity and Asset Prices, 1 FOUND. & TRENDS
  FIN. 269 (2005), 317.
  37
   Thomas, R., and Cotter, J., Measuring Securities Market Efficiency in the Regulatory Setting. 63 LAW &
  CONTEMP. PROBS. 105 (2000), 108. Randall S. Thomas is a Director of the Law and Business Program at Vanderbilt
  University. Dr. James Cotter is an Associate Professor of Finance at Wake Forest University.




                                                        23
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 23 of 125 PageID #:
                                    7468
  compared to 2.36% for the NYSE and NASDAQ. Exhibit 3 plots Miller Energy Common

  Stock’s trading volume as a fraction of shares outstanding for each week during the Analysis

  Period.38 Indeed, the average weekly trading volume during the Analysis Period was 2.24 million

  shares. The volume of trading for Miller Energy Common Stock supports the conclusion that the

  market for this security was efficient throughout the Analysis Period.

          30.    Miller Energy Series C Preferred Stock and Series D Preferred Stock also easily

  surpass the Cammer threshold. The average weekly turnover as a percentage of shares

  outstanding was 5.16% for Series C Preferred Stock and 7.93% for Series D Preferred Stock.

  Exhibit 3-C and Exhibit 3-D plot Series C Preferred Stock and Series D Preferred Stock’s

  weekly trading volume as a fraction of shares outstanding and public float for each week during

  the Analysis Period. The volume of trading for these two securities supports the conclusion that

  they were both efficient during the Analysis Period.

          31.    Another way to measure trading volume is annualized turnover velocity, which is

  essentially the first Cammer factor expressed in dollar terms.39 To be more specific, instead of

  looking at shares traded divided by shares outstanding, turnover velocity is the dollar value of

  shares traded (i.e., shares traded multiplied by price per share) divided by the dollar value of all

  shares outstanding (i.e., shares outstanding multiplied by price per share). This is the same ratio

  because the numerator and denominator are multiplied by price per share. The advantage of this

  measure is that once quoted in annualized terms, Miller Energy Common Stock’s turnover

  velocity can be compared directly with other publicly traded stocks based on exchange-reported


  38
    For the purposes of this analysis, a “trading week” consists of 5 consecutive trading days, which may not follow
  the calendar week.
  39
    Turnover velocity is simply the average trading volume as a percentage of shares outstanding (the first Cammer
  Factor) expressed in dollar terms:
  Turnover Velocity Ratio = (Volume x Price)/(Shares Outstanding x Price) = Dollars Traded/Dollars Outstanding.


                                                      24
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 24 of 125 PageID #:
                                    7469
  statistics. For example, over the Analysis Period, the annualized turnover velocity ratio for Miller

  Energy Common Stock was 251.99%, compared with the NYSE and NASDAQ average of

  122.98% for the Analysis Period. The annualized turnover velocity ratio for Miller Energy Series

  C was 258.02%, compared with the NYSE and NASDAQ average of 122.98% for the Analysis

  Period. Finally, the annualized turnover velocity ratio for Miller Energy Series D was 396.41%,

  compared with the NYSE and NASDAQ average of 122.98% for the Analysis Period.40 Thus,

  Miller Energy Securities have annualized turnover velocity ratios that were substantially higher

  than the average stock trading on the NYSE and NASDAQ, further supporting that all traded in

  efficient markets.

             32.   In short, the relatively high trading volume in Miller Energy Securities throughout

  the Analysis Period supports the conclusion that the markets for Miller Energy Securities were

  efficient.

         C. CAMMER FACTOR 2: ANALYST COVERAGE

             33.   The Cammer decision stated the following related to analyst coverage:

                    … [I]t would be persuasive to allege a significant number of securities
                    analysts followed and reported on a company’s stock during the class period.
                    The existence of such analysts would imply, for example, the [auditor]
                    reports were closely reviewed by investment professionals, who would in
                    turn make buy/sell recommendations to client investors.41

             34.   Analyst coverage can be important evidence of efficiency. Significant analyst

  coverage implies that there is sufficient interest in a company and its securities, that there is an

  active market for information regarding the company and its securities, and that the information

  is widely distributed.


  40
    Turnover velocity for the NYSE and NASDAQ is calculated from data provided by the World Federation of
  Exchanges. See https://www.world-exchanges.org/home/index.php/statistics/monthly-reports.
  41
       Cammer, 711 F. Supp. at 1286.


                                                   25
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 25 of 125 PageID #:
                                    7470
           35.    During the Analysis Period, there was continuous analyst coverage for Miller

  Energy. Exhibit 4 shows that there were at least 158 equity analyst reports issued during the

  Analysis Period and lists 15 separate firms that had equity analysts issue reports on Miller

  Energy, including major firms such as Brean Capital, SunTrust Robinson Humphrey, and

  Imperial Capital.42 These reports served the purpose of disseminating publicly available

  information along with commentary, news, updates, analyses, and recommendations of the

  analysts to investors. The extensive coverage of Miller Energy by securities analysts supports the

  conclusion that all Miller Energy Securities traded in efficient markets throughout the Analysis

  Period.43

           36.    Since 1989, when the Cammer decision was rendered, there has been a significant

  increase in alternative methods by which publicly available information about publicly-traded

  securities is disseminated to investors. For example, since the Cammer decision, through the

  Internet, 24-hour cable news networks, email, RSS feeds,44 and other media, the ability of




  42
    I obtained Miller Energy analyst reports from Investext. The number of analyst reports I identify is almost
  certainly understated since many reports are not available through third party data providers such as Investext. For
  example, it is clear that analysts from Rockwood and Kendall Square Capital, LLC. participated in earnings
  conference calls during the Analysis Period, but research reports from these analysts are not available via Investext.
  See, for example, Miller Energy, Inc. Q1 2013 Earnings Call, September 20, 2012.
  43
    Analyst reports covering Miller Energy Common Stock also provide relevant information for investors in the
  Preferred Shares. For example, several analysts address the Preferred Shares directly. For example, see “TURNING
  THE CORNER: Kitchen Sink of a Quarter Could Mark a Bottom, New Strategy in Place," MLV & Co. LLC,
  December 10, 2014. Even those reports that do not specifically mention the Preferred Shares directly provide
  relevant information to investors of the Preferred Shares since the value of Preferred Shares are related to the value
  of the Common Shares. See section “Event Study for Preferred Securities” for a more detailed description of the
  Preferred Shares and how their value relates to the value of the Common Stock.
  44
     RSS is an acronym for Really Simple Syndication or Rich Site Summary. RSS files are formed as XML files and
  are designed to provide content summaries of news, blogs, forums or website content. The RSS feeds are generally
  simple headlines and brief descriptions; if the user is interested, the user can click to see additional information.
  Content viewed in the RSS reader or news aggregator is known as an RSS feed. RSS is becoming increasing popular
  since it is a free and easy way to promote a site and its content without the need to advertise or create complicated
  content sharing partnerships (see http://www.rss-specifications.com/, and http://www.rss-specifications.com/what-
  is-rss.htm).




                                                       26
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 26 of 125 PageID #:
                                    7471
  individual and institutional investors to obtain information about publicly-traded securities and

  the market in general has revolutionized the manner in which investors and investment

  professionals receive and process information.

          37.    Moreover, information regarding the market price, the current bid-ask spread, and

  the ability to trade online is available almost instantaneously via the Internet for anyone with an

  online brokerage account. Thus, in addition to the substantial analyst coverage of Miller Energy,

  there were many other sources of public information dissemination. For example, there was

  substantial public press regarding Miller Energy. A search for articles classified as related to

  Miller Energy by Factiva over the Analysis Period results in 1,681 unique articles.45 In addition,

  there were numerous SEC filings available online in the SEC EDGAR database at no cost, as

  well as various other sources of public information available throughout the Analysis Period that

  I do not attempt to quantify. The degree of news coverage and publicly available information

  further supports the conclusion that there was substantial supply of, and demand for, information

  regarding Miller Energy in the public arena throughout the Analysis Period.

          38.    In summary, the number of analyst reports and the substantial public dissemination

  of news and other information regarding Miller Energy provide evidence of robust and active

  markets for public information about Miller Energy and evidence that its securities traded in

  efficient markets during the Analysis Period.




  45
    Factiva is a business information and research tool owned by Dow Jones & Company. Factiva aggregates content
  from both licensed and free sources and provides organizations with search, alerting, dissemination, and other
  information management capabilities. The 1,681 unique articles were identified in a search within “All Sources”
  available on Factiva with the company field for “Miller Energy Resources, Inc.” and the keyword field for “Miller
  Energy” for the period August 29, 2011 through July 30, 2015, and excluding the phrase “New 52-Week Highs And
  Lows.” Duplicate articles have been removed by a proprietary function accessible in Factiva’s search builder.




                                                     27
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 27 of 125 PageID #:
                                    7472
         D. CAMMER FACTOR 3: MARKET MAKERS

             39.   A market maker is a firm that is ready to buy or sell a particular stock on a regular

  and continuous basis.46 The third Cammer factor states:

                    For over the counter markets without volume reporting, the number of
                    market makers is probably the best single criterion. Ten market makers for a
                    security would justify a substantial presumption that the market for the
                    security is an efficient one; five market makers would justify a more modest
                    presumption.47

             40.   The basic premise that the number of market makers can serve as an efficiency

  criterion relates to the notion that market makers are:

                    … [P]resumably knowledgeable about the issuing company and the stocks’
                    supply and demand conditions (i.e., the “order flow”). Therefore, it is
                    believed the larger the number of market makers in a given security, the more
                    information is available about it and the quicker its dissemination in the
                    price.48

             41.   Miller Energy Securities traded on the NYSE with continuous public price and

  volume reporting, as opposed to an over-the-counter market without volume reporting, which is

  the context in which Cammer indicated this was a relevant criterion.49 On such over-the-counter

  markets, there may be reason for concern regarding liquidity and information dissemination.

  However, these concerns are generally not applicable to stocks trading on large, modern




  46
       See http://www.sec.gov/answers/mktmaker.htm.
  47
       Cammer, 711 F. Supp. at 1293.
  48
    Barber, B., et al., The Fraud-on-the-Market Theory and the Indicators of Common Stocks’ Efficiency, 19 J. CORP.
  L. 285 (1994), 291.
  49
    See Cammer, 711 F. Supp. at 1292, citing Bromberg & Lowenfels: “We think that, at a minimum, there should be
  a presumption – probably conditional for class determination – that certain markets are developed and efficient for
  virtually all the securities traded there: the New York and American Stock Exchanges, the Chicago Board Options
  Exchange and the NASDAQ National Market System.”




                                                      28
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 28 of 125 PageID #:
                                    7473
  exchanges such as the NYSE and NASDAQ, which are presumed to be efficient, report volume

  and trade details, and tend to have rules that virtually guarantee a liquid market.50

             42.   The NYSE and NASDAQ are two of the largest and most liquid security exchanges

  in the world with billions of shares traded each day. Unlike over-the-counter markets that rely on

  decentralized market makers providing liquidity for trading, the NYSE and NASDAQ rely on a

  computerized system to match orders and provide quotes.51 The minimum requirements to be

  listed on the NYSE or NASDAQ and remain in good standing virtually guarantee a liquid market

  for that security. Therefore, the number of “market makers” itself is not a particularly relevant

  metric in this case.

             43.   Nevertheless, according to Bloomberg, throughout the Analysis Period, there were

  73 market makers for Miller Energy Common Stock.52 Therefore, Miller Energy Common Stock

  easily meets the letter and spirit of this factor, further supporting the efficiency of the market

  during the Analysis Period. Additionally, both Series C Preferred Stock and Series D Preferred

  Stock traded on the NYSE throughout the Analysis Period. As discussed previously, the market

  structure of the NYSE is supportive of the conclusion that the Preferred Securities traded in

  efficient markets. Based on the analysis above, this factor supports the efficiency of the markets

  for Miller Energy Securities during the Analysis Period.




  50
    For example, there are rules for minimal market capitalization and specialists are required to maintain an orderly
  market; see Sharpe, W., Alexander, G., and Bailey, J., Investments, Prentice Hall, Fifth Edition, 1995, pp. 45-53;
  Fabozzi, F., Modigliani, F., Jones, F., Foundations of Financial Markets and Institutions, Prentice Hall, Fourth
  Edition, 2010, Chapter 18 – Appendix A.
  51
    For NYSE, see https://www.nyse.com/market-model; and
  https://www.nyse.com/publicdocs/nyse/listing/fact_sheet_dmm.pdf. For NASDAQ, see
  http://www.nasdaq.com/includes/Anatomy_of_a_Trade_FactSheet.pdf;
  http://www.nasdaqomx.com/transactions/trading/equities.
  52
       Bloomberg RANK function. Bloomberg only has RANK data for Miller Energy starting January 1, 2014.




                                                       29
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 29 of 125 PageID #:
                                    7474
         E. CAMMER FACTOR 4: SEC FORM S-3 ELIGIBILITY

             44.   The fourth Cammer Factor is SEC Form S-3 eligibility, which states,

                    …[I]t would be helpful to allege the Company was entitled to file an S-3
                    Registration Statement in connection with public offerings or, if ineligible,
                    such ineligibility was only because of timing factors rather than because the
                    minimum stock requirements set forth in the instructions to Form S-3 were
                    not met. Again, it is the number of shares traded and value of shares
                    outstanding that involve the facts which imply efficiency.53

             45.   Through Form S-3, the SEC allows certain companies that have previously

  provided sufficiently high levels of public information to incorporate prior SEC filings by

  reference into current filings and not repeat the information, since it is already deemed to be

  widely publicly available.54 In order to be eligible to issue a Form S-3, among other things, a

  company 1) must be subject to the Securities Exchange Act of 1934 reporting requirements for

  more than one year, 2) must have filed all documents in a timely manner for the past twelve

  months, and 3) must show that it has not failed to pay dividends or sinking funds nor defaulted

  on debts or material leases. Eligibility to file a Form S-3 is confirmatory evidence of efficiency,

  not a requirement. Interpreted in this way, the standard makes sense as an indicator of efficiency.

             46.   Other than at the start and towards the end of the Analysis Period,55 I have no

  reason to believe that Miller Energy was not S-3 eligible throughout the vast majority of the

  Analysis Period. In fact, Miller Energy filed Form S-3’s during the Analysis Period (i.e.




  53
       Cammer, 711 F. Supp. at 1287.
  54
       For additional information, see www.sec.gov/about/forms/forms-3.pdf.
  55
     Miller Energy was not timely in filing their 10-K for the FYE April 30, 2010 per a letter from the SEC (See, Letter
  from SEC to Paul W. Boyd dated July 26, 2011). As required by the SEC, one has to be timely with their SEC
  filings for 12 months in order to be S-3 eligible. Once Miller Energy became eligible, I have found no further
  evidence they were not S-3 eligible up until nearly the end of the Analysis Period on July 14, 2015 when Miller
  Energy filed another NT 10-K. (See, https://www.sec.gov/cgi-bin/browse-
  edgar?company=Miller+Energy+Resources&owner=exclude&action=getcompany)




                                                       30
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 30 of 125 PageID #:
                                    7475
  September 6, 2012 and October 5, 2012).56 Miller Energy meets this Cammer efficiency factor,

  which supports the conclusion that Miller Energy Securities traded in efficient markets.

         F. CAMMER FACTOR 5: PRICE REACTION TO NEW INFORMATION

             47.   The fifth Cammer Factor relates to how the price of a security reacts to new,

  company-specific information and states:

                    …[O]ne of the most convincing ways to demonstrate [market] efficiency
                    would be to illustrate, over time, a cause and effect relationship between
                    company disclosures and resulting movements in stock price.57

             48.   Establishing a causal connection between new company-specific events and

  movements in the market price is convincing evidence of market efficiency. A technique often

  relied upon, both inside and outside of the context of litigation, to establish such a causal

  connection is called an “event study.” An event study is a well-accepted statistical method

  utilized to isolate the impact of information on market prices.58 Indeed, academics used event

  studies as one tool for evaluating the efficient market hypothesis in the first place. Event studies

  have been used for over 40 years and have appeared in hundreds if not thousands of academic

  articles as scientific evidence in evaluating how new information affects securities prices.59

             49.   An event study is a technique used to measure the effect of new information on the

  market prices of a company’s publicly traded securities. New information may include, for

  example, company press releases, earnings reports, SEC filings, and news reports or analyst

  reports. An event study is conducted by specifying a model of expected price movements




  56
    https://www.sec.gov/cgi-bin/browse-edgar?action=getcompany&CIK=0000785968&type=s-
  3&dateb=&owner=exclude&count=40.
  57
       Cammer, 711 F. Supp. 1291.
  58
       MacKinlay, A., Event Studies in Economics and Finance, 35 J. ECON. LITERATURE (1997), p. 13.
  59
       Binder, J., The Event Study Methodology Since 1969, 11 REV. QUANTITATIVE FIN. & ACCT. (1998), p. 111.


                                                      31
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 31 of 125 PageID #:
                                    7476
  conditioned on outside market factors and then testing whether the deviation from expected price

  movements is sufficiently large that simple random movement can be rejected as the cause.

          50.    To analyze cause and effect, I performed event studies to determine whether there is

  scientific evidence that the market prices of Miller Energy Securities react to new information.

  For Miller Energy Common Stock, consistent with what I have done for other market efficiency

  analyses, I have evaluated whether Miller Energy Common Stock reacted to earnings

  announcements in a manner significantly different from how the stock moved on days with no

  Miller Energy-related news. I also analyzed the extent to which large price movements in Miller

  Energy Common Stock on dates other than earnings announcements could be explained by

  newly released information. Based on the analyses I performed, which explicitly controls for the

  broader market as well as the price of oil, I find that there is a clear cause-and-effect relationship

  between new public information about Miller Energy and the market price of Miller Energy

  Common Stock.

          51.    To analyze Miller Energy Preferred Securities, I also undertook an event study

  approach, however, the nature of the Preferred Securities (which are senior to the Common Stock

  in the capital structure) suggests that the Preferred Securities would not regularly react to

  quarterly earnings announcements unless the solvency of the firm was called into question.60

  There were only three earnings announcements after the Preferred Securities were consistently

  trading well below their par value, and the Common Stock did not react significantly to these

  events, therefore it is unsurprising that the Preferred Securities did not either.


  60
    Miller Energy Series C Preferred Stock may have also become sensitive to earnings announcements had the
  Common Stock approached or exceeded $10 per share because of the conversion features outlined in its prospectus.
  However, Miller Energy Common Stock did not reach that value during the Analysis Period. Series D Preferred
  Stock, meanwhile, was non-convertible and was therefore not sensitive to any conversion feature. For further
  information on the terms and conditions of Miller Energy Series C and Series D Preferred Stock, please see
  Appendix C.


                                                     32
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 32 of 125 PageID #:
                                    7477
           52.   Therefore, to analyze cause and effect for the Preferred Securities, from the time

  that the Preferred Securities first traded substantially below par value, I analyzed whether the

  Preferred Securities reacted to firm-specific events that clearly updated the market regarding the

  ability of the Company to continue paying dividends or for the securities to continue trading on

  the exchange. I now describe in further detail the event study methodology, the events I tested,

  and the results.

           COMMON STOCK CAUSE AND EFFECT ANALYSIS

           53.   A well-accepted method for performing an event study is to estimate a regression

  model over some period of time (an “estimation window”) to observe the typical relationship

  between the market price of the relevant security and broad market factors.61 I have performed

  such an analysis in this matter where I evaluate the relationship between Miller Energy Common

  Stock daily returns (percentage change in price) controlling for the S&P 500 Total Return (the

  “Market Index”) and NYMEX WTI Light Sweet Crude Oil Futures, hereafter referred to as the

  “Oil Price Index.”62 I chose an Oil Price Index instead of an index of peer companies because the



  61
     A “regression” or “regression model” is a statistical technique for measuring the ability of one or more variables
  (the “independent variables”) to “explain” another variable of interest (the “dependent variable”). In this case, the
  daily percentage change in Miller Energy Common Stock (the Miller Energy daily return) is the dependent variable
  and the contemporaneous daily returns for the broad market and oil index are the independent variables. For a
  general discussion of regression analysis, see Gujarati, D., Basic Econometrics, Third Edition, McGraw Hill, 1995,
  Chapters 1-3.
  62
     The regression model controls for a broad market index (S&P 500 Total Return Index) and the NYMEX WTI
  Light Sweet Crude Oil futures (NYMEX:CL). Miller Energy describes using the NYMEX WTI prices to determine
  its delivery prices in its 10-Ks in 2012, 2013, and 2014. Earnings announcements, the alleged corrective disclosure
  dates, and three other outlier dates have been removed from the estimation (i.e., 7/28/2011 with regard to market
  reaction to a TheStreetSweeper article alleging potential fraud in Miller Energy’s subsequent 10-K, 8/29/2011 with
  regard to market reaction to Miller Energy correcting a mistake in its 10-K filing after a review performed by an
  Audit Committee, and 7/15/2015 with regard to continued volatility after the Going Concern Warning released on
  7/14/2015). Counsel alleges after-market hours on October 13, 2014 as a corrective disclosure due to a Reuters
  article about Brean Capital cutting its price target for Miller Energy (Complaint ¶214). While the Reuters news was
  released after market hours on October 13, 2014, the Brean Capital report was released before market hours that
  same day. Therefore, both October 13, 2014 and October 14, 2014 were excluded from the estimation in order to be
  conservative.




                                                       33
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 33 of 125 PageID #:
                                    7478
  Company’s communications to the market clearly identified the price of oil as a critical factor in

  its ability to generate cash flows. Given that, as the Company described, the fair value of its

  assets was directly impacted by market price of oil, that the Company’s value was highly

  concentrated in a single geographic area, and that the Company was primarily in exploration and

  production rather than being vertically integrated into other areas of oil processing, the use of an

  oil price index is preferred to a broader oil company index.63

             54.    For each trading day analyzed, I constructed a regression model using data from the

  prior 120 trading days (roughly six months).64 By using a “rolling” estimation window, it allows

  for the relationship between Miller Energy Common Stock, industry and market factors, as well

  as firm-specific volatility to update over time according to the data observed over the most recent

  120 trading day period. Use of a rolling model to account for changing volatility and evolving

  relationships among market indices is accepted in peer-reviewed literature.65

             55.    The model indicates that there is a positive correlation between Miller Energy

  Common Stock and the control variables. In other words, the movement of the Market Index and

  Oil Price Index helps explain the price movements of Miller Energy Common Stock. For

  instance, choosing a day in the Analysis Period purely as an example, April 1, 2014, and looking




  63
    Nevertheless, I performed robustness checks to make sure that my ultimate conclusions are not sensitive to the
  choice of an oil price index instead of an index of industry peers. In particular, I considered whether my conclusions
  were sensitive to (1) use of an industry index instead of an oil price index or (2) inclusion of an industry index in
  addition to the oil price index. The industry index I considered was the Dow Jones US Exploration and Production
  Index, which Miller Energy compares itself against in its 10-Ks in 2012, 2013, and 2014. However, several
  companies included in the Dow Jones US Exploration and Production Index follow a different business model than
  Miller Energy. For instance, several firms operated refineries, fueling centers, and processing plants while Miller
  Energy was solely focused on oil and natural gas exploration and production. I, nonetheless, found that performing
  these robustness checks did not materially alter the results or conclusions I make throughout this report.
  64
     MacKinlay, A., Event Studies in Economics and Finance, 35 J. ECON. LITERATURE 13 (1997), 15: “For example,
  in an event study using daily data and the market model, the market model parameters could be estimated over the
  120 days prior to the event.”
  65
       Braun, P., et al., Good News, Bad News Volatility, and Betas, 50 J. FIN. 1575 (1995), 1597.


                                                         34
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 34 of 125 PageID #:
                                    7479
  at the regression results based on the 120 days prior to that day, the estimated coefficient for the

  S&P 500 is 1.15, which means that a 1% rise in the S&P 500 predicts a 1.15% increase in returns

  for Miller Energy Common Stock. The estimated coefficient for the Oil Price Index is 0.40,

  meaning that the expected return for Miller Energy Common Stock is about a 0.40% increase for

  every 1% increase in the Peer Index over and above the return of the S&P 500. Exhibit 5 plots

  the estimated coefficients for the rolling regression models for each day during the Analysis

  Period, and it demonstrates there was a consistently positive relationship between the general

  market, the Oil Price Index, and the price of Miller Energy Common Stock. Furthermore, the

  results showed that as the market price of the Common Stock declined, the Company became

  much more sensitive to changes in the control indices.

          56.    Another important statistic from the regression is the standard deviation of the

  errors, which measures the degree of imprecision in the predictions from the model. Put another

  way, this measure provides a metric for how much “randomness” remains in the price movement

  of Miller Energy Common Stock after controlling for the Market Index and Oil Price Index. For

  instance, on the example date, April 1, 2014, the model predicted that absent any new firm-

  specific information, the price of Miller Energy Common Stock would decrease by 0.18%

  because the S&P 500 was up 0.71% and the Oil Price Index was down 1.76%.66 Because of the

  inherent randomness observed in stock price returns, I do not expect the model to predict returns

  exactly. In this example, I observe an actual return of -0.85%. Thus, the “abnormal return” for

  this day is -0.67% (the actual return of -0.85% minus the predicted return of -0.18%). I then rely




  66
    The expected return of -0.18% is found as follows: 1.15 * 0.71% (Coefficient on Market Index times Market
  Index return) + 0.40 * -1.76% (Coefficient on Oil Price Index Return times Oil Price Index Return) + -0.29%
  (constant term from the regression results).


                                                    35
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 35 of 125 PageID #:
                                    7480
  on the standard deviation of the errors from the regression model to tell if this abnormal return of

  -0.67% is sufficiently large that I reject random movement as the explanation.

          57.    The test for whether randomness can be rejected is done by calculating what is

  known as a “t-statistic,” which represents the number of standard deviations between the actual

  observation and the prediction. For the example date, an abnormal return of -0.67% represents

  -0.18 standard deviations or a t-statistic of -0.18 (abnormal return of -0.67% divided by the

  standard deviation of the errors of 0.0375). Using the standard assumption that, in the absence of

  new Company-specific news, abnormal returns will be normally distributed around zero,

  probability theory implies that based on randomness alone, using a 95% confidence level and

  large sample size, the abnormal return should have a t-statistic greater than 1.96 (or less than -

  1.96) only 5% of the time.67 Stating this point another way, there is a 95% confidence that the

  actual return will fall within 1.96 standard deviations of the predicted return unless there is some

  non-random explanation. Since our example has a t-statistic of -0.18, the abnormal return is not

  statistically significant at the 95% confidence level, and I cannot reject randomness as the cause

  of the abnormal price movement with greater than 95% confidence. By contrast, if on a

  particular day one observes an abnormal return that has a t-statistic of a magnitude greater than

  1.96 (statistically significant at the 95% confidence level) and one observes new firm-specific

  information, one would reject randomness as the explanation with 95% confidence and infer that

  the new information is the cause of the stock price movement.




  67
    Tabak, D., and Dunbar, F., “Materiality and Magnitude: Event Studies in the Courtroom,” Ch. 19, Litigation
  Services Handbook, The Role of the Financial Expert, Third Edition, 2001. The financial economics literature often
  identifies the 90% threshold as a relevant boundary for significance as well.


                                                      36
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 36 of 125 PageID #:
                                    7481
           58.   Exhibit 6 shows that the standard deviation of the errors for Miller Energy

  Common Stock varied over the Analysis Period. By adopting the rolling regression model, my

  event study explicitly adjusts for the changing firm-specific volatility.

           59.   To analyze cause-and-effect, I examined the price response of Miller Energy

  Common Stock to the seventeen earnings announcements that occurred during the Analysis

  Period, an objective set of dates (see Exhibit 7).

           60.   There are many academic articles and financial treatises that explain theoretically

  and demonstrate empirically that the release of company earnings information often (but not

  necessarily always) causes a significant change in investors’ beliefs regarding the value of a

  security.68 Also, newly released earnings reports by a company are an objective set of news to

  identify and test. Considering the fifth earnings release listed in Exhibit 7 as an example, the

  Company announced negative fourth quarter results for the fiscal year 2012 due to high

  operating loss.69 In response, the market price of Miller Energy Common Stock decreased

  7.13%, compared to the predicted return of 1.35%, and had an abnormal return on July 17, 2012

  of -8.48%. With a t-statistic of -2.54, this abnormal price movement is statistically significant,

  and I therefore have scientific evidence that Miller Energy Common Stock reacted rapidly to this

  new information.70



  68
    Beaver, W., “The Information Content of Annual Earnings Announcements,” Empirical Research in Accounting:
  Selected Studies, 1968, supplement to the Journal of Accounting Research, Vol. 6, 1968, pp. 67-92; May, R., “The
  Influence of Quarterly Earnings Announcements on Investor Decisions as Reflected in Common Stock Price
  Changes,” Empirical Research in Accounting: Selected Studies, 1971, supplement to the Journal of Accounting
  Research, Vol. 9, 1971, pp. 119-163; Aharony, J., and Swary, I., “Quarterly Dividend and Earnings Announcements
  and Stockholders’ Returns: An Empirical Analysis,” The Journal of Finance, Vol. 35, No. 1, March 1980, pp. 1-12.
  69
    See, “Miller Energy Resources Reports Fourth Quarter and Year End Results,” Business Newswire, July 16, 2012
  6:31 PM EST; Miller Energy Resources Inc. Form 10-K filed July 16, 2012 5:17 PM ET; “More Production Growth
  and Litigation Certainty Needed,” SunTrust Robinson Humphrey, August 6, 2012.
  70
    It is not unusual to have occasional earnings announcements that are not statistically significant. This would
  happen, for instance, in quarters where there was not much surprise and the firm roughly met expectations, if the



                                                       37
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 37 of 125 PageID #:
                                    7482
             61.    Similar to this example, I analyzed the market reaction to Miller Energy’s other

  earnings announcements I identified above. In total, of the seventeen regular quarterly earnings

  Miller Energy issued during the Analysis Period, three resulted in statistically significant price

  movements above the 95% confidence level.71 Exhibit 7 presents a summary of the earnings

  releases during the Analysis Period.

             62.    I then compared these results against the 316 days during the Analysis Period where

  there was no Miller Energy-related news, analyst reports published, or SEC filings issued. Of

  these 316 days, there were fourteen statistically significant price movements. Thus, during the

  Analysis Period there was a statistically significant price reaction at the 95% confidence level on

  17.65% of the earnings announcements, but when compared to days with no Miller Energy-

  related news, I observed statistically significant reactions 4.43% of the time.72 For days with no

  news, the fact that I observed only fourteen days with significant movements is consistent with

  what I would expect to observe by randomness alone.73 This is powerful scientific evidence of a

  cause-and-effect relationship between new publicly released information concerning the

  Company and changes in the price of Miller Energy Common Stock.

             63.    Furthermore, on the 316 days with no news, the average change in price of Miller

  Energy Common Stock was 2.52% after controlling for the broad market and the price of oil,

  while the average change in Miller Energy Common Stock on earnings dates was 4.16%. In



  firm offered little change in guidance, and/or if there was a mix of both positive and negative information that netted
  out.
  71
     Additionally, three earnings announcements during the Analysis Period resulted in price movements that were
  statistically significant at the 90% confidence interval.
  72
       This difference between 17.65% and 4.43% is itself statistically significant at the 95% confidence level.
  73
    There is no statistically significant difference between 4.43% and 5.00%. This is within the proportion of dates
  that would be significant by chance alone when using a 95% confidence interval.




                                                          38
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 38 of 125 PageID #:
                                    7483
  other words, the average magnitude of stock price movement on earnings announcement days

  was about 1.7 times higher than on dates with no news.74 Again, this demonstrates that on days

  when important Company-specific information is released to the market, the stock price moves

  much more than on days where there is no Company-specific news. This provides further

  evidence of a cause-and-effect relationship between Company-specific news and changes in the

  price of Miller Energy Common Stock, and thus an efficient market.

             64.    The bar charts below summarize this analysis while Exhibit 8 gives more detail.




  74
       This difference between 2.52% and 4.16% is itself statistically significant.


                                                          39
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 39 of 125 PageID #:
                                    7484
              65.    Finally, when important Company-specific news is released to the market (e.g.

  earnings announcements), the daily trading volume also tends to be much higher than on days

  where there is a low amount of news. For instance, the average daily trading volume of the

  seventeen days with earnings announcements was 0.71 million. Compare this to the average

  daily trading volume of 0.34 million for days in the Analysis Period with no news.75 The bar

  chart below summarizes this analysis.




  75
       This difference between 0.71 million and 0.34 million is itself statistically significant.


                                                            40
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 40 of 125 PageID #:
                                    7485
         66.   The bar charts above establish a strong cause-and-effect relationship between new,

  Company-specific news and rapid changes in the price of Miller Energy Common Stock. The

  earnings announcement days have a much greater percentage of significant price movements,

  higher daily trading volume on average, and statistically significantly larger price changes than

  those found on days with no news.

         67.   In conclusion, the event study analysis presented in this section demonstrate a clear

  cause-and-effect relationship between new material news and changes in the market price of

  Miller Energy Common Stock.




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Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 41 of 125 PageID #:
                                    7486
          EVENT STUDY FOR PREFERRED SECURITIES

          68.    Preferred securities are a hybrid between equity and debt, and the terms for

  preferred securities can vary substantially for each issue.76 They often receive a coupon payment

  like a bond, but may have a very long or perpetual maturity. They typically rank junior to debt

  (e.g. debt-holders would be repaid in a liquidation before preferred shareholders), but senior to

  common equity. Companies may also issue multiple classes (or series) of preferred stock, which

  are ranked by seniority in relation to one another.77 Preferred securities also often receive

  preferential treatment when it comes to dividends (e.g. preferred share coupon payments often

  must be made before any dividends can be paid to common shareholders).78 In many cases,

  preferred stock issuances are callable, meaning the issuing company has the option to purchase

  back preferred shares at a predetermined price at their discretion.79 In addition, preferred stock

  can often be converted to common stock. Sometimes this option is held by the investor and other

  times by the issuer. In addition, preferred stock represents ownership in the company, but owners

  of preferred stock do not usually have voting rights.80

          69.    Certain investors might find preferred stock more attractive relative to common

  stock for a variety of reasons. For example, it may offer regular cash flows that are not as


  76
    For example, see the discussion in William F. Sharpe, Gordon J. Alexander and Jeffery V. Bailey, Investments,
  Prentice Hall, Fifth Edition, 1995, p. 420.
  77
    William F. Sharpe, Gordon J. Alexander and Jeffery V. Bailey, Investments, Prentice Hall, Fifth Edition, 1995, p.
  420.
  78
    William F. Sharpe, Gordon J. Alexander and Jeffery V. Bailey, Investments, Prentice Hall, Fifth Edition, 1995, p.
  420.
  79
    William F. Sharpe, Gordon J. Alexander and Jeffery V. Bailey, Investments, Prentice Hall, Fifth Edition, 1995, p.
  420.
  80
    Richard A. Brealey and Stewart C. Myers, Principles of Corporate Finance, McGraw-Hill, 1988, Third Edition,
  pp. 308-309.




                                                      42
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 42 of 125 PageID #:
                                    7487
  sensitive to company performance as dividends on common stock, and institutions may find

  preferred stock particularly attractive because of favorable rules governing dividends. Also, it is

  typically a safer investment vehicle because in the event of a company’s liquidation, preferred

  stockholders enjoy priority distribution of the company’s assets over the common shareholders.81

             70.   On or about October 5, 2012, Miller Energy offered 685,000 shares of 10.75%

  Series C Cumulative Redeemable Preferred Stock at $23.00 a share (“Miller Energy Series C

  Preferred Stock” or “Series C Preferred Stock”).82, 83 The Series C Preferred Stock had a $25.00

  per share liquidation preference, meaning that in the event of liquidation (e.g., the company

  selling all of its assets), the holders of Series C Preferred Stock would have the right to receive

  $25.00 per share if sufficient assets were available. Holders of the Series C Preferred Stock were

  entitled to receive quarterly dividends at an annual rate of 10.75% of the $25.00 per share

  liquidation preference (equivalent to $2.6875 per year per share).84 The Series C Preferred Stock

  had no stated maturity.85 Miller Energy had the option to redeem the Series C Preferred Stock on

  or after November 1, 2017 at a redemption price of $25.00 per share.86 Each share was

  convertible at any time at the option of the shareholder into the number of whole shares of Miller




  81
    Frank K. Reilly and Keith C. Brown, Investment Analysis and Portfolio Management, The Dryden Press, Sixth
  Edition, 2000, p. 82; Richard A. Brealey and Stewart C. Myers, Principles of Corporate Finance, McGraw-Hill,
  1988, Third Edition, pp. 308-309.
  82
    Miller Energy Resources, Inc. SEC Form 424(b)(5) filed September 28, 2012 and Miller Energy Resources, Inc.
  SEC Form 10-Q for the quarter ended October 31, 2012.
  83
    Miller’s SEC filings state that the offering date was on October 5, 2012 but the first price available for this series
  occurs on October 8, 2012.
  84
       Miller Energy Resources, Inc. SEC Form 424(b)(5) filed September 28, 2012.
  85
       Miller Energy Resources, Inc. SEC Form 424(b)(5) filed September 28, 2012.
  86
       Miller Energy Resources, Inc. SEC Form 424(b)(5) filed September 28, 2012.




                                                        43
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 43 of 125 PageID #:
                                    7488
  Energy Common Stock as is equal to $25.00 per share, plus accrued and unpaid dividends,

  divided by an initial conversion price of $10.00.87

             71.   Additional shares of Series C Preferred Stock were also offered and issued to the

  public throughout the Analysis Period through two types of agreements with MLV & Co. LLC

  (“MLV”), an investment bank. Miller Energy entered into an agreement with MLV on October

  12, 2012, which was an At Market Issuance Sales Agreement.88 This agreement allowed Miller

  Energy the option to periodically issue additional shares of Series C Preferred Stock at the

  prevailing market price through MLV. In exchange, MLV received a commission equal to 3.5%

  of the gross proceeds of any additional sale of Miller Energy’s Series C Preferred Stock.89 Miller

  Energy entered into another agreement with MLV on February 12, 2013, which was an

  Underwriting Agreement for a follow-on “best efforts” offering of the Series C Preferred

  Stock.90 Miller Energy issued an additional 625,000 shares of the Series C Preferred Stock at

  $22.90 per share pursuant to this Underwriting Agreement.91 Throughout the Analysis Period,

  Miller Energy entered into two other Underwriting Agreements with MLV: on May 7, 2013 for

  an issuance of an additional 500,000 shares of Series C Preferred Stock,92 and June 27, 2013 for

  an issuance of additional 335,000 shares of Series C Preferred Stock.93



  87
       Miller Energy Resources, Inc. SEC Form 424(b)(5) filed September 28, 2012.
  88
       Miller Energy Resources, Inc. SEC Form 10-Q for the quarter ended October 31, 2012.
  89
       Miller Energy Resources, Inc. SEC Form 10-Q for the quarter ended October 31, 2012.
  90
       Miller Energy Resources, Inc. SEC Form 10-Q for the quarter ended January 31, 2013.
  91
    Miller Energy Resources, Inc. SEC Form 10-Q for the quarter ended January 31, 2013. These shares were
  subsequently issued on February 13, 2013.
  92
    Miller Energy Resources, Inc. SEC Form 10-Q for the quarter ended July 31, 2013. These shares were
  subsequently issued on May 10, 2013.
  93
    Miller Energy Resources, Inc. SEC Form 10-Q for the quarter ended July 31, 2013. These shares were
  subsequently issued on July 2, 2013.




                                                       44
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 44 of 125 PageID #:
                                    7489
             72.    On or about September 30, 2013, Miller Energy offered 1,000,000 shares of 10.5%

  Series D Fixed Rate/Floating Rate Cumulative Redeemable Preferred Stock at $25 a share

  (“Miller Energy Series D Preferred Stock” or “Series D Preferred Stock”).94, 95 The Series D

  Preferred Stock had a $25.00 per share liquidation preference, meaning that in the event of

  liquidation (e.g., the company selling all of its assets), the holders of Series D Preferred Stock

  would have the right to receive $25.00 per share.96 Holders of the Series D Preferred Stock were

  entitled to receive quarterly dividends at an annual rate of 10.5% of the $25.00 per share

  liquidation preference (equivalent to $2.625 per year per share) until December 1, 2018. After

  December 1, 2018, holders of the Series D Preferred Stock would be entitled to receive quarterly

  dividends at an annual floating rate.97 The Series D Preferred Stock had no stated maturity.98

  Miller Energy had the option to redeem the Series D Preferred Stock on or after September 30,

  2018 at a redemption price of $25.00 per share.99 The Series D Preferred Stock was not

  convertible or exchangeable for any other property or securities of Miller Energy.100 The Series

  C Preferred Stock and the Series D Preferred Stock ranked equally in seniority.101




  94
    Miller Energy Resources, Inc. SEC Form 424(b)(5) filed October 17, 2013 and Miller Energy Resources, Inc.
  SEC Form 10-Q for the quarter ended October 31, 2013.
  95
    Miller’s SEC filings state that the offering date was September 30, 2013 but the first price available for this series
  occurs on October 1, 2013.
  96
       Miller Energy Resources, Inc. SEC Form 424(b)(5) filed October 17, 2013.
  97
    Miller Energy Resources, Inc. SEC Form 424(b)(5) filed October 17, 2013 (“…at an annual rate equal to the sum
  of (a) Three- Month LIBOR…as calculated on each applicable date of determination and (b) 9.073%, based on the
  $25.00 per share liquidation preference per annum.”)
  98
       Miller Energy Resources, Inc. SEC Form 424(b)(5) filed October 17, 2013.
  99
       Miller Energy Resources, Inc. SEC Form 424(b)(5) filed October 17, 2013.
  100
        Miller Energy Resources, Inc. SEC Form 424(b)(5) filed October 17, 2013.
  101
        Miller Energy Resources, Inc. SEC Form 424(b)(5) filed October 17, 2013.




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Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 45 of 125 PageID #:
                                    7490
             73.    Additional shares of Series D Preferred Stock were also offered and issued to the

  public throughout the Analysis Period through two types of agreements with MLV. Miller

  Energy entered into an agreement with MLV on October 17, 2013, which was an At Market

  Issuance Sales Agreement.102 This agreement allowed Miller Energy the option to periodically

  issue additional shares of Series D Preferred Stock at the prevailing market price through MLV.

  In exchange, MLV received a commission equal to 3.0% of the gross proceeds of any additional

  sale of Miller Energy’s Series D Preferred Stock.103 Miller Energy entered into another

  agreement with MLV on August 20, 2014, which was an Underwriting Agreement for a follow-

  on “best efforts” offering of the Series D Preferred Stock.104 Miller Energy issued an additional

  750,000 shares of the Series D Preferred Stock at $24.50 per share pursuant to this Underwriting

  Agreement.105

             74.    Based upon the terms described above, the market prices of the Preferred Securities

  would, to the extent there was not a substantial increase in the perceived chance of default, trade

  based upon the present value of the expected dividend payments. This has specific implications

  for what to expect from an event study. In particular, from the time of the issuance of each of the

  Preferred Securities to the time where the market prices substantially fall below the par value

  (and therefore indicating an increased risk of default), market price would be driven primarily by

  changes in the time value of money (i.e. the applicable discount rate), market prices would not be

  expected to be sensitive to all the factors that impact the common stock. As a result, the

  volatility of the Preferred Securities would be expected to be low relative to common stock and


  102
        Miller Energy Resources, Inc. SEC Form 10-Q for the quarter ended October 31, 2013.
  103
        Miller Energy Resources, Inc. SEC Form 10-Q for the quarter ended October 31, 2013.
  104
        Miller Energy Resources, Inc. SEC Form 10-Q for the quarter ended January 31, 2015.
  105
     Miller Energy Resources, Inc. SEC Form 10-Q for the quarter ended October 31, 2014. The shares were
  subsequently issued on August 25, 2014.


                                                       46
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 46 of 125 PageID #:
                                    7491
  the market price would not be expected to respond to events like earnings announcements or

  other news that does not fundamentally impact the perceived chance of default.

           75.    As of October 15, 2014, the market prices of the Preferred Securities fell to a new

  low that was substantially below par value. The decline in the Preferred Securities at that time

  (as well as the Common Stock) signals that the markets saw a greater probability that the

  company might default and that the value of the Preferred Securities would depend to a greater

  extent on the perceived value of Miller Energy’s assets, rather than just the promise to pay.

  From that point forward, the market prices of the Preferred Securities would be expected to be

  much more correlated with the factors that impact the Common Stock.

           76.    For the reasons described above, I constructed two different fixed estimation

  windows for the Preferred Securities: one prior to October 15, 2014 and another for October 15,

  2014 to the end of the Analysis Period.106 Exhibits 5-C and Exhibit 5-D show the coefficients

  on the Market Index and Oil Price Index for the Preferred Securities over these windows. As can

  be seen, the coefficients are much lower during the pre-October 15, 2014 period and more

  commensurate with the coefficients from the Common Stock after October 15, 2014.

           77.    Likewise, Exhibit 6-C and Exhibit 6-D show the standard deviation of the errors

  for the regression models, which shows that the volatility of the Preferred Securities are very low

  during the pre-October 15, 2014 period and more commensurate with the Common Stock after

  October 15, 2014. The fact that the Preferred Securities exhibit these patterns is itself consistent

  with market efficiency.




  106
     For the Preferred Securities, I extended my analysis to include July 31, 2015 in order to measure the effect of the
  announcement released after market hours on July 30, 2015.


                                                       47
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 47 of 125 PageID #:
                                    7492
           78.    To test for cause and effect, I evaluated the price movements of the Preferred

  Securities in the post-October 15, 2014 period where there was news that was clearly related to

  the ability of the Company to continue paying preferred stock dividends or remain listed on the

  NYSE. These events included announcements of the intent to continue to pay or suspend the

  dividend, disclosure of a “Wells Notice” associated with the Company’s valuation of the Alaska

  Assets, the warning that there was substantial doubt about the Company’s ability to continue as a

  going concern and the delisting of the Preferred Securities from the NYSE. Considering May 6,

  2015, the sixth material release listed in Exhibit 9 and Exhibit 11, as an example, the Company

  announced that its Board of Directors voted to defer quarterly payments of dividends for the

  Series C and Series D Preferred Stocks.107 In response, the market price of Miller Energy Series

  C Preferred Stock decreased 34.89%, compared to the predicted return of 0.17%. Miller Energy

  Series D Preferred Stock also decreased 28.40%, compared to the predicted return of 0.27%.

  Thus, the abnormal return on May 6, 2015 was -35.06% and -28.67% for Series C Preferred

  Stock and Series D Preferred Stock, respectively. With a t-statistic of –5.70 and -4.53,

  respectively, these abnormal price movements are statistically significant, and I therefore have

  scientific evidence that Miller Energy Preferred Securities reacted rapidly to this new

  information.108

           79.    Like with the Common Stock, I then compared the event study results on these days

  with the results for days with no news, SEC filings, or analyst reports.




  107
     See, “Press Release: Miller Energy Defers Cash Dividends on Its Series C and Series D Preferred Stock,” Dow
  Jones Newswires, May 6, 2015 8:00 AM EST.
  108
      It is not unusual to have occasional announcements that are not statistically significant. This would happen, for
  instance, in quarters where there was not much surprise and the firm roughly met expectations, if the firm offered
  little change in guidance, and/or if there was a mix of both positive and negative information that netted out.



                                                        48
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 48 of 125 PageID #:
                                    7493
             80.   Exhibit 10 and Exhibit 12 summarize this analysis and demonstrate that the news

  events are associated with far greater incidence of statistical significance, stock price

  movements, and trading volume. This provides scientific evidence of a cause and effect

  relationship between new news events and changes in the market price of the Preferred

  Securities.

         G. ADDITIONAL FACTOR 1: MARKET CAPITALIZATION

             81.   In Krogman v. Sterritt, the court noted that economic theory includes other possible

  relevant factors for determining whether a stock trades in an efficient market, in addition to the

  Cammer factors.109 The Krogman Court held, “[m]arket capitalization, calculated as the number

  of shares multiplied by the prevailing share price, may be an indicator of market efficiency

  because there is a greater incentive for stock purchasers to invest in more highly capitalized

  corporations.”110 Furthermore, Thomas and Cotter find that firms with a larger market

  capitalization tend to have “larger institutional ownership and tend to be listed on the New York

  Stock Exchange with a greater analyst following.”111 Therefore, market capitalization is another

  quantifiable measure that is likely correlated with efficiency.

             82.   Prior to the market prices of Miller Energy Securities substantially falling ahead of

  its ultimate delisting and bankruptcy, Miller Energy Common Stock had a market capitalization

  in the mid-quartile range of all common stocks trading on the NYSE and NASDAQ, thus




    Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001) (“Krogman”). The factors identified by the Krogman
  109

  Court are 1) market capitalization, 2) size of float of common stock, and 3) bid-ask spread.
  110
        Krogman, 202 F.R.D. at 478.
  111
    Thomas, R., and Cotter, J., Measuring Securities Market Efficiency in the Regulatory Setting, 63 LAW &
  CONTEMP. PROBS. 105 (2000), 117.




                                                     49
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 49 of 125 PageID #:
                                    7494
  suggesting this factor is supportive of efficiency. There were between 40.6 million and 46.7

  million shares of Miller Energy Common Stock outstanding during the Analysis Period.112

             83.     Based on the market price, the market capitalization for Miller Energy Common

  Stock averaged $117.3 million during the Analysis Period. Exhibit 13 shows Miller Energy’s

  market capitalization over the Analysis Period. Exhibit 14 shows that during the Analysis

  Period, Miller Energy Common Stock market capitalization fell between the 6th and 36th

  percentile of the combined NYSE and NASDAQ markets for the applicable quarters during the

  Analysis Period.113 In other words, on average, over the Analysis Period, Miller Energy

  Common Stock had a higher market capitalization than 21% of the firms on the combined NYSE

  and NASDAQ exchanges.

             84.     In many respects, it makes sense to consider the market capitalization of Miller

  Energy as a whole for Series C Preferred Stock and Series D Preferred Stock because the overall

  size of Miller Energy affects things such as the amount of news and analyst coverage. In that

  case, the opinion I reached is also applicable to Miller Energy Series C Preferred Stock and

  Miller Energy Series D Preferred. Exhibit 13-C and Exhibit 13-D shows the market

  capitalization of the Series C Preferred Stock and Series D Preferred Stock, respectively, over the

  Analysis Period, while Exhibit 14 shows that when factoring in the Preferred Stocks, Miller

  Energy combined market capitalization fell between the 16th and 41st percentile of the combined

  NYSE and NASDAQ markets for the applicable quarters during the Analysis Period.114



  112
        S&P Capital IQ.
  113
        Bloomberg.
  114
     Market capitalization for Series C Preferred Stock and Series D Preferred Stock is calculated as the daily closing
  price multiplied by shares outstanding according to quarterly SEC filings. Throughout the Analysis Period, Miller
  Energy periodically issued additional stock pursuant to its sales agreement with MLV. These issuances are
  accounted for in quarterly SEC filings of shares issued and outstanding.


                                                       50
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 50 of 125 PageID #:
                                    7495
             85.   Given that the market capitalization Miller Energy Common Stock and Miller

  Energy as a whole was in the mid-quartile range relative to other publicly traded companies, this

  factor is supportive of market efficiency for the Miller Energy Securities.

         H. ADDITIONAL FACTOR 2: THE BID-ASK SPREAD

             86.   The Krogman court’s last additional efficiency factor considered the bid-ask spread

  for a security, saying, “[a] large bid-ask spread is indicative of an inefficient market, because it

  suggests that the stock is too expensive to trade.”115 The bid-ask spread is an important indicator

  of the degree to which a market is developed. The bid-ask spread represents a measure of the

  cost to transact in a market. Narrow bid-ask spreads indicate less uncertainty regarding valuation

  and that reasonably sized trades will not substantially impact the market price. Wider bid-ask

  spreads indicate greater liquidity costs and less ability to trade without moving the market price.

  In addition, the wider the bid-ask spread, the more costly it is to arbitrage away small

  inefficiencies. Thus, the narrower the bid-ask spread, the greater indication of an efficient

  market.

             87.   I analyzed bid-ask spreads for Miller Energy Common Stock during the Analysis

  Period. Exhibit 15 shows that during this period, the time-weighted average percentage bid-ask

  spread for Miller Energy Common Stock in each month was between 0.1535% and 1.7477%.

  Prior to the market prices of Miller Energy Securities substantially falling ahead of its ultimate

  delisting and bankruptcy, the bid-ask spread was below the average bid-ask spread of a random

  sample of 100 other common stocks trading on the NYSE and NASDAQ in December




  115
        Krogman, 202 F.R.D. at 478.




                                                 51
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 51 of 125 PageID #:
                                    7496
  2014.116,117 Exhibit 15 demonstrates that Miller Energy Common Stock had a monthly average

  bid-ask spread of 0.8115% in December 2014, while a randomly selected group of 100 other

  common stocks on the NYSE and NASDAQ had an average bid-ask spread of 0.76%.118

  Although this spread is larger than the average of the 100 other common stocks, it is a relatively

  small difference, and is due particularly to the price of the Common Stock substantially falling

  ahead of the Company’s bankruptcy. The academic literature is clear that as a stock’s price falls

  to low levels, the percentage of its bid-ask spread tends to increase.119 Accordingly, Miller

  Energy Common Stock bid-ask spread was low during the Analysis Period prior to the market

  price fall, and this factor further supports market efficiency for Miller Energy Common Stock.

          88.    As with the Common Stock, I analyzed bid-ask spreads for Series C Preferred Stock

  and compared them to a random sample of other publicly traded stocks in December 2014.120 As

  Exhibit 15-C shows, during this period, the time-weighted average percentage bid-ask spread for

  Miller Energy Series C Preferred Stock in each month was between 0.2452% and 8.5394%. Prior




  116
     Quote data for Miller Energy and other publicly traded stocks were obtained from the TICK database. See
  https://tickapi.tickdata.com/.
  117
     I constructed a random sample because I am not aware of any exchange-wide reporting of average or median bid-
  ask spreads. Determining the average bid-ask spread for the entire market would be a very costly and data intensive
  process, therefore I adopted a random sampling methodology. I determined the constituents of the NYSE and
  NASDAQ throughout the Analysis Period and then randomly generated a list of 100 common stock securities. I then
  calculated the time-weighted average monthly bid-ask spread for December 2014.
  118
     The time-weighted average bid-ask spread was calculated by taking the average of the spread during trading
  hours on the primary exchange of each security, weighted by the amount of time each quote prevails in the market.
  That is, I take the weighted average quote, with the weight being the number of seconds between that quote and the
  next quote that occurs. Spread is calculated as the difference between the bid price and ask price divided by the
  midpoint of the bid-ask spread. I calculated the National Best Bid and Offer using the data filtering procedures
  described in Huang, R., and Stall, H., Dealer versus auction markets: A paired comparison of execution costs on
  NASDAQ and the NYSE, 41 J. FIN. ECON. 313 (1996).
    Kadapakkam, P., S. Krishnamurthy, and Y. Tse (2005), “Stock Splits, Broker Promotion, and Decimalization,”
  119

  The Journal of Financial and Quantitative Analysis, v. 40 (4), December, pp. 873 – 895.
  120
     Quote data for Miller Energy Series C Preferred Stock and other publicly traded stocks was obtained from the
  Tick Data. See www.tickdata.com.




                                                      52
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 52 of 125 PageID #:
                                    7497
  to the market prices of Miller Energy Securities substantially falling ahead of its ultimate

  delisting and bankruptcy, Miller Energy Series C Preferred Stock had a bid-ask spread at or

  around 0.76%, the average bid ask spread of those 100 common stocks trading on the NYSE and

  NASDAQ. While the bid-ask spread jumped past that average for the last eight months, that

  large spread was due to the falling market price of the Series C Preferred Stock prior to delisting

  and the Company’s bankruptcy. Otherwise, Series C Preferred Stock was low during the

  Analysis Period, and therefore this factor supports efficiency.

          89.    As with the Common Stock and Series C Preferred Stock, I analyzed bid-ask

  spreads for Series D Preferred Stock and compared them to a random sample of other publicly

  traded stocks in December 2014.121 As Exhibit 15-D shows, during this period, the time-

  weighted average percentage bid-ask spread for Miller Energy Series D Preferred Stock in each

  month was between 0.3192% and 8.0119%. Prior to the market prices of Miller Energy

  Securities substantially falling ahead of its ultimate delisting and bankruptcy, Miller Energy

  Series D Preferred Stocks had a bid-ask spread at or around 0.76%, the average bid ask spread of

  those 100 common stocks trading on the NYSE and NASDAQ. While the bid-ask spread jumped

  past that average near the end of the Analysis Period, that large spread was due to the falling

  market price of the Series D Preferred Stock prior to delisting and the Company’s bankruptcy.

  Otherwise, Series D Preferred Stock was low during the Analysis Period, and therefore this

  factor supports efficiency.




  121
     Quote data for Miller Energy Series D Preferred Stock and other publicly traded stocks was obtained from the
  Tick Data. See www.tickdata.com


                                                     53
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 53 of 125 PageID #:
                                    7498
        I. ADDITIONAL FACTOR 3: INSTITUTIONAL OWNERSHIP

           90.    Institutional investors are considered to be sophisticated and well-informed with

  access to most publicly available information for the stocks that they own. These investors

  include mutual funds, pension funds, investment banks, and other types of large financial

  institutions that have substantial resources to analyze the securities they purchase for their

  portfolios. As Exhibit 16 shows, 181 institutions reported owning Miller Energy Common Stock

  during the Analysis Period, holding, on average, over 30% of the public float. This substantial

  level of institutional ownership of Miller Energy Common Stock during the Analysis Period

  coupled with the high trading volume further supports a conclusion of market efficiency.122

        J. ADDITIONAL FACTOR 4: AUTOCORRELATION

           91.    If previous price movements of a security have the ability to predict future price

  movements, then it is said to be “autocorrelated.” Autocorrelation is relevant to efficiency

  because if the autocorrelation is persistent and sufficiently large that a trader could profit from

  taking advantage of the autocorrelation, it means that past price movements are not fully

  reflected in the current price, which would suggest market inefficiency.

           92.    Autocorrelation may occur from time to time for random reasons or due to the

  pattern of firm-specific news. Efficiency would only be violated, however, if the autocorrelation




  122
      Institutions also held the Preferred Securities although the data available was limited. According to the SEC,
  institutional investment managers must use Form 13F for reports to the commission with respect to accounts holding
  Section 13(f) Securities (See https://www.sec.gov/pdf/form13f.pdf). The SEC publishes a list of Section 13F
  Securities quarterly, which lists all securities that institutions must report (quarterly lists can be found at
  https://www.sec.gov/divisions/investment/13flists.htm). For all quarterly lists starting in the third calendar quarter of
  2012 (when Series C Preferred Stock began trading) and ending at the end of the Analysis Period, the Preferred
  Securities were not labelled as Section 13F Securities, meaning institutions were not required to report their holdings
  of the Preferred Securities. This is not uncommon for preferred securities in general: only 85 of the 17,395 securities
  identified as 13-F Securities were preferred securities in the List for the second quarter of 2015 (“List of Section 13F
  Securities, Second Quarter FY 2015,” SEC, June 15, 2015).




                                                        54
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 54 of 125 PageID #:
                                    7499
  were large enough and persistent enough that a trader could consistently earn riskless profits over

  time.123

             93.    A well-accepted methodology to test for the existence of autocorrelation is to run a

  regression analysis that tests whether, on average, the abnormal return from the previous day has

  a statistically significant effect on the abnormal return today.124 If the previous day’s abnormal

  return has no statistically significant predictive power, then there is no evidence of

  autocorrelation.

             94.    Exhibit 17 shows the coefficients and the associated t-statistics for the regression of

  Miller Energy Common Stock abnormal return against the abnormal return from the previous

  day for each quarter during the Analysis Period. The coefficient for the Analysis Period is not

  statistically significant at the 95% confidence level. Therefore, this factor also supports the

  conclusion that Miller Energy Common Stock traded in an efficient market throughout the

  Analysis Period.

             95.    As with the Common Stock, I performed regression analysis for Series C Preferred

  Stock during the Analysis Period that tests whether, on average, the abnormal return from the

  previous day has a statistically significant effect on the abnormal return today for this series of

  preferred stock.125 As with the Common Stock, Miller Energy Series C Preferred Stock did not

  exhibit consistent autocorrelation during the Analysis Period. Exhibit 17-C shows the

  coefficients and the associated t-statistics for the regression of Miller Energy Series C Preferred

  Stock abnormal return against the abnormal return from the previous day for each quarter during



  123
     Doron Avramov, et al., Liquidity and Autocorrelations in Individual Stock Returns, 61 J. FIN. 2365, 2367-68
  (2006); Michael C. Jensen, Some Anomalous Evidence Regarding Market Efficiency, 6 J. FIN. ECON. 95 (1978).
  124
        William H. Greene, Econometric Analysis, Prentice Hall, Sixth Edition, 2008, Chapter 19, p. 644.
  125
        William H. Greene, Econometric Analysis, Prentice Hall, Sixth Edition, 2008, Chapter 19, p. 644.


                                                        55
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 55 of 125 PageID #:
                                    7500
  the Analysis Period. As the exhibit shows, there was not a consistent relationship that would

  allow one to predict Miller Energy Series C Preferred Stock returns based on their prior

  movements. The coefficients for the Analysis Period are not statistically significant at the 95%

  confidence level. Therefore, this factor also supports the conclusion that the Series C Preferred

  Stock traded in efficient markets throughout the Analysis Period.

             96.    As with the Common Stock and Series C Preferred Stock, I performed regression

  analysis for Series D Preferred Stock during the Analysis Period that tests whether, on average,

  the abnormal return from the previous day has a statistically significant effect on the abnormal

  return today for this series of preferred stock.126 Exhibit 17-D shows the coefficients and the

  associated t-statistics for the regression of Miller Energy Series D Preferred Stock abnormal

  return against the abnormal return from the previous day for each quarter during the Analysis

  Period. While I did find statistically significant autocorrelation for Series D Preferred Stock

  across the Analysis Period, the quarterly autocorrelation analysis demonstrates that there is no

  consistent pattern that would suggest an arbitrage opportunity because the sign of the

  autocorrelation coefficient is not even consistently the same sign. In other words, in order to

  profit from autocorrelation, the direction of the autocorrelation needs to be consistent. In this

  case, the sign changes from quarter to quarter. Therefore, the statistical evidence is inconsistent

  with the presence of systematic autocorrelation that would allow a trader to consistently profit.

  Therefore, analysis of this factor for Miller Energy Series D Preferred Stock is consistent with

  market efficiency.




  126
        William H. Greene, Econometric Analysis, Prentice Hall, Sixth Edition, 2008, Chapter 19, p. 644.




                                                        56
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 56 of 125 PageID #:
                                    7501
         K. ADDITIONAL FACTOR 5: OPTIONS

             97.    In addition to the factors analyzed above, there was also option trading in Miller

  Energy Common Stock during the Analysis Period.127 Academic articles have demonstrated that

  options written on existing assets can improve efficiency by permitting an expansion of the

  contingencies that are covered by the market.128 Empirical analysis has shown that option listings

  are associated with a decrease in bid-ask spread and increase in quoted depth, trading volume,

  trading frequency, and transaction size – an overall improvement of the market quality of the

  underlying stocks.129 The existence of active option trading in Miller Energy Common Stock

  provides evidence supporting efficiency.

  VIII. SECTION 10b-5 DAMAGES

             98.    Although I have not been asked to calculate class-wide damages in this action,

  which I understand will be subject to further discovery, it is clear that damages in this matter can

  be calculated using methodologies common to the Classes. Plaintiffs’ Complaint alleges

  damages under Section 10(b) for all securities and Section 11 damages specific to the preferred

  offerings.

             99.    In this matter, Section 10(b) damages can be calculated for all those who purchased

  Miller Energy Common Stock, Miller Energy Series C Preferred Stock, and Miller Energy Series

  D Preferred Stock during the Class Period and were damaged thereby.130 Indeed, the standard

  and well-settled formula for assessing damages for each class member under Section 10(b) is the



  127
    For instance, according to Bloomberg data, there were 98,418 Miller Energy Common Stock put contracts and
  301,129 Miller Energy Common Stock call contracts that traded during the Analysis Period.
  128
        Ross, S., Options and Efficiency, 90 Q. J. ECON. 75 (1976).
  129
    Kumar, R., et al., The Impact of Options Trading on the Market Quality of the Underlying Security: An Empirical
  Analysis, 53 J. FIN. 717 (1998).
  130
        Complaint ¶¶ 32.


                                                         57
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 57 of 125 PageID #:
                                    7502
  “out-of-pocket” method which measures damages as the artificial inflation per share at the time

  of purchase less the artificial inflation at the time of sale (or, if the share is not sold before full

  revelation of the fraud, the artificial inflation at the time of purchase, subject to the Private

  Securities Litigation Reform Act of 1995’s “90-day lookback” provision, a formulaic limit on

  damages that also can be applied class-wide).131

           100. The methodology and evidence for establishing the artificial inflation per share in

  the market price on each day during the Class Period is also common to the Section 10(b) Class

  can be measured class-wide. In particular, as is standard procedure in Section 10(b) cases, the

  most common methodology to quantify artificial inflation is to perform an event study that

  measures price reactions to disclosures that revealed the relevant truth concealed by the alleged

  material omissions and/or misrepresentations. This analysis, and the evidence supporting it,

  would be common to the Section 10(b) Class. Damages for any individual class member could

  then be calculated formulaically based upon information collected in the claims process (i.e., the

  investor’s purchase and sale history for the security, which is routinely available from brokerage

  statements and/or other documents that provide evidence of securities transactions). Accordingly,

  although I have not been asked to calculate class-wide damages, based on my expertise and

  experience in dozens of similar matters and understanding the nature of the claims in this case, I

  conclude that damages in this action are subject to a well-settled, common methodology that can

  be applied to members of the Section 10(b) Class.



  131
     Specifically, the Private Securities Litigation Reform Act of 1995 states: “…in any private action arising under
  this title in which the plaintiff seeks to establish damages by reference to the market price of a security, the award of
  damages to the plaintiff shall not exceed the difference between the purchase or sale price paid or received, as
  appropriate, by the plaintiff for the subject security and the mean trading price of that security during the 90-day
  period beginning on the date on which the information correcting the misstatement or omission that is the basis for
  the action is disseminated to the market.” See, Private Securities Litigation Reform Act of 1995, dated December 22,
  1995, 737, 748-49.


                                                        58
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 58 of 125 PageID #:
                                    7503
  IX.        SECTION 11 DAMAGES

             101. Section 11 damages can be calculated for the members of the Section 11 Class, all

  those who purchased Miller Energy Series C Preferred Stock and Miller Energy Series D

  Preferred Stock “pursuant to or traceable to the Offering Documents” issued during the Class

  Period.132 Section 11 damages calculations are based on Section 11(e) of the Securities Act

  which establishes the statutory formula by which damages for Section 11 claims are calculated.

  Specifically, Section 11(e) states the following:

                     The suit authorized under subsection (a) of this section may be to recover
                     such damages as shall represent the difference between the amount paid for
                     the security (not exceeding the price at which the security was offered to the
                     public) and (1) the value thereof as of the time such suit was brought, or (2)
                     the price at which such security shall have been disposed of in the market
                     before suit, or (3) the price at which such security shall have been disposed
                     of after suit but before judgment if such damages shall be less than the
                     damages representing the difference between the amount paid for the
                     security (not exceeding the price at which the security was offered to the
                     public) and the value thereof as of the time such suit was brought.

             102. Given that there is a statutorily defined formula for Section 11 damages, it is clear

  that damages under Section 11 can be calculated using a common methodology for members of

  the Section 11 Class.

             103. Section 11 allows Defendants to offset some or all of these damages if they can

  prove that financial losses under the statutory formula were not caused by the false statements or

  omissions. Section 11 provides:

                     if the defendant proves that any portion or all of such damages represents
                     other than the depreciation in value of such security resulting from such part
                     of the registration statement, with respect to which his liability is asserted,
                     not being true or omitting to state a material fact required to be stated therein
                     or necessary to make the statements therein not misleading, such portion of
                     or all such damages shall not be recoverable.


  132
        Complaint ¶¶ 33.


                                                    59
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 59 of 125 PageID #:
                                    7504
         104. Any negative causation evidence would be applicable to each class member as

  opposed to relevant for any specific investor. Therefore, even to the extent there is negative

  causation, damages can still be calculated for members of the Section 11 Class.

  X.    CONCLUSION

         105. In sum, every factor analyzed supports my opinion that Miller Energy Securities

  traded in efficient markets during the Analysis Period. Furthermore, class-wide damages in this

  matter can be calculated using common methodologies for both the Section 10(b) Class and the

  Section 11 Class.

         106. I declare under penalty of perjury under the laws of the United States of America

  that the foregoing is true and correct.



         Executed on April 19, 2019.




                                               60
Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 60 of 125 PageID #:
                                    7505
                                                                 Exhibit 1
                                 Summary of Efficiency Factors for Miller Energy Resources, Inc. Securities
     Factor                   Summary of Factor                          Miller Energy Common Stock                   Miller Energy 10.75% Series C Preferred Stock          Miller Energy 10.5% Series D Preferred Stock

                                                                • The average weekly trading volume of 5.04%,         • The average weekly trading volume of 5.16%,         • The average weekly trading volume of 7.93%,
               "Turnover measured by average weekly
                                                                as a percentage of shares outstanding, exceeds        as a percentage of shares outstanding, exceeds        as a percentage of shares outstanding, exceeds
               trading of 2% or more of the outstanding
Average Weekly                                                  the standard of 2% that courts have suggested         the standard of 2% that courts have suggested         the standard of 2% that courts have suggested
               shares would justify a strong presumption
Trading Volume                                                  would justify a strong presumption of an              would justify a strong presumption of an              would justify a strong presumption of an
               that the market for a security is an efficient
   Cammer I                                                     efficient market (Note: 2.2 million shares traded     efficient market (Note: 0.1 million shares traded     efficient market (Note: 0.2 million shares traded
               one; 1% would justify a substantial
                                                                weekly on average during the Analysis Period,         weekly on average during the Analysis Period,         weekly on average during the Analysis Period,
               presumption."
                                                                on a split adjusted basis).                           on a split adjusted basis).                           on a split adjusted basis).


                 “…it would be persuasive to allege a
                 significant number of securities analysts
                 followed and reported on a company's
   Analyst       stock during the class period. The existence • During the Analysis Period at least 15 securities analysts issued 158 analyst reports which implies that important information relevant to trading
  Coverage       of such analysts would imply, for example, Miller Energy Common Stock, Miller Energy Series C Preferred Stock, and Miller Energy Series D Preferred Stock was widely communicated to the
  Cammer II      the [auditor] reports were closely reviewed market.
                 by investment professionals, who would in
                 turn make buy/sell recommendations to
                 client investors.”



              “For over the counter markets without
              volume reporting, the number of market
              makers is probably the best single criterion.
                                                            • Because Miller Energy's Common Stock shares, Series C Preferred Stock shares, and Series D Preferred Stock shares were exchange-traded on the
Market Makers Ten market makers for a security would
                                                            NYSE during the Analysis Period, not over the counter, this factor is satisfied. According to Bloomberg, throughout the Analysis Period, there were
 Cammer III justify a substantial presumption that the
                                                            at least 73 market makers for Miller Energy Common Stock.
              market for the security is an efficient one;
              five market makers would justify a more
              modest presumption.”


               "It would be helpful to allege the Company
               was entitled to file an S-3 Registration
               Statement in connection with public
               offerings or, if ineligible, such ineligibility
 SEC Form S-3 was only because of timing factors rather
                                                               • During the Analysis Period, Miller Energy filed two Form S-3s (i.e. September 6, 2012 and October 5, 2012). I have found no evidence to believe
   Eligibility than because the minimum stock
                                                               that Miller Energy was not S-3 eligible for the majority of the Analysis Period, thus satisfying this factor.
  Cammer IV requirements set forth in the instructions to
               Form S-3 were not met. Again, it is the
               number of shares traded and value of
               shares outstanding that involve the facts
               which imply efficiency."


                                                                • The event study demonstrates a clear cause          • The event study demonstrates a clear cause          • The event study demonstrates a clear cause
                “…one of the most convincing ways to
 Price Reaction                                                 and effect relationship. A statistical test shows a   and effect relationship. A statistical test shows a   and effect relationship. A statistical test shows a
                demonstrate [market] efficiency would be
     to New                                                     significant contemporaneous relationship              significant contemporaneous relationship              significant contemporaneous relationship
                to illustrate, over time, a cause and effect
  Information                                                   between new firm-specific news and significant        between new firm-specific news and significant        between new firm-specific news and significant
                relationship between company disclosures
   Cammer V                                                     changes in the market price for Miller Energy         changes in the market price for Miller Energy         changes in the market price for Miller Energy
                and resulting movements in stock price.”
                                                                Common Stock..                                        Series C Preferred Stock.                             Series D Preferred Stock.




                               Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 61 of 125 PageID #:
                                                                   7506
                                                                 Exhibit 1
                                 Summary of Efficiency Factors for Miller Energy Resources, Inc. Securities
    Factor                    Summary of Factor                          Miller Energy Common Stock                Miller Energy 10.75% Series C Preferred Stock        Miller Energy 10.5% Series D Preferred Stock



               Firms with a larger market capitalization
                                                            •Over most of the Analysis Period, prior to the market price of Miller Energy Securities substantially falling ahead of its ultimate delisting and
   Market      tend to have “larger institutional ownership
                                                            bankruptcy, the market capitalization of the Miller Energy Common Stock (and the Miller Securities collectively) was in the mid-quartile range of all
Capitalization and tend to be listed on the New York Stock
                                                            common stocks trading on the NYSE and NASDAQ combined.
               Exchange with a greater analyst following."


                                                                                                                   • During the Analysis Period, the average           • During the Analysis Period, the average
                                                             • During the Analysis Period, the average
               The bid-ask spread represents a measure of                                                          percentage bid-ask spread for Miller Energy         percentage bid-ask spread for Miller Energy
                                                             percentage bid-ask spread for Miller Energy
               the cost to transact in a market. Narrow bid-                                                       Series C Preferred Stock in each month ranged       Series D Preferred Stock in each month ranged
                                                             Common Stock in each month ranged from
               ask spreads indicate less uncertainty                                                               from 0.24% to 8.54%. Prior to the market price of   from 0.32% to 8.01%. Prior to the market price of
                                                             0.15% to 1.75%. Prior to the market price of
               regarding valuation and that reasonably                                                             Miller Energy Securities substantially falling      Miller Energy Securities substantially falling
                                                             Miller Energy Securities substantially falling
Bid-Ask Spread sized trades will not substantially impact                                                          ahead of its ultimate delisting and bankruptcy,     ahead of its ultimate delisting and bankruptcy,
                                                             ahead of its ultimate delisting and bankruptcy,
               the market price. Wider bid-ask spreads                                                             Miller Energy Series C Preferred Stock had a bid-   Miller Energy Series D Preferred Stocks had a
                                                             this is below the average bid-ask spread of a
               indicate greater liquidity costs and less                                                           ask spread at or around the average bid ask         bid-ask spread at or around the average bid ask
                                                             random sample of 100 other common stocks
               ability to trade without moving the market                                                          spread of those 100 common stocks trading on        spread of those 100 common stocks trading on
                                                             trading on the NYSE and NASDAQ in December
               price.                                                                                              the NYSE and NASDAQ in December 2014. This          the NYSE and NASDAQ in December 2014. This
                                                             2014. This supports a finding of efficiency
                                                                                                                   supports a finding of efficiency.                   supports a finding of efficiency.

                 Institutional investors are considered to be
                                                              • 181 institutions held, on average, 30.3% of the public float throughout the Analysis Period which further supports the finding that Miller Energy
 Institutional   sophisticated, well-informed investors with
                                                              Common Stock traded in an efficient market. While there is some limited institutional data for the Series C Preferred Stock and Series D Preferred
   Holdings      access to most publicly available
                                                              Stock, it was not a required filing by institutions like it was for the Common Stock.
                 information for the stocks that they own.


                                                                                                                   • There was no evidence of statistically            • There was no evidence of consistent
                If autocorrelation is persistent and            • There was no evidence of statistically
                                                                                                                   significant autocorrelation, which means that       statistically significant autocorrelation, which
                sufficiently large that a trader could profit   significant autocorrelation, which means that
                                                                                                                   there was no systematic opportunity for a trader    means that there was no systematic opportunity
                from taking advantage of the                    there was no systematic opportunity for a trader
Autocorrelation                                                                                                    to profit from trading Miller Energy Series C       for a trader to profit from trading Miller Energy
                autocorrelation, it suggests market             to profit from trading Miller Energy Common
                                                                                                                   Preferred Stock based solely on its past price      Series D Preferred Stock based solely on its past
                inefficiency because past price movements       Stock based solely on its past price movements.
                                                                                                                   movements. This supports a finding of               price movements. This supports a finding of
                are not fully reflected in the current price.   This supports a finding of efficiency.
                                                                                                                   efficiency.                                         efficiency.


                 Empirical analysis has shown that option
                 listings are associated with a decrease in bid-
                 ask spread and increase in quoted depth,        • There were 301,129 Miller Energy Common Stock call contracts and 98,418 Miller Energy Common Stock put contracts that traded during the
    Options      trading volume, trading frequency, and          Analysis Period. Miller Energy Common Stock therefore meets this criterion. There is no Bloomberg data for Options Data for Series C Preferred
                 transaction size – an overall improvement Stock and Series D Preferred Stock.
                 of the market quality of the underlying
                 stocks.




                               Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 62 of 125 PageID #:
                                                                   7507
                                                                                                             Exhibit 2
                                                                                           Miller Energy Common Stock Price & Volume
                                                                                                       8/29/2011 - 8/31/2015
                $10                                                                                                                                                                                                                                                                                         10
                                 Analysis Period: 8/29/2011 - 7/30/2015
                                                                                                                                                                                                                                                                                                            9

                                                                                                                                                                                                                                 7/31/2015:
                 $8                                                                                                                                                                                                     Miller Energy securities begin                                                      8
                                                                                                                                                                                                                         trading OTC after they are
                                                                                                                                                                                                                          delisted from the NYSE.
                                                                                                                                                                                                                                                                                                            7




                                                                                                                                                                                                                                                                                                                Volume (in millions)
                 $6                                                                                                                                                                                                                                                                                         6
Closing Price




                                                                                                                                                                                                                                                                                                            5


                 $4                                                                                                                                                                                                                                                                                         4


                                                                                                                                                                                                                                                                                                            3


                 $2                                                                                                                                                                                                                                                                                         2


                                                                                                                                                                                                                                                                                                            1


                 $0                                                                                                                                                                                                                                                                                         0
                      08/29/11

                                  10/29/11

                                             12/29/11

                                                        02/29/12

                                                                   04/30/12

                                                                              06/30/12

                                                                                         08/31/12

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                                                                                                                                                                                                                                                                                                 08/31/15
                                                                                                                                                Volume                           Closing Price
   Sources: Complaint, Order, S&P Capital IQ, and "Press Release: Miller Energy Responds to Notice of Delisting of Its Securities on the New York Stock
   Exchange," Dow Jones, July 30, 2015.
   Note:

                                                   Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 63 of 125 PageID #:
                                                                                       7508
                                                                                       Exhibit 2-C
                                                              Miller Energy 10.75% Series C Preferred Stock Price & Volume
                                                                                  10/8/2012 - 8/31/2015
                $32                                                                                                                                                                                                                       500,000
                            Analysis Period: 10/8/2012 - 7/30/2015

                                     10/8/2012:                     5/7/2013:
                $28                Miller Energy              Miller Energy issues                                                                                                                7/31/2015:
                                   issues 685,000             an additional 500,000                                                                                                              Miller Energy
                                 shares of Series C             shares of Series C                                                                                                              securities begin                          400,000
                                  Preferred Stock.               Preferred Stock.
                                                                                                                                                                                              trading OTC after
                $24
                                                                                                                                                                                               they are delisted
                                                                                                                                                                                                from the NYSE.


                $20
                                                                                                                                                                                                                                          300,000
                                                      2/13/2013:                                         6/27/2013:
Closing Price




                                                                                                                                                                                                                                                    Volume
                                                 Miller Energy issues                               Miller Energy issues
                                                 an additional 625,000                              an additional 335,000
                $16                                shares of Series C                                 shares of Series C
                                                    Preferred Stock.                                   Preferred Stock.

                                      10/12/2012:                                                                                                                                                                                         200,000
                $12                  Miller Energy                                                                                   Pursuant to the Sales
                                   enters into an At                                                                             Agreement entered into on
                                   Market Issuance                                                                               10/12/2012, Miller Energy
                                   Sales Agreement                                                                                   issued an additional
                 $8                  allowing it to                                                                              1,105,000 shares of Series C
                                   periodically issue                                                                            Preferred Stock periodically
                                                                                                                                                                                                                                          100,000
                                   additional shares                                                                               throughout the Analysis
                                       of Series C                                                                                         Period.
                 $4                 Preferred Stock.




                 $0                                                                                                                                                                                                                       0
                      10/08/12


                                      12/08/12


                                                   02/08/13


                                                              04/08/13


                                                                         06/08/13


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                                                                                    Volume                                   Closing Price                                       Events
     Sources: Complaint, S&P Capital IQ, "Press Release: Miller Energy Responds to Notice of Delisting of Its Securities on the New York Stock Exchange," Dow Jones, July 30, 2015
     and Miller Energy quarterly SEC filings throughout the Analysis Period.



                                                 Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 64 of 125 PageID #:
                                                                                     7509
                                                                                          Exhibit 2-D
                                                                  Miller Energy 10.5% Series D Preferred Stock Price & Volume
                                                                                      10/1/2013 - 8/31/2015
                $32                                                                                                                                                                                                                                                                     500,000
                            Analysis Period: 10/1/2013 - 7/30/2015

                                          10/1/2013:
                $28                  Miller Energy issues
                                   1,000,000 shares of Series
                                      D Preferred Stock.                                                                                                                                                                                                                                400,000
                                                                                                                                                                                                                                   7/31/2015:
                $24
                                                                                                                                                                                                                                  Miller Energy
                                                                                                                                                                                                                                 securities begin
                                                                                                                                                                                                                               trading OTC after
                $20                                                                                                                                                                                                             they are delisted
                                                                                                           8/25/2014:                                                                                                            from the NYSE.                                         300,000
                                         10/17/2013:                                                 Miller Energy issues an
Closing Price




                                 Miller Energy enters into an                                      additional 750,000 shares of
                                  At Market Issuance Sales




                                                                                                                                                                                                                                                                                                  Volume
                                                                                                    Series D Preferred Stock.
                $16               Agreement allowing it to
                                 periodically issue additional
                                 shares of Series D Preferred
                                             Stock                                                                                                                                                                                                                                      200,000
                $12
                                         Pursuant to the Sales
                                      Agreement entered into on
                                      10/17/2013, Miller Energy
                 $8
                                    issued an additional 1,580,608
                                      shares of Series D Preferred                                                                                                                                                                                                                      100,000
                                    Stock periodically throughout
                                         the Analysis Period.
                 $4



                 $0                                                                                                                                                                                                                                                                     0
                      10/01/13

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                                                                                                   Volume                                              Closing Price                                                 Events
     Sources: Complaint, S&P Capital IQ, "Press Release: Miller Energy Responds to Notice of Delisting of Its Securities on the New York Stock Exchange," Dow Jones, July 30, 2015
     and Miller Energy quarterly SEC filings throughout the Analysis Period.



                                               Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 65 of 125 PageID #:
                                                                                   7510
                                                               Exhibit 3
                                   Miller Energy Common Stock Average Weekly Trading Volume
                                               as a Percentage of Shares Outstanding
                                                         8/29/2011 - 7/30/2015
26%

24%
                                                        Average Weekly Volume as
            "1% average weekly trading
                                                        Percentage of Shares
22%         volume of the outstanding                   Outstanding:
            shares justify a substantial                Average: 5.04%
20%                                                     Median: 3.88%
            presumption" (Cammer)
18%
                             "2% average weekly trading
16%                          volume of the outstanding shares
                             justify strong presumption that the
14%
                             market for the security is an
12%                          efficient one" (Cammer)

10%

8%

6%

4%

2%

0%
      08/29/11
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      06/30/15
                                                            Volume as a Percentage of Shares Outstanding
Source: S&P Capital IQ.
Note: Average weekly trading volume is calculated by analyzing each five consecutive trading days (rather than calendar weeks) starting with the first day of the
Analysis Period on August 29, 2011 through July 30, 2015. The last week consists of just one trading day (i.e., 7/30/2015), and therefore is excluded from the average
and median calculations.




                       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 66 of 125 PageID #:
                                                           7511
                                                                                    Exhibit 3-C
                                                  Miller Energy 10.75% Series C Preferred Stock Average Weekly Trading Volume
                                                                      as a Percentage of Shares Outstanding
                                                                                10/8/2012 - 7/30/2015
30%
                       "1% average weekly trading
28%                    volume of the outstanding                                                                                                                                                                                                                                     Average Weekly Volume as
26%                    shares justify a substantial                                                                                                                                                                                                                                  Percentage of Shares
                       presumption" (Cammer)                                                                                                                                                                                                                                         Outstanding:
24%                                                                                                                                                                                                                                                                                  Average: 5.16%
22%                                                                                                                                                                                                                                                                                  Median: 3.67%

20%
                                                                                                                                                        "2% average weekly trading
18%                                                                                                                                                     volume of the outstanding shares
                                                                                                                                                        justify strong presumption that the
16%                                                                                                                                                     market for the security is an
14%                                                                                                                                                     efficient one" (Cammer)

12%
10%
8%
6%
4%
2%
0%
      10/08/12
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                                                                                                                                     Volume as a Percentage of Shares Outstanding
Source: S&P Capital IQ.
Note: Average weekly trading volume is calculated by analyzing each five consecutive trading days (rather than calendar weeks) starting with the first day of the
Analysis Period on October 8, 2012 (when Series C began trading) through July 30, 2015. The last week consists of just one trading day (i.e., 7/30/2015), and therefore is
excluded from the average and median calculations.




                                                  Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 67 of 125 PageID #:
                                                                                      7512
                                                                 Exhibit 3-D
                                Miller Energy 10.5% Series D Preferred Stock Average Weekly Trading Volume
                                                    as a Percentage of Shares Outstanding
                                                              10/1/13 - 7/30/2015
50%
                                                                                                                                                                                                   Average Weekly Volume as
45%                                                                                                                                                                                                Percentage of Shares
                 "1% average weekly trading                                                                                                                                                        Outstanding:
                 volume of the outstanding
                                                                                                                                                                                                   Average: 7.93%
40%              shares justify a substantial
                                                                                                                                                                                                   Median: 5.32%
                 presumption" (Cammer)
35%
                                                               "2% average weekly trading
                                                               volume of the outstanding shares
30%                                                            justify strong presumption that the
                                                               market for the security is an
25%                                                            efficient one" (Cammer)


20%

15%

10%

5%

0%
      10/01/13

                 11/01/13

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                                                                                                                                                                        12/01/14

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                                                                                                   Volume as a Percentage of Shares Outstanding
Source: S&P Capital IQ.
Note: Average weekly trading volume is calculated by analyzing each five consecutive trading days (rather than calendar weeks) starting with the first day of the
Analysis Period on October 1, 2013 (when Series D began trading) through July 30, 2015.




                                       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 68 of 125 PageID #:
                                                                           7513
                        Exhibit 4
  Summary of Securities Analyst Reports Issued for Miller
                         Energy
                                                                                     Reports Issued
                                                                               During the Analysis Period:
               Analyst Name                                                       8/29/2011 - 7/30/2015
      [1]      BREAN CAPITAL, LLC.                                                               40
      [2]      WRIGHT INVESTORS SERVICE                                                          22
      [3]      SUNTRUST ROBINSON HUMPHREY CAPITAL MARKETS                                        19
      [4]      MARKETLINE                                                                        17
      [5]      MLV & CO.                                                                         12
      [6]      IMPERIAL CAPITAL, LLC                                                             10
      [7]      SADIF ANALYTICS                                                                   10
      [8]      GLOBALDATA                                                                        7
      [9]      VALUENGINE, INC.                                                                  6
     [10]      BUYSELLSIGNALS RESEARCH                                                           6
     [11]      NOBLE FINANCIAL CAPITAL MARKETS                                                   3
     [12]      SADIF-INVESTMENT ANALYTICS SA                                                     3
     [13]      STEPHENS INC.                                                                     1
     [14]      VALIDEA                                                                           1
     [15]      WALL STREET TRANSCRIPT                                                            1
               Total                                                                            158
 Sources: Investext, Bloomberg, and Counsel.
 Note: Many analyst reports are not available through third party data providers (e.g. Investext and Bloomberg);
 therefore, this almost certainly understates the total amount of analyst coverage.


Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 69 of 125 PageID #:
                                    7514
                                                Exhibit 5
           Coefficients from Rolling Event Study Regression for Miller Energy Common Stock
                                          8/29/2011 - 7/30/2015
 2.8

 2.4

 2.0

 1.6

 1.2

 0.8

 0.4

 0.0

-0.4

-0.8
       08/29/11

                  10/29/11

                             12/29/11

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                                             S&P 500 Total Return Index Coefficient                                              NYMEX WTI Light Sweet Crude Oil Futures Coefficient
Note: The results are based on a rolling regression of the previous 120 trading days. The regression model controls for a broad market index (S&P 500 Total Return Index) and
the NYMEX WTI Light Sweet Crude Oil futures (NYMEX:CL). Miller Energy describes using the NYMEX WTI prices to determine its delivery prices in its 10-Ks in 2012, 2013,
and 2014. Earnings announcements, the alleged corrective disclosure dates, and three other outlier dates have been removed from estimation (i.e., 7/28/2011 with regard to
market reaction to a The StreetSweeper article alleging a potential fraud in Miller Energy's subsequent 10-K, 8/29/2011 with regard to market reaction to Miller Energy
correcting a mistake in its 10-K filing after a review performed by an Audit Committee, and 7/15/2015 with regard to continued volatility after the Going Concern Warning
released on 7/14/2015). Counsel alleges October 13, 2014 as a corrective disclosure due to a Reuters article about Brean Capital cutting its price target for Miller Energy
(Complaint ¶214). While the Reuters news was released after market hours on October 13, 2014, the Brean Capital report was released before market hours that same day.
Therefore, both October 13, 2014 and October 14, 2014 were excluded from the estimation in order to be conservative.




                                        Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 70 of 125 PageID #:
                                                                            7515
                                                     Exhibit 5-C
                   Coefficients from Fixed Regressions for Miller Energy Series C Preferred Stock
                                                10/8/2012 - 7/31/2015
  1.2




  0.8




  0.4




  0.0
        10/08/12


                     12/08/12


                                 02/08/13


                                               04/08/13


                                                          06/08/13


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                                            S&P 500 Total Return Index Coefficient                    NYMEX WTI Light Sweet Crude Oil Futures Coefficient
Note: The results are based on two fixed regressions that span over two consecutive time periods (10/8/2012 to 10/14/2014 and 10/15/2014 to 7/31/2015). The regression
model controls for a broad market index (S&P 500 Total Return Index) and the NYMEX WTI Light Sweet Crude Oil futures (NYMEX:CL). Miller Energy describes using the
NYMEX WTI prices to determine its delivery prices in its 10-Ks in 2012, 2013, and 2014. Earnings announcements, the alleged corrective disclosure dates, and three other outlier
dates have been removed from estimation (i.e., 7/28/2011 with regard to market reaction to a The StreetSweeper article alleging a potential fraud in Miller Energy's subsequent
10-K, 8/29/2011 with regard to market reaction to Miller Energy correcting a mistake in its 10-K filing after a review performed by an Audit Committee, and 7/15/2015 with
regard to continued volatility after the Going Concern Warning released on 7/14/2015). Counsel alleges October 13, 2014 as a corrective disclosure due to a Reuters article about
Brean Capital cutting its price target for Miller Energy (Complaint ¶214). While the Reuters news was released after market hours on October 13, 2014, the Brean Capital report
was released before market hours that same day. Therefore, both October 13, 2014 and October 14, 2014 were excluded from the estimation in order to be conservative.




                                Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 71 of 125 PageID #:
                                                                    7516
                                                   Exhibit 5-D
                  Coefficients from Fixed Regressions for Miller Energy Series D Preferred Stock
1.2                                            10/1/2013 - 7/31/2015



0.8




0.4




0.0




-0.4
       10/01/13




                     12/01/13




                                       02/01/14




                                                   04/01/14




                                                                  06/01/14




                                                                                 08/01/14




                                                                                                    10/01/14




                                                                                                                12/01/14




                                                                                                                                02/01/15




                                                                                                                                               04/01/15




                                                                                                                                                              06/01/15
                                    S&P 500 Total Return Index Coefficient                  NYMEX WTI Light Sweet Crude Oil Futures Coefficient

Note: The results are based on two fixed regressions that span over two consecutive time periods (10/1/2013 to 10/14/2014 and 10/15/2014 to 7/31/2015). The regression
model controls for a broad market index (S&P 500 Total Return Index) and the NYMEX WTI Light Sweet Crude Oil futures (NYMEX:CL). Miller Energy describes using the
NYMEX WTI prices to determine its delivery prices in its 10-Ks in 2012, 2013, and 2014. Earnings announcements, the alleged corrective disclosure dates, and three other outlier
dates have been removed from estimation (i.e., 7/28/2011 with regard to market reaction to a The StreetSweeper article alleging a potential fraud in Miller Energy's subsequent
10-K , 8/29/2011 with regard to market reaction to Miller Energy correcting a mistake in its 10-K filing after a review performed by an Audit Committee, and 7/15/2015 with
regard to continued volatility after the Going Concern Warning released on 7/14/2015). Counsel alleges October 13, 2014 as a corrective disclosure due to a Reuters article about
Brean Capital cutting its price target for Miller Energy (Complaint ¶214). While the Reuters news was released after market hours on October 13, 2014, the Brean Capital report
was released before market hours that same day. Therefore, both October 13, 2014 and October 14, 2014 were excluded from the estimation in order to be conservative.



                                Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 72 of 125 PageID #:
                                                                    7517
                                                                            Exhibit 6
                                                    Standard Deviation of the Errors from Rolling Event Study
                                                          Regression for Miller Energy Common Stock
                                                                      8/29/2011 - 7/30/2015
0.080

0.070

0.060

0.050

0.040

0.030

0.020

0.010

0.000
        08/30/11

                   10/30/11

                              12/30/11

                                         02/29/12

                                                     04/30/12

                                                                06/30/12

                                                                           08/31/12

                                                                                      10/31/12

                                                                                                 12/31/12

                                                                                                            02/28/13

                                                                                                                       04/30/13

                                                                                                                                  06/30/13

                                                                                                                                             08/31/13

                                                                                                                                                        10/31/13

                                                                                                                                                                   12/31/13

                                                                                                                                                                              02/28/14

                                                                                                                                                                                         04/30/14

                                                                                                                                                                                                    06/30/14

                                                                                                                                                                                                               08/31/14

                                                                                                                                                                                                                          10/31/14

                                                                                                                                                                                                                                     12/31/14

                                                                                                                                                                                                                                                02/28/15

                                                                                                                                                                                                                                                           04/30/15

                                                                                                                                                                                                                                                                      06/30/15
Note: The results are based on a rolling regression of the previous 120 trading days. The regression model controls for a broad market index (S&P 500 Total Return Index) and the
NYMEX WTI Light Sweet Crude Oil futures (NYMEX:CL). Miller Energy describes using the NYMEX WTI prices to determine its delivery prices in its 10-Ks in 2012, 2013, and
2014. Earnings announcements, the alleged corrective disclosure dates, and three other outlier dates have been removed from estimation (i.e., 7/28/2011 with regard to market
reaction to a TheStreetSweeper article alleging potential fraud in Miller Energy's subsequent 10-K, 8/29/2011 with regard to market reaction to Miller Energy correcting a
mistake in its 10-K filing after a review performed by an Audit Committee, and 7/15/2015 with regard to continued volatility after the Going Concern Warning released on
7/14/2015). Counsel alleges October 13, 2014 as a corrective disclosure due to a Reuters article about Brean Capital cutting its price target for Miller Energy (Complaint ¶214).
While the Reuters news was released after market hours on October 13, 2014, the Brean Capital report was released before market hours that same day. Therefore, both October
13, 2014 and October 14, 2014 were excluded from the estimation in order to be conservative.



                                     Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 73 of 125 PageID #:
                                                                         7518
                                                                 Exhibit 6-C
                                                 Standard Deviation of the Errors from Fixed
                                            Regressions for Miller Energy Series C Preferred Stock
                                                             10/8/2012 - 7/31/2015
 0.080




 0.060




 0.040




 0.020




 0.000
         10/08/12


                    12/08/12


                                 02/08/13


                                             04/08/13


                                                        06/08/13


                                                                   08/08/13


                                                                              10/08/13


                                                                                         12/08/13


                                                                                                    02/08/14


                                                                                                               04/08/14


                                                                                                                          06/08/14


                                                                                                                                     08/08/14


                                                                                                                                                10/08/14


                                                                                                                                                           12/08/14


                                                                                                                                                                      02/08/15


                                                                                                                                                                                 04/08/15


                                                                                                                                                                                            06/08/15
Note: The results are based on two fixed regressions that span over two consecutive time periods (10/8/2012 to 10/14/2014 and 10/15/2014 to 7/31/2015) The regression model
controls for a broad market index (S&P 500 Total Return Index) and the NYMEX WTI Light Sweet Crude Oil futures (NYMEX:CL). Miller Energy describes using the NYMEX
WTI prices to determine its delivery prices in its 10-Ks in 2012, 2013, and 2014. Earnings announcements, the alleged corrective disclosure dates, and three other outlier dates
have been removed from estimation (i.e., 7/28/2011 with regard to market reaction to a TheStreetSweeper article alleging a potential fraud in Miller Energy's subsequent 10-K.,
8/29/2011 with regard to market reaction to Miller Energy correcting a mistake in its 10-K filing after a review performed by an Audit Committee, and 7/15/2015 with regard to
continued volatility after the Going Concern Warning released on 7/14/2015). Counsel alleges October 13, 2014 as a corrective disclosure due to a Reuters article about Brean
Capital cutting its price target for Miller Energy (Complaint ¶214). While the Reuters news was released after market hours on October 13, 2014, the Brean Capital report was
released before market hours that same day. Therefore, both October 13, 2014 and October 14, 2014 were excluded from the estimation in order to be conservative.



                               Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 74 of 125 PageID #:
                                                                   7519
                                                        Exhibit 6-D
                                        Standard Deviation of the Errors from Fixed
                                   Regressions for Miller Energy Series D Preferred Stock
                                                    10/1/2013 - 7/31/2015
0.080




0.060




0.040




0.020




0.000
        10/01/13




                      12/01/13




                                      02/01/14




                                                    04/01/14




                                                                    06/01/14




                                                                                   08/01/14




                                                                                                  10/01/14




                                                                                                                 12/01/14




                                                                                                                                 02/01/15




                                                                                                                                               04/01/15




                                                                                                                                                               06/01/15
Note: The results are based on two fixed regressions that span over two consecutive time periods (10/1/2013 to 10/14/2014, and 10/15/2014 to 7/31/2015). The regression
model controls for a broad market index (S&P 500 Total Return Index) and the NYMEX WTI Light Sweet Crude Oil futures (NYMEX:CL). Miller Energy describes using the
NYMEX WTI prices to determine its delivery prices in its 10-Ks in 2012, 2013, and 2014. Earnings announcements, the alleged corrective disclosure dates, and three other outlier
dates have been removed from estimation (i.e., 7/28/2011 with regard to market reaction to a The StreetSweeper article alleging a potential fraud in Miller Energy's subsequent
10-K8/29/2011 with regard to market reaction to Miller Energy correcting a mistake in its 10-K filing after a review performed by an Audit Committee, and 7/15/2015 with
regard to continued volatility after the Going Concern Warning released on 7/14/2015). Counsel alleges October 13, 2014 as a corrective disclosure due to a Reuters article about
Brean Capital cutting its price target for Miller Energy (Complaint ¶214). While the Reuters news was released after market hours on October 13, 2014, the Brean Capital report
was released before market hours that same day. Therefore, both October 13, 2014 and October 14, 2014 were excluded from the estimation in order to be conservative.



                          Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 75 of 125 PageID #:
                                                              7520
                                                                            Exhibit 7
                                        Event Study Analysis of Miller Energy Earnings Announcements for Common Stock
                                                                                                                                  Rolling Event Study Regression
                                                                                                                                     (120-day rolling window)
                                                                                                                                           Abnormal
                                                                                                   Closing    Raw       Volume Abnormal     Dollar              Sig
#     Date       Time     Market Date    Event                         Headline                     Price    Return    (millions) Return    Change    t-Stat   Level
                                                   Miller Energy Resource Reports Fourth
                                        Q4 2011
1    8/30/11    4:22 PM     8/31/11                Quarter and Year End Results                     $3.58    -0.56%      1.1     -0.71%     -$0.03    -0.17
                                        Earnings
                                                   Source - Business Wire
                                        Q1 2012    Miller Energy Resources Inc. Form 10-Q
2    9/9/11     5:10 PM     9/12/11                                                                 $3.34    4.38%       0.3     3.52%       $0.11    0.83
                                        Earnings   Source - SEC Edgar
                                                   Miller Energy Resources Reports Second
                                        Q2 2012
3    12/12/11   4:01 PM    12/13/11                Quarter Results                                  $2.89    -11.08%     0.5     -10.50%    -$0.34    -1.79      *
                                        Earnings
                                                   Source - Dow Jones Newswires
                                                   Miller Energy Resources Reports Third Quarter
                                        Q3 2012
4    3/12/12    4:21 PM     3/13/12                Results                                          $4.34    4.83%       0.3     0.71%       $0.03    0.15
                                        Earnings
                                                   Source - Business Wire
                                        Q4 2012    Miller Energy Resources Inc. Form 10-K
5    7/16/12    5:17 PM     7/17/12                                                                 $4.04    -7.13%      0.5     -8.48%     -$0.37    -2.54     **
                                        Earnings   Source - SEC Edgar

                                        Q1 2013    Miller Energy Resources Inc. Form 10-Q
6    9/10/12    7:56 AM     9/10/12                                                                 $4.76    0.00%       0.7     0.44%       $0.02    0.15
                                        Earnings   Source - SEC Edgar

                                        Q2 2013    Miller Energy Resources Inc. Form 10-Q
7    12/10/12   7:51 AM    12/10/12                                                                 $4.03    -6.06%      0.6     -5.98%     -$0.26    -2.36     **
                                        Earnings   Source - SEC Edgar

                                        Q3 2013    Miller Energy Resources Inc. Form 10-Q
8    3/12/13    6:51 AM     3/12/13                                                                 $3.75    -5.06%      0.4     -5.00%     -$0.20    -2.04     **
                                        Earnings   Source - SEC Edgar

                                        Q4 2013    Miller Energy Resources Inc. Form 10-K
9    7/15/13    5:18 PM     7/16/13                                                                 $4.09    1.49%       0.3     1.67%       $0.07    0.70
                                        Earnings   Source - SEC Edgar

                                        Q1 2014    DJ Miller Energy 1Q Loss/Shr 22c >MILL
10   9/9/13     8:04 AM     9/9/13                                                                  $6.90    -2.40%      0.7     -3.81%     -$0.27    -1.39
                                        Earnings   Source - Dow Jones Newswires




                          Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 76 of 125 PageID #:
                                                              7521
                                                                                             Exhibit 7
                                                         Event Study Analysis of Miller Energy Earnings Announcements for Common Stock
                                                                                                                                                                                                Rolling Event Study Regression
                                                                                                                                                                                                   (120-day rolling window)
                                                                                                                                                                                                            Abnormal
                                                                                                                                             Closing          Raw           Volume Abnormal                  Dollar                        Sig
#       Date           Time       Market Date              Event                                     Headline                                 Price          Return        (millions) Return                 Change          t-Stat       Level

                                                         Q2 2014           Miller Energy Resources Inc. Form 10-Q
11 12/10/13          4:51 PM        12/11/13                                                                                                   $8.06          5.91%             1.0           6.02%            $0.46          1.68          *
                                                         Earnings          Source - SEC Edgar

                                                         Q3 2014           Miller Energy Resources Inc. Form 10-Q
12    3/12/14        4:57 PM         3/13/14                                                                                                   $6.50          -2.55%            0.6           -1.34%           -$0.09         -0.38
                                                         Earnings          Source - SEC Edgar

                                                                           Miller Energy Resources Reports Record
                                                         Q4 2014
13    7/14/14        5:33 PM         7/15/14                               Fourth Quarter and Full Year 2014 Results                           $5.40          -6.74%            0.8           -5.90%           -$0.34         -1.71         *
                                                         Earnings
                                                                           Source - Dow Jones Newswires

                                                         Q1 2015           Miller Energy Resources Inc. Form 10-Q
14     9/9/14        4:51 PM         9/10/14                                                                                                   $4.36          -3.11%            0.5           -3.44%           -$0.15         -1.01
                                                         Earnings          Source - SEC Edgar

                                                         Q2 2015           Miller Energy 2Q Loss/Shr $3.71 >MILL
15 12/10/14          8:47 AM        12/10/14                                                                                                   $1.16         -14.07%            2.5           -3.49%           -$0.05         -0.79
                                                         Earnings          Source - Dow Jones Newswires

                                                         Q3 2015           Miller Energy 3Q Loss/Shr $3.39 >MILL
16    3/12/15        7:00 AM         3/12/15                                                                                                   $1.28          4.92%             0.2           4.51%            $0.05          0.79
                                                         Earnings          Source - Dow Jones Newswires

                                                                           Miller Energy Reports Fiscal Fourth Quarter
                                                         Q4 2015
17    7/29/15        1:48 AM         7/29/15                               and Full Year 2015 Results                                          $0.30          7.50%             1.1           5.21%            $0.01          0.74
                                                         Earnings
                                                                           Source - Dow Jones Newswires

Sources: S&P Capital IQ and Factiva.
Notes:
(1) The results are based on a rolling regression of the previous 120 trading days. The regression model controls for a broad market index (S&P 500 Total Return Index) and the NYMEX WTI Light Sweet Crude Oil futures
(NYMEX:CL). Miller Energy describes using the NYMEX WTI prices to determine its delivery prices in its 10-Ks in 2012, 2013, and 2014. Earnings announcements, the alleged corrective disclosure dates, and three other outlier
dates have been removed from estimation (i.e., 7/28/2011 with regard to market reaction to a TheStreetSweeper article alleging potential fraud in Miller Energy's subsequent 10-K, 8/29/2011 with regard to market reaction to
Miller Energy correcting a mistake in its 10-K filing after a review performed by an Audit Committee, and 7/15/2015 with regard to continued volatility after the Going Concern Warning released on 7/14/2015). Counsel alleges
October 13, 2014 as a corrective disclosure due to a Reuters article about Brean Capital cutting its price target for Miller Energy (Complaint ¶214). While the Reuters news was released after market hours on October 13, 2014, the
Brean Capital report was released before market hours that same day. Therefore, both October 13, 2014 and October 14, 2014 were excluded from the estimation in order to be conservative.

(2) *** Denotes statistical significance at the 99% confidence level or greater. ** Denotes statistical significance at the 95% confidence level or greater. * Denotes statistical significance at the 90% confidence level or greater.




                                Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 77 of 125 PageID #:
                                                                    7522
                                                            Exhibit 8
                 Comparison of Statistical Significance and Abnormal Returns
                  for Miller Energy Common Stock Earnings Announcements
                      vs. Days with No News during the Analysis Period



                                                          Earnings                        Days with No News,
                      Statistic                        Announcements                  Analyst Reports, or SEC Filings


                         N (1)                                   17                                      316


            Significant Days at 95%
                                                                 3                                        14
               Confidence Level

          % Significant Days at 95%
                                                             17.65%                                     4.43%
             Confidence Level (2)

               Average Absolute
                                                              4.16%                                     2.52%
              Abnormal Return (3)


        Average Volume (Millions) (4)                           0.7                                       0.3



       Notes:
       (1) Results are based on the Analysis Period of 8/29/2011 through 7/30/2015. For the purposes of this analysis, I
       selected the 316 days with no news. Days with no news were days that had zero news articles via the Factiva
       database, and no analyst reports or SEC filings were issued. Two other dates with corrective information that were
       not recorded in the initial report (12/24/2013 and 10/14/2014), have been added as news dates.
       (2) 17.65% rate of statistical significance is statistically significantly different than 4.43% at the 95% confidence level.
       (3) 4.16% absolute return is statistically significantly different than 2.52% based on a t-test for difference of means at
       the 95% confidence level.
       (4) The difference between 0.7 million and 0.3 million is statistically significant at the 99% confidence level.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 78 of 125 PageID #:
                                    7523
                                                                                                         Exhibit 9
                                                                 Event Study Analysis of Miller Energy Material Announcements for Series C Preferred Stock


                                                                                                                                                                                                                              Two Fixed Event Study Regressions
                                                                                                                                                                                                                                    Abnormal
                                                                                                                                                                                     Closing         Raw          Volume Abnormal Dollar
   #          Date             Time         Market Date                  Event                                                   Headline                                             Price         Return       (millions) Return   Change      t-Stat   Sig Level

                                                                                            Miller Energy Declares Cash Dividends On Its Series C and Series D
                                                                   Decision to Pay
   1       10/30/14          7:35 PM          10/31/14                                      Preferred Stock and Holds Annual Shareholder Meeting                                      $23.35         1.04%           0.01         0.79%    $0.18    0.13
                                                                   Cash Dividend
                                                                                            Source - SEC Edgar


                                                                       Q2 2015              Miller Energy 2Q Loss/Shr $3.71 >MILL
   2       12/10/14          8:47 AM          12/10/14                                                                                                                                $14.45         0.91%           0.08         6.23%    $0.89    1.01
                                                                       Earnings             Source - Dow Jones Newswires


                                                                                            Press Release: Miller Energy Declares Cash Dividends on Its Series B,
                                                                   Decision to Pay
   3       1/30/15           8:00 AM           1/30/15                                      Series C and Series D Preferred Stock                                                     $12.73        20.09%           0.08         14.59%   $1.55    2.37           **
                                                                   Cash Dividend
                                                                                            Source - Dow Jones Newswire


                                                                       Q3 2015              Miller Energy 3Q Loss/Shr $3.39 >MILL
   4       3/12/15           7:00 AM           3/12/15                                                                                                                                $12.20        -2.79%           0.05         -2.57%   -$0.32   -0.42
                                                                       Earnings             Source - Dow Jones Newswires


                                                                                            Press Release: Miller Energy Provides Details Concerning Recent
                                                                     Receipt of
   5       4/29/15           5:28 PM           4/30/15                                      Events Including Receipt of NYSE Continued Listing Notice                                  $9.18        -22.60%          0.11        -22.99%   -$2.73   -3.74         ***
                                                                    Wells Notice
                                                                                            Source - SEC Edgar


                                                                                            Press Release: Miller Energy Defers Cash Dividends on Its Series C
                                                                Decision to Suspend
   6        5/6/15           8:00 AM            5/6/15                                      and Series D Preferred Stock                                                               $5.15        -34.89%          0.12        -35.06%   -$2.77   -5.70         ***
                                                                  Cash Dividend
                                                                                            Source - Dow Jones Newswires


                                                                                            Miller Energy Announces Timing For Reporting Its Fiscal Fourth
                                                                   Going Concern
   7       7/14/15           8:07 AM           7/14/15                                      Quarter And Full Year 2015 Financial Results                                               $1.18        -64.24%          0.23        -65.63%   -$2.17   -10.68        ***
                                                                     Warning
                                                                                            Source - SEC Edgar


                                                                                            Miller Energy Reports Fiscal Fourth Quarter and Full Year 2015
                                                                       Q4 2015
   8       7/29/15           1:48 AM           7/29/15                                      Results                                                                                    $1.60        -3.03%           0.02         -4.87%   -$0.08   -0.79
                                                                       Earnings
                                                                                            Source - Dow Jones Newswires


                                                                                       Press Release: Miller Energy Responds to Notice of Delisting of Its
   9       7/30/15           5:34 PM           7/31/15         Delisting of Securities Securities on the New York Stock Exchange                                                       $0.06        -96.10%          0.00        -93.35%   -$1.44   -15.18        ***
                                                                                       Source - Dow Jones Newswires


Sources: S&P Capital IQ and Factiva.
Notes:
(1) The results are based on two fixed regressions that span over two consecutive time periods (10/8/2012 to 10/14/2014 and 10/15/2014 to 7/31/2015) The regression model controls for a broad market index (S&P 500 Total Return Index) and the NYMEX WTI
Light Sweet Crude Oil futures (NYMEX:CL). Miller Energy describes using the NYMEX WTI prices to determine its delivery prices in its 10-Ks in 2012, 2013, and 2014. Earnings announcements, the alleged corrective disclosure dates, and three other outlier dates
have been removed from estimation (i.e., 7/28/2011 with regard to market reaction to a The StreetSweeper article alleging a potential fraud in Miller Energy's subsequent 10-K, 8/29/2011 with regard to market reaction to Miller Energy correcting a mistake in its 10-
K filing after a review performed by an Audit Committee, and 7/15/2015 with regard to continued volatility after the Going Concern Warning released on 7/14/2015). Counsel alleges October 13, 2014 as a corrective disclosure due to a Reuters article about Brean
Capital cutting its price target for Miller Energy (Complaint ¶214). While the Reuters news was released after market hours on October 13, 2014, the Brean Capital report was released before market hours that same day. Therefore, both October 13, 2014 and October
14, 2014 were excluded from the estimation in order to be conservative.

(2) *** Denotes statistical significance at the 99% confidence level or greater. ** Denotes statistical significance at the 95% confidence level or greater.* Denotes statistical significance at the 90% confidence level or greater.




                                    Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 79 of 125 PageID #:
                                                                        7524
                                                           Exhibit 10
                Comparison of Statistical Significance and Abnormal Returns
            for Miller Energy Series C Preferred Stock Material Announcements
                     vs. Days with No News during the Analysis Period



                                                          Material                        Days with No News,
                      Statistic                        Announcements                  Analyst Reports, or SEC Filings


                         N (1)                                   9                                       192


            Significant Days at 95%
                                                                 5                                        9
               Confidence Level

          % Significant Days at 95%
                                                             55.56%                                    4.69%
             Confidence Level (2)

               Average Absolute
                                                             27.34%                                    1.28%
              Abnormal Return (3)


        Average Volume (Millions) (4)                          0.08                                     0.02



       Notes:
       (1) Results are based on the Analysis Period of 10/8/2012 through 7/30/2015 along with results for 7/31/2015 due
       to the news released after market hours on 7/30/2015. For the purposes of this analysis, I selected the 192 days with
       no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports
       or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial report
       (12/24/2013 and 10/14/2014), have been added as news dates.
       (2) 55.56% rate of statistical significance is statistically significantly different than 4.69% at the 99% confidence level.
       (3) 27.34% absolute return is statistically significantly different than 1.28% based on a t-test for difference of means
       at the 99% confidence level.
       (4) The difference between 0.08 million and 0.02 million is statistically significant at the 99% confidence level.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 80 of 125 PageID #:
                                    7525
                                                                                                        Exhibit 11
                                                                 Event Study Analysis of Miller Energy Material Announcements for Series D Preferred Stock


                                                                                                                                                                                                                                          Two Fixed Event Study Regressions

                                                                                                                                                                                                                                                Abnormal
                                                                                                                                                                                     Closing          Raw          Volume Abnormal               Dollar
   #          Date             Time         Market Date                  Event                                                    Headline                                            Price          Return       (millions) Return              Change      t-Stat   Sig Level

                                                                                            Miller Energy Declares Cash Dividends On Its Series C and Series D
                                                                   Decision to Pay
   1       10/30/14          7:35 PM          10/31/14                                      Preferred Stock and Holds Annual Shareholder Meeting                                       $22.33         0.68%           0.01         0.56%          $0.13       0.09
                                                                   Cash Dividend
                                                                                            Source - SEC Edgar



                                                                       Q2 2015              Miller Energy 2Q Loss/Shr $3.71 >MILL
   2       12/10/14          8:47 AM          12/10/14                                                                                                                                 $12.02        -5.73%           0.08         -0.11%         -$0.01      -0.02
                                                                       Earnings             Source - Dow Jones Newswires



                                                                                            Press Release: Miller Energy Declares Cash Dividends on Its Series B,
                                                                   Decision to Pay
   3       1/30/15           8:00 AM           1/30/15                                      Series C and Series D Preferred Stock                                                      $11.01        20.59%           0.17        14.26%          $1.30       2.25        **
                                                                   Cash Dividend
                                                                                            Source - Dow Jones Newswire



                                                                       Q3 2015              Miller Energy 3Q Loss/Shr $3.39 >MILL
   4       3/12/15           7:00 AM           3/12/15                                                                                                                                 $9.99         -7.50%           0.16         -7.08%         -$0.77      -1.12
                                                                       Earnings             Source - Dow Jones Newswires



                                                                                            Press Release: Miller Energy Provides Details Concerning Recent
                                                                      Receipt of
   5       4/29/15           5:28 PM           4/30/15                                      Events Including Receipt of NYSE Continued Listing Notice                                  $6.94        -26.95%           0.22        -27.56%         -$2.62      -4.35      ***
                                                                     Wells Notice
                                                                                            Source - SEC Edgar


                                                                                            Press Release: Miller Energy Defers Cash Dividends on Its Series C
                                                                Decision to Suspend
   6        5/6/15           8:00 AM            5/6/15                                      and Series D Preferred Stock                                                               $4.64        -28.40%           0.22        -28.67%         -$1.86      -4.53      ***
                                                                  Cash Dividend
                                                                                            Source - Dow Jones Newswires


                                                                                            Miller Energy Announces Timing For Reporting Its Fiscal Fourth
                                                                   Going Concern
   7       7/14/15           8:07 AM           7/14/15                                      Quarter And Full Year 2015 Financial Results                                               $1.21        -62.66%           0.24        -64.16%         -$2.08     -10.13      ***
                                                                     Warning
                                                                                            Source - SEC Edgar


                                                                                            Miller Energy Reports Fiscal Fourth Quarter and Full Year 2015
                                                                       Q4 2015
   8       7/29/15           1:48 AM           7/29/15                                      Results                                                                                    $1.70          4.29%           0.05         2.35%          $0.04       0.37
                                                                       Earnings
                                                                                            Source - Dow Jones Newswires


                                                                                       Press Release: Miller Energy Responds to Notice of Delisting of Its
   9       7/30/15           5:34 PM           7/31/15         Delisting of Securities Securities on the New York Stock Exchange                                                       $0.55        -64.52%           0.00        -61.52%         -$0.95      -9.72      ***
                                                                                       Source - Dow Jones Newswires

Sources: S&P Capital IQ and Factiva.
Notes:
(1) The results are based on two fixed regressions that span over two consecutive time periods (10/1/2013 to 10/14/2014, and 10/15/2014 to 7/31/2015). The regression model controls for a broad market index (S&P 500 Total Return Index) and the NYMEX WTI Light
Sweet Crude Oil futures (NYMEX:CL). Miller Energy describes using the NYMEX WTI prices to determine its delivery prices in its 10-Ks in 2012, 2013, and 2014. Earnings announcements, the alleged corrective disclosure dates, and three other outlier dates have been
removed from estimation (i.e., 7/28/2011 with regard to market reaction to a The StreetSweeper article alleging a potential fraud in Miller Energy's subsequent 10-K 8/29/2011 with regard to market reaction to Miller Energy correcting a mistake in its 10-K filing after a
review performed by an Audit Committee, and 7/15/2015 with regard to continued volatility after the Going Concern Warning released on 7/14/2015). Counsel alleges October 13, 2014 as a corrective disclosure due to a Reuters article about Brean Capital cutting its
price target for Miller Energy (Complaint ¶214). While the Reuters news was released after market hours on October 13, 2014, the Brean Capital report was released before market hours that same day. Therefore, both October 13, 2014 and October 14, 2014 were
excluded from the estimation in order to be conservative.

(2) *** Denotes statistical significance at the 99% confidence level or greater. ** Denotes statistical significance at the 95% confidence level or greater. * Denotes statistical significance at the 90% confidence level or greater.




                                 Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 81 of 125 PageID #:
                                                                     7526
                                                           Exhibit 12
                Comparison of Statistical Significance and Abnormal Returns
            for Miller Energy Series D Preferred Stock Material Announcements
                     vs. Days with No News during the Analysis Period



                                                          Material                        Days with No News,
                      Statistic                        Announcements                  Analyst Reports, or SEC Filings


                         N (1)                                   9                                       118


            Significant Days at 95%
                                                                 5                                        4
               Confidence Level

          % Significant Days at 95%
                                                             55.56%                                    3.39%
             Confidence Level (2)

               Average Absolute
                                                             22.92%                                    2.09%
              Abnormal Return (3)


        Average Volume (Millions) (4)                          0.13                                     0.02



       Notes:
       (1) Results are based on the Analysis Period of 10/1/2013 through 7/30/2015 along with results for 7/31/2015 due
       to the news released after market hours on 7/30/2015. For the purposes of this analysis, I selected the 118 days with
       no news. Days with no news were days that had zero news articles via the Factiva database, and no analyst reports
       or SEC filings were issued. Two other dates with corrective information that were not recorded in the initial report
       (12/24/2013 and 10/14/2014), have been added as news dates.
       (2) 55.56% rate of statistical significance is statistically significantly different than 3.39% at the 99% confidence level.
       (3) 22.92% absolute return is statistically significantly different than 2.09% based on a t-test for difference of means
       at the 99% confidence level.
       (4) The difference between 0.13 million and 0.02 million is statistically significant at the 99% confidence level.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 82 of 125 PageID #:
                                    7527
                                                                                                                         Exhibit 13
                                                                                                     Miller Energy Common Stock Market Capitalization
                                                                                                                    8/29/2011 - 8/31/2015
                                   $500
                                                     Analysis Period: 8/29/2011 - 7/30/2015




                                   $400                                                                                                                                                                                                                     7/31/2015:
                                                                                                                                                                                                                                                   Miller Energy Common Stock
                                                                                                                                                                                                                                                   begins trading OTC after it is
                                                                                                                                                                                                                                                     delisted from the NYSE.
Market Capitalization (millions)




                                   $300




                                   $200




                                   $100




                                     $0
                                          08/29/11

                                                       10/29/11

                                                                  12/29/11

                                                                             02/29/12

                                                                                        04/30/12

                                                                                                   06/30/12

                                                                                                              08/31/12

                                                                                                                         10/31/12

                                                                                                                                    12/31/12

                                                                                                                                               02/28/13

                                                                                                                                                          04/30/13

                                                                                                                                                                     06/30/13

                                                                                                                                                                                08/31/13

                                                                                                                                                                                           10/31/13

                                                                                                                                                                                                      12/31/13

                                                                                                                                                                                                                 02/28/14

                                                                                                                                                                                                                            04/30/14

                                                                                                                                                                                                                                       06/30/14

                                                                                                                                                                                                                                                  08/31/14

                                                                                                                                                                                                                                                             10/31/14

                                                                                                                                                                                                                                                                        12/31/14

                                                                                                                                                                                                                                                                                   02/28/15

                                                                                                                                                                                                                                                                                              04/30/15

                                                                                                                                                                                                                                                                                                         06/30/15

                                                                                                                                                                                                                                                                                                                    08/31/15
                                                                                                                                                          Market Capitalization
              Sources: Complaint, S&P Capital IQ, "Press Release: Miller Energy Responds to Notice of Delisting of Its Securities on the New York Stock Exchange," Dow Jones, July 30, 2015.



                                                                     Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 83 of 125 PageID #:
                                                                                                         7528
                                                                                                       Exhibit 13-C
                                                                            Miller Energy 10.75% Series C Preferred Stock Market Capitalization
                                                                                                   10/8/2012 - 8/31/2015
                                   $90
                                                    Analysis Period: 10/8/2012 - 7/30/2015

                                   $80                                                   7/2/2013:
                                                                                   Miller Energy issues
                                                                                                                                                                                                                 7/30/2015:
                                                                                   an additional 335,000
                                                                                     shares of Series C
                                                                                                                                                                                                                Miller Energy
                                   $70                                                Preferred Stock.                                                                                                         securities begin
                                                                                                                                                                                                             trading OTC after
                                                                  5/10/2013:                                                                                                                                  they are delisted
                                                             Miller Energy issues                                                                                                                              from the NYSE.
                                   $60
Market Capitalization (millions)




                                                             an additional 500,000
                                                               shares of Series C
                                                                Preferred Stock.
                                   $50
                                                         2/13/2013:
                                                    Miller Energy issues
                                                    an additional 625,000
                                   $40                shares of Series C
                                                       Preferred Stock.


                                   $30

                                                                                             10/12/2012:
                                                                           Miller Energy enters into an At Market Issuance               Pursuant to the Sales Agreement entered
                                   $20                                     Sales Agreement allowing it to periodically issue             into on 10/12/2012, Miller Energy issued
                                                                             additional shares of Series C Preferred Stock.              an additional 1,105,000 shares of Series C
                                                                                                                                          Preferred Stock periodically throughout
                                                             10/8/2012:                                                                             the Analysis Period.
                                   $10
                                                        Miller Energy issues
                                                      685,000 shares of Series C
                                                           Preferred Stock.
                                    $0
                                         10/08/12


                                                        12/08/12


                                                                     02/08/13


                                                                                  04/08/13


                                                                                             06/08/13


                                                                                                        08/08/13


                                                                                                                   10/08/13


                                                                                                                              12/08/13


                                                                                                                                           02/08/14


                                                                                                                                                      04/08/14


                                                                                                                                                                 06/08/14


                                                                                                                                                                            08/08/14


                                                                                                                                                                                       10/08/14


                                                                                                                                                                                                  12/08/14


                                                                                                                                                                                                              02/08/15


                                                                                                                                                                                                                         04/08/15


                                                                                                                                                                                                                                    06/08/15


                                                                                                                                                                                                                                               08/08/15
                                                                                                                                Market Capitalization
   Sources: Complaint, S&P Capital IQ, and Miller Energy quarterly SEC filings throughout the Analysis Period.
   Note: Market capitalization is calculated as the daily Series C Preferred Stock closing price multiplied by shares outstanding according to SEC filings. Throughout the Analysis Period, Miller Energy periodically issued additional
   stock pursuant to its sales agreement with MLV. These issuances are accounted for in quarterly SEC filings of shares issued and outstanding. Dates referenced in boxes are dates of issuance, not the dates when the shares were
   registered through a prospectus.




                                                                   Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 84 of 125 PageID #:
                                                                                                       7529
                                                                                                  Exhibit 13-D
                                                                       Miller Energy 10.5% Series D Preferred Stock Market Capitalization
                                                                                              10/1/2013 - 8/31/2015
                                   $60
                                               Analysis Period: 10/1/2013 - 7/30/2015

                                                                                   8/25/2014:
                                                                                                                                                                                                                  7/31/2015:
                                                                             Miller Energy issues an
                                                                                                                                                                                                                 Miller Energy
                                   $50                                     additional 750,000 shares of
                                                                                                                                                                                                                securities begin
                                                                            Series D Preferred Stock.
                                                                                                                                                                                                              trading OTC after
                                                                                                                                                                                                               they are delisted
                                                                                           Pursuant to the Sales                                                                                                from the NYSE.
                                                                                       Agreement entered into on
                                   $40                                                 10/17/2013, Miller Energy
Market Capitalization (millions)




                                                        10/1/2013:
                                                                                           issued an additional
                                                    Miller Energy issues
                                                                                       1,367,022 shares of Series D
                                                    1,000,000 shares of                Preferred Stock periodically
                                                     Series D Preferred                  throughout the Analysis
                                                           Stock.                                Period.
                                   $30




                                   $20                                                                                8/8/2014:
                                                                10/17/2013:                                   Purchase of Anchor Point
                                                         Miller Energy enters into                              Pipeline completed.
                                                          an At Market Issuance                                213,586 shares released
                                                        Sales Agreement allowing                                    from escrow.
                                                          it to periodically issue
                                   $10                  additional shares of Series
                                                             D Preferred Stock




                                    $0
                                         10/01/13




                                                            12/01/13




                                                                            02/01/14




                                                                                                  04/01/14




                                                                                                                 06/01/14




                                                                                                                              08/01/14




                                                                                                                                          10/01/14




                                                                                                                                                             12/01/14




                                                                                                                                                                                02/01/15




                                                                                                                                                                                                   04/01/15




                                                                                                                                                                                                                         06/01/15




                                                                                                                                                                                                                                         08/01/15
                                                                                                                            Market Capitalization
              Sources: Complaint, S&P Capital IQ, and Miller Energy quarterly SEC filings throughout the Analysis Period.
              Note: Market capitalization is calculated as the daily Series D Preferred Stock closing price multiplied by shares outstanding according to SEC filings. Throughout the Analysis Period, Miller Energy periodically issued additional
              stock pursuant to its sales agreement with MLV. These issuances are accounted for in quarterly SEC filings of shares issued and outstanding. Dates referenced in boxes are dates of issuance, not the dates when the shares were
              registered through a prospectus.




                                                               Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 85 of 125 PageID #:
                                                                                                   7530
                                                Exhibit 14
                                       Miller Energy Common Stock
                                      Market Capitalization Rankings


                                                                              Sum of Market Capitalization of Miller
                                   Miller Energy Common Stock                          Energy Securities
                                 Market                                            Market
   Last trading day of        Capitalization       Percentile Rank on           Capitalization         Percentile Rank on
   quarter ending in:           (millions)         NYSE & NASDAQ                  (millions)           NYSE & NASDAQ

       10/31/2011                  $117.4                   27%                      $117.4                   27%
        1/31/2012                  $165.3                   31%                      $165.3                   31%
        4/30/2012                  $223.1                   35%                      $223.1                   35%
        7/31/2012                  $163.2                   30%                      $163.2                   30%
       10/31/2012                  $196.0                   31%                      $211.4                   33%
        1/31/2013                  $174.8                   28%                      $190.4                   30%
        4/30/2013                  $164.9                   26%                      $197.5                   30%
        7/31/2013                  $216.8                   29%                      $265.9                   32%
       10/31/2013                  $295.4                   33%                      $395.8                   39%
        1/31/2014                  $351.3                   36%                      $456.8                   41%
        4/30/2014                  $218.6                   27%                      $322.6                   35%
        7/31/2014                  $225.3                   29%                      $335.1                   37%
       10/31/2014                  $162.0                   24%                      $280.9                   32%
        1/31/2015                   $54.6                   10%                      $116.9                   20%
        4/30/2015                   $33.8                    6%                       $86.8                   16%
Sources: Bloomberg, S&P Capital IQ, and Miller Energy quarterly SEC filings throughout the Analysis Period.




    Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 86 of 125 PageID #:
                                        7531
                                                                                        Exhibit 15
                                                           Miller Energy Common Stock Average Monthly Bid-Ask Percentage Spread
                                                                                   8/29/2011 - 7/30/2015

                              1.80%



                              1.60%



                              1.40%
                                                                                                  Average Percentage Bid-Ask Spread for a
Percentage Spread per Share




                                                                                                  Randomly Selected Group of 100 Common
                              1.20%                                                               Stocks Trading on the NYSE and NASDAQ
                                                                                                  in December 2014: 0.76%

                                                Median Percentage Bid-Ask Spread for a
                              1.00%             Randomly Selected Group of 100 Common
                                                Stocks Trading on the NYSE and NASDAQ
                                                in December 2014: 0.26%
                              0.80%



                              0.60%



                              0.40%



                              0.20%



                              0.00%
                                      Aug Oct Dec Feb Apr Jun Aug Oct Dec Feb Apr Jun Aug Oct Dec Feb Apr Jun Aug Oct Dec Feb Apr Jun
                                      2011 2011 2011 2012 2012 2012 2012 2012 2012 2013 2013 2013 2013 2013 2013 2014 2014 2014 2014 2014 2014 2015 2015 2015
             Sources: Thomson Reuters Eikon and TICK Data.
             Note: August 2011 and July 2015 are limited to the Analysis Period.



                                               Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 87 of 125 PageID #:
                                                                                   7532
                                                                                         Exhibit 15-C
                                                      Miller Energy 10.75% Series C Preferred Stock Monthly Bid-Ask Percentage Spread
                                                                                     10/8/2012 - 7/30/2015

                              9.00%



                              8.00%



                              7.00%
Percentage Spread per Share




                              6.00%



                              5.00%


                                                                                             Average Percentage Bid-Ask Spread for a
                              4.00%                                                          Randomly Selected Group of 100 Common
                                                                                             Stocks Trading on the NYSE and NASDAQ
                                                                                             in December 2014 0.76%
                              3.00%
                                             Median Percentage Bid-Ask Spread for a
                                             Randomly Selected Group of 100 Common
                                             Stocks Trading on the NYSE and NASDAQ
                              2.00%          in December 2014: 0.26%



                              1.00%



                              0.00%
                                      Oct    Dec    Feb     Apr     Jun    Aug        Oct    Dec    Feb    Apr     Jun     Aug     Oct    Dec    Feb    Apr    Jun
                                      2012   2012   2013    2013    2013   2013       2013   2013   2014   2014    2014    2014    2014   2014   2015   2015   2015
             Sources: Thomson Reuters Eikon and TICK Data.
             Note: October 2012 and July 2015 data are limited to the Analysis Period.



                                              Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 88 of 125 PageID #:
                                                                                  7533
                                                                                     Exhibit 15-D
                                                   Miller Energy 10.5% Series D Preferred Stock Monthly Bid-Ask Percentage Spread
                                                                                 10/1/2013 - 7/30/2015

                              9.00%



                              8.00%



                              7.00%
Percentage Spread per Share




                                                                                Average Percentage Bid-Ask Spread for a
                              6.00%
                                                                                Randomly Selected Group of 100 Common
                                                                                Stocks Trading on the NYSE and NASDAQ
                                                                                in December 2014: 0.76%
                              5.00%



                              4.00%                 Median Percentage Bid-Ask Spread for a
                                                    Randomly Selected Group of 100 Common
                                                    Stocks Trading on the NYSE and NASDAQ
                                                    in December 2014: 0.26%
                              3.00%



                              2.00%



                              1.00%



                              0.00%
                                      Oct Nov Dec Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec Jan Feb Mar Apr May Jun Jul
                                      2013 2013 2013 2014 2014 2014 2014 2014 2014 2014 2014 2014 2014 2014 2014 2015 2015 2015 2015 2015 2015 2015
             Sources: Thomson Reuters Eikon and TICK Data.
             Note: July 2015 data are limited to the Analysis Period.



                                             Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 89 of 125 PageID #:
                                                                                 7534
                                                           Exhibit 16
                    Miller Energy Common Stock Shares Outstanding, Insider Holdings, and Institutional Holdings
                                     Total         Total                                     Total Insider         Total        Institutional     Institutional
                                  Institutions    Insider      Short                         Holdings %        Institutional   Holdings % of      Holdings %
             Shares Outstanding     Owning       Holdings    Interest     Public Float        of Shares          Holdings          Shares           of Public
  Date            (in 000s)          Stock       (in 000s)   (in 000s)     (in 000s)         Outstanding         (in 000s)      Outstanding          Float(1)
                                                                         [6] = [2] + [5] -
   [1]              [2]               [3]           [4]         [5]                          [7] = [4] / [2]        [8]         [9] = [8] / [2]   [10] = [8] / [6]
                                                                                [4]

9/30/2011          40,912             70          10,255      4,732          35,390             25.1%             14,180           34.7%              40.1%

12/31/2011         40,912             65          10,255      4,745          35,402             25.1%             11,964           29.2%              33.8%

3/31/2012          41,087             68          10,327      6,511          37,271             25.1%             13,699           33.3%              36.8%

6/30/2012          41,087             72          10,327      7,391          38,150             25.1%             12,805           31.2%              33.6%

9/30/2012          42,022             74          11,466      8,425          38,980             27.3%             13,460           32.0%              34.5%

12/31/2012         43,362             77           5,670      9,480          47,172             13.1%             14,229           32.8%              30.2%

3/31/2013          43,415             69          10,404      10,332         43,343             24.0%             13,413           30.9%              30.9%

6/30/2013          43,400             70          10,405      10,399         43,394             24.0%             13,455           31.0%              31.0%

9/30/2013          43,700             71          10,603      10,391         43,488             24.3%             13,819           31.6%              31.8%

12/31/2013         44,525             87          10,571      10,302         44,256             23.7%             15,610           35.1%              35.3%

3/31/2014          45,346             78          13,156      6,878          39,068             29.0%             13,952           30.8%              35.7%

6/30/2014          45,240             79          10,590      6,445          41,096             23.4%             13,326           29.5%              32.4%




                 Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 90 of 125 PageID #:
                                                     7535
                                                                   Exhibit 16
                            Miller Energy Common Stock Shares Outstanding, Insider Holdings, and Institutional Holdings
                                               Total         Total                                      Total Insider         Total        Institutional     Institutional
                                            Institutions    Insider       Short                         Holdings %        Institutional   Holdings % of      Holdings %
                   Shares Outstanding         Owning       Holdings     Interest     Public Float        of Shares          Holdings          Shares           of Public
    Date                (in 000s)              Stock       (in 000s)    (in 000s)     (in 000s)         Outstanding         (in 000s)      Outstanding          Float(1)
                                                                                    [6] = [2] + [5] -
     [1]                    [2]                 [3]           [4]          [5]                          [7] = [4] / [2]        [8]         [9] = [8] / [2]   [10] = [8] / [6]
                                                                                           [4]

 9/30/2014                 46,551               68          11,711        6,750         41,590             25.2%             12,806           27.5%              30.8%

12/31/2014                 46,634               75           4,688        6,230         48,176             10.1%             10,880           23.3%              22.6%

 3/31/2015                 46,664               72           3,846        6,165         48,982              8.2%             8,062            17.3%              16.5%

 6/30/2015                 46,634               54           4,146        4,819         47,306              8.9%             4,157             8.9%               8.8%

 Total Institutions over Analysis Period:       181                    Analysis Period Average:            21.3%                              28.7%              30.3%

Source: S&P Capital IQ.




                          Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 91 of 125 PageID #:
                                                              7536
                                          Exhibit 17
                                Miller Energy Common Stock
                    Test for Autocorrelation During the Analysis Period(1)

                                                Coefficient on Previous
                Quarter Ending In              Day's Abnormal Return(2)                       t-Statistic
                    10/31/2011                               -0.52                               -3.59
                     1/31/2012                               -0.08                               -0.60
                     4/30/2012                               -0.06                               -0.46
                     7/31/2012                                0.01                                0.07
                    10/31/2012                                0.08                                0.58
                     1/31/2013                                0.02                                0.18
                     4/30/2013                                0.00                               -0.01
                     7/31/2013                                0.00                                0.03
                    10/31/2013                               -0.02                               -0.15
                     1/31/2014                                0.11                                0.90
                     4/30/2014                               -0.19                               -1.56
                     7/31/2014                               -0.05                               -0.41
                    10/31/2014                               -0.11                               -0.93
                     1/31/2015                               -0.10                               -0.85
                     4/30/2015                                0.22                                1.71
                     7/31/2015                                0.07                                0.47

                 Analysis Period                             -0.02                               -0.67

          Source: S&P Capital IQ.
          Notes:
          (1) The autocorrelation period runs from August 29, 2011 to July 30, 2015.
          (2) For each quarter I perform a regression with the abnormal return from the event study as the
          dependent variable and the previous day's abnormal return as the independent variable.
          (3) Earnings announcements, the alleged corrective disclosure dates, and three other outlier dates have
          been removed from estimation ( i.e., 7/28/2011 with regard to market reaction to a The StreetSweeper
          article alleging a potential fraud in Miller Energy's subsequent 10-K, 8/29/2011 with regard to market
          reaction to Miller Energy correcting a mistake in its 10-K filing after a review performed by an Audit
          Committee, and 7/15/2015 with regard to continued volatility after the the Going Concern Warning
          released on 7/14/2015). Counsel alleges October 13, 2014 as a corrective disclosure due to a Reuters article
          about Brean Capital cutting its price target for Miller Energy (Complaint ¶214). While the Reuters news
          was released after market hours on October 13, 2014, the Brean Capital report was released before market
          hours that same day. Therefore, both October 13, 2014 and October 14, 2014 were excluded from the
          estimation in order to be conservative.



Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 92 of 125 PageID #:
                                    7537
                                     Exhibit 17-C
                        Miller Energy Series C Preferred Stock
                Test for Autocorrelation During the Analysis Period(1)

                                            Coefficient on Previous
            Quarter Ending In              Day's Abnormal Return(2)                      t-Statistic
                10/31/2012                               0.00                               -0.01
                1/31/2013                                0.04                                0.29
                4/30/2013                                0.13                                1.01
                7/31/2013                                0.20                                1.57
                10/31/2013                              -0.15                               -1.29
                1/31/2014                               -0.33                               -3.79
                4/30/2014                               -0.23                               -1.81
                7/31/2014                               -0.15                               -1.15
                10/31/2014                               0.40                                3.63
                1/31/2015                                0.15                                1.03
                4/30/2015                                0.13                                1.11
                7/31/2015                               -0.30                               -2.46

             Analysis Period                            -0.04                               -1.03

      Source: S&P Capital IQ.
      Notes:
      (1) The autocorrelation period runs from October 8, 2012 to July 30, 2015.
      (2) For each quarter I perform a regression with the abnormal return from the event study as the
      dependent variable and the previous day's abnormal return as the independent variable.
      (3) Earnings announcements, the alleged corrective disclosure dates, and three other outlier dates have
      been removed from estimation (i.e., 7/28/2011 with regard to market reaction to a The StreetSweeper
      article alleging a potential fraud in Miller Energy's subsequent 10-K, 8/29/2011 with regard to market
      reaction to Miller Energy correcting a mistake in its 10-K filing after a review performed by an Audit
      Committee, and 7/15/2015 with regard to continued volatility after the Going Concern Warning released
      on 7/14/2015). Counsel alleges October 13, 2014 as a corrective disclosure due to a Reuters article about
      Brean Capital cutting its price target for Miller Energy (Complaint ¶214). While the Reuters news was
      released after market hours on October 13, 2014, the Brean Capital report was released before market
      hours that same day. Therefore, both October 13, 2014 and October 14, 2014 were excluded from the
      estimation in order to be conservative.


Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 93 of 125 PageID #:
                                    7538
                                    Exhibit 17-D
                       Miller Energy Series D Preferred Stock
               Test for Autocorrelation During the Analysis Period(1)

                                           Coefficient on Previous
           Quarter Ending In              Day's Abnormal Return(2)                     t-Statistic
               10/31/2013                              -0.36                               -1.62
               1/31/2014                               0.00                                -0.03
               4/30/2014                               -0.32                               -2.68
               7/31/2014                               -0.15                               -1.19
               10/31/2014                              0.49                                4.47
               1/31/2015                               -0.01                               -0.06
               4/30/2015                               0.30                                2.54
               7/31/2015                               0.09                                0.66

            Analysis Period                            0.13                                2.61

     Source: S&P Capital IQ.
     Notes:
     (1) The autocorrelation period runs from October 1, 2013 to July 30, 2015.
     (2) For each quarter I perform a regression with the abnormal return from the event study as the
     dependent variable and the previous day's abnormal return as the independent variable.
     (3) Earnings announcements, the alleged corrective disclosure dates, and two other outlier dates have been
     removed from estimation (i.e., 7/28/2011 with regard to market reaction to a The StreetSweeper article
     alleging a potential fraud in Miller Energy's subsequent 10-K, 8/29/2011 with regard to market reaction to
     Miller Energy correcting a mistake in its 10-K filing after a review performed by an Audit Committee, and
     7/15/2015 with regard to continued volatility after the Going Concern Warning released on 7/14/2015).
     Counsel alleges October 13, 2014 as a corrective disclosure due to a Reuters article about Brean Capital
     cutting its price target for Miller Energy (Complaint ¶214). While the Reuters news was released after
     market hours on October 13, 2014, the Brean Capital report was released before market hours that same
     day. Therefore, both October 13, 2014 and October 14, 2014 were excluded from the estimation in order to
     be conservative.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 94 of 125 PageID #:
                                    7539
                                  Appendix A
                              Documents Considered
  Court Documents
     •   Second Amended Class Action Complaint filed September 15, 2017, in LEWIS COSBY,
         KENNETH R. MARTIN, as Beneficiary of the Kenneth Ray Martin Roth IRA, and
         MARTIN WEAKLY On Behalf of Themselves and All Others Similarly Situated, vs.
         KPMG, LLP, Case No. 3:16-cv-00121.
     •   Memorandum Opinion and Order filed August 2, 2018, in LEWIS COSBY, KENNETH R.
         MARTIN, as Beneficiary of the Kenneth Ray Martin Roth IRA, and MARTIN WEAKLEY
         On Behalf of Themselves and All Others Similarly Situated, vs, KPMG, LLP, Case No.
         3:16-CV-121-TAV-DCP.

  Court Decisions and Securities Law
     •   Basic, Inc. v. Levinson, 485 U.S. 224 (1988).
     •   Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud, § 8.6. (Aug. 1988).
     •   Cammer, et al., v. Bruce M. Bloom, et al., 711 F. Supp. 1264 (D.N.J. 1989).
     •   Halliburton Co., et al., v. Erica P. John Fund, Inc., 134 S. Ct. 2398 (2014).
     •   Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001).
     •   Private Securities Litigation Reform Act of 1995, dated December 22, 1995.

  SEC Filings
     •   Miller Energy Resources, Inc. SEC Form 10-K filings submitted during the Analysis
         Period.
     •   Miller Energy Resources, Inc. SEC Form 10-Q filings submitted quarterly during the
         Analysis Period.
     •   Miller Energy Resources, Inc. SEC Form 8-K filings submitted during the Analysis
         Period.
     •   Miller Energy Resources, Inc. SEC Form 424(b)(5) filings submitted during the Analysis
         Period.
     •   SEC Generated Letter to Paul Boyd Re: Miller Energy Resources, Inc. Form 10-K for
         Fiscal Year Ended April 30, 2010, dated July 26, 2011.
     •   Miller Energy Resources, Inc. SEC Form S-3 filings submitted during the Analysis
         Period.
     •   SEC Form S-3 eligibility information from http://www.sec.gov/about/forms/forms-3.pdf.
     •   SEC Official List of Section 13(f) Securities submitted quarterly during the Analysis
         Period from https://www.sec.gov/divisions/investment/13flists.htm.
     •   SEC Form 13F information from https://www.sec.gov/pdf/form13f.pdf.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 95 of 125 PageID #:
                                    7540
  Security Data
     •   Historical data for Miller Energy Resources, Inc. Common Stock, Series C Preferred
         Stock, Series D Preferred Stock, the NYMEX WTI Light Sweet Crude Oil Futures
         (NYMEX:CL) Index, and the S&P 500 Total Return Index were obtained from S&P
         Capital IQ. Historical data for the Market Capitalization and Shares Outstanding of the
         Preferred Securities were obtained directly from SEC filings.
     •   Trade and quote data for Miller Energy Resources, Inc. Common Stock, Series C
         Preferred Stock, and Series D Preferred Stock during the Analysis Period and one
         hundred randomly selected companies trading on the New York Stock Exchange and
         NASDAQ for December 2014 were obtained from Tick Data, see
         https://tickapi.tickdata.com/. Companies trading on the New York Stock Exchange and
         NASDAQ for December 2014 were identified using Thomson Reuters Eikon.
     •   Institutional and insider holdings data was obtained from S&P Capital IQ.
     •   Miller Energy Resources, Inc. Common Stock options data was obtained from
         Bloomberg.
     •   Miller Energy Resources, Inc. Common Stock market makers data was obtained from
         Bloomberg, using the RANK function.
     •   Miller Energy Resources, Inc. Common Stock market capitalization percentiles were
         obtained from Bloomberg.
     •   The Sum of Market Capitalization of Miller Energy Securities market capitalization
         percentile was obtained by summing the market capitalizations of Miller Energy
         Resources, Inc. Common Stock, Miller Energy Resources, Inc. 10.75% Series C
         Preferred Stock, and Miller Energy Resources, Inc. 10.5% Series D Preferred Stock.
         Market Capitalization Percentile for this sum was then estimated using market
         capitalization percentiles obtained from Bloomberg for all companies trading on the
         NYSE and NASDAQ during the Analysis Period.
     •   Turnover velocity data for NYSE and NASDAQ were obtained from the World
         Federation of Exchanges, see https://www.world-
         exchanges.org/home/index.php/statistics/monthly-reports.

  Miller Energy Resources, Inc. News
     •   Miller Energy Resources, Inc. news headlines and select articles downloaded from
         Factiva for the Analysis Period. The Factiva search for news over the Analysis Period
         resulted in 1,681 news articles were obtained by executing a search via Factiva for “All
         Sources” with the company field “Miller Energy Resources, Inc.” or keyword field
         “Miller Energy” for the period “August 29, 2011 – July 30, 2015” and excluding the
         phrase “New 52-Week Highs And Lows.” Duplicate articles have been removed by a
         proprietary function accessible in Factiva’s search builder.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 96 of 125 PageID #:
                                    7541
     •   Miller Energy Resources, Inc. earnings conference call and investor call transcripts
         during the Analysis Period.
     •   Miller Energy Resources, Inc. earnings, and guidance update press releases during the
         Analysis Period.

  Miller Energy Resources, Inc. Analyst Reports
     • Miller Energy Resources, Inc. analyst reports supplied by Investext via Thomson Reuters,
       Bloomberg, and counsel for the period of August 29, 2011 – July 30, 2015, including but
       not limited to:
           o “More Production Growth and Litigation Certainty Needed,” SunTrust Robinson
              Humphrey, August 6, 2012.
           o “TURNING THE CORNER: Kitchen Sink of a Quarter Could Mark a Bottom,
              New Strategy in Place," MLV & Co. LLC, December 10, 2014.
  Academic Articles
     •   Aharony, J., and Swary, I., “Quarterly Dividend and Earnings Announcements and
         Stockholders’ Returns: An Empirical Analysis,” The Journal of Finance, Vol. 35, No. 1,
         March 1980.
     •   Amihud, Y., et al., Liquidity and Asset Prices, 1 FOUND. & TRENDS FIN. 269 (2005).
     •   Avramov, D., et al., Liquidity and Autocorrelations in Individual Stock Returns, 61 J. FIN.
         (2006).
     •   Barber, B., et al., The Fraud-on-the-Market Theory and the Indicators of Common
         Stocks’ Efficiency, 19 J. CORP. L. 285 (1994).
     •   Beaver, W., “The Information Content of Annual Earnings Announcements,” Empirical
         Research in Accounting: Selected Studies, 1968, supplement to the Journal of Accounting
         Research, Vol. 6, 1968.
     •   Binder, J., The Event Study Methodology Since 1969, 11 REV. QUANTITATIVE FIN. &
         ACCT. (1998).
     •   Braun, P., et al., Good News, Bad News Volatility, and Betas, 50 J. FIN. 1575 (1995).
     •   Brealey, R., and Myers, S., Principles of Corporate Finance, McGraw-Hill, Third
         Edition, 1988.
     •   Fabozzi, F., Modigliani, F., Jones, F., Foundations of Financial Markets and Institutions,
         Prentice Hall, Fourth Edition, 2010.
     •   Fama, E., Efficient Capital Markets: A Review of Theory and Empirical Work, 25 J. FIN.
         383 (1970).
     •   Greene, W., Econometric Analysis, Prentice Hall, Sixth Edition, 2008.
     •   Gujarati, D., Basic Econometrics, Third Edition, McGraw Hill, 1995.
     •   Huang, R., and Stoll, H., Dealer versus auction markets: A paired comparison of
         execution costs on NASDAQ and the NYSE, 41 J. FIN. ECON. 313 (1996).




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 97 of 125 PageID #:
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     •    Jensen, M., Some Anomalous Evidence Regarding Market Efficiency, 6 J. FIN. ECON. 95
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     •    Kadapakkam, P., S. Krishnamurthy, and Y. Tse, “Stock Splits, Broker Promotion, and
          Decimalization,” The Journal of Financial and Quantitative Analysis, Vol. 40, No. 4,
          December 2005.
     •    Kumar, R., et al., The Impact of Options Trading on the Market Quality of the Underlying
          Security: An Empirical Analysis, 53 J. FIN. 717 (1998).
     •    MacKinlay, A., Event Studies in Economics and Finance, 35 J. ECON. LITERATURE
          (1997).
     •    May, R., “The Influence of Quarterly Earnings Announcements on Investor Decisions as
          Reflected in Common Stock Price Changes,” Empirical Research in Accounting:
          Selected Studies, 1971, supplement to the Journal of Accounting Research, Vol. 9, 1971.
     •    Reilly, F., and Brown, K., Investment Analysis and Portfolio Management, The Dryden
          Press, Sixth Edition, 2000.
     •    Ross, S., Options and Efficiency, 90 Q. J. ECON. 75 (1976).
     •    Sharpe, W., Alexander, G., and Bailey, J., Investments, Prentice Hall, Fifth Edition, 1995.
     •    Tabak, D., and Dunbar, F., “Materiality and Magnitude: Event Studies in the
          Courtroom,” Ch. 19, Litigation Services Handbook, The Role of the Financial Expert,
          Third Edition, 2001.
     •    Thomas, R., and Cotter, J., Measuring Securities Market Efficiency in the Regulatory
          Setting, 63 LAW & CONTEMP. PROBS. 105 (2000).
  Other
     •    http://www.sec.gov/answers/mktmaker.htm.
     •    https://www.nyse.com/market-model
     •    https://www.nyse.com/publicdocs/nyse/listing/fact_sheet_dmm.pdf.
     •    http://www.nasdaq.com/includes/Anatomy_of_a_Trade_FactSheet.pdf
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     •    http://www.rss-specifications.com/what-is-rss.html

  Additional Sources Relied Upon for Corrected Report

     •    “TheStreetSweeper Posts Negative Report on Miller Energy,” Benzinga, July 28, 2011
          2:46 PM.
     •    “Miller Energy: This Hot ‘Alaska’ Stock May Be About to Melt (Part 1),” The Street
          Sweeper, July 28, 2011 https://seekingalpha.com/article/282825-miller-energy-this-hot-
          alaska-stock-may-be-about-to-melt-part-1.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 98 of 125 PageID #:
                                    7543
    •   “Miller Energy: This Hot ‘Alaska’ Stock May Be About to Melt (Part 2),” The Street
        Sweeper, July 28, 2011, https://seekingalpha.com/article/282825-miller-energy-this-hot-
        alaska-stock-may-be-about-to-melt-part-2.
    •   “Miller Energy (MILL) CEO Fights Back, Says ‘Nothing to Hide’; Stock Moving
        Higher,” StreetInsider.com, July 29, 2011.
    •   Miller Energy Resources, Inc. SEC Form 10-K filed July 29, 2011 5:36 PM ET.
    •   Miller Energy Resources, Inc. SEC Form 8-K filed August 1, 2011 9:20 AM ET.
    •   “Miller Energy Resources’ CEO Issues an Open Letter to Shareholder,” Business Wire,
        August 1, 2011 3:04 PM.
    •   “Law Offices of Howard G. Smith Announces Investigation of Miller Energy
        Resources,” Business Wire, August 1, 2011.
    •   Miller Energy Resources, Inc. SEC Form 10-K/A filed August 8, 2011 9:32 PM ET.
    •   Miller Energy Resources, Inc. SEC Form 10-K/A filed August 29, 2011 7:46 AM ET.
    •    “Miller Energy: Digging Itself into Another Deep Hole?” The Street Sweeper, December
        24, 2013, https://seekingalpha.com/article/1914191-miller-energy-digging-itself-into-
        another-deep-hole. Originally published December 23, 2013 11:13 PM.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 99 of 125 PageID #:
                                    7544
                                           Appendix B
                                CHAD W. COFFMAN, MPP, CFA

Global Economics Group, LLC
140 South Dearborn Street, Suite 1000
Chicago, IL 60603
Office:       (312) 470-6500
Mobile:       (815) 382-0092
Email:        ccoffman@globaleconomicsgroup.com


EMPLOYMENT:

      Global Economics Group, LLC
            President (2008 - Current)

             Global Economics Group specializes in the application of economics, finance, statistics,
             and valuation principles to questions that arise in a variety of contexts, including
             litigation and policy matters throughout the world. With offices in Chicago, Boston, and
             New York, Principals of Global Economics Group have extensive experience in high-
             profile securities, antitrust, labor, and intellectual property matters.

      Market Platform Dynamics, LLC
           Chief Financial Officer & Chief Operating Officer (2010 – Current)

             Market Platform Dynamics is a management consulting firm that specializes in assisting
             platform-based companies profit from industry disruption caused by the introduction of
             new technologies, new business models and/or new competitive threats. MPD’s experts
             include economists, econometricians, product development specialists, strategic
             marketers and recognized thought leaders who apply cutting-edge research to the
             practical problems of building and running a profitable business.

      Chicago Partners, LLC
            Principal (2007 – 2008)
            Vice President (2003 – 2007)
            Director (2000 – 2003)
            Senior Associate (1999 – 2000)
            Associate (1997 – 1999)
            Research Analyst (1995 – 1997)


EDUCATION:

      CFA     Chartered Financial Analyst, 2003

      M.P.P. University of Chicago, 1997
             Masters of Public Policy, with a focus in economics including coursework in Finance,
             Labor Economics, Econometrics, and Regulation

      B.A.    Knox College, 1995



Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 100 of 125 PageID #:
                                     7545
                                             Appendix B                         Chad Coffman
                                                                                Page 2 of 12

                 Economics, Magna Cum Laude
                 Graduated with College Honors for Paper entitled “Increasing Efficiency in Water
                 Supply Pricing: Using Galesburg, Illinois as a Case Study”
                 Dean's List Every Term
                 Phi Beta Kappa


PROFESSIONAL EXPERIENCE:

Securities, Valuation, and Market Manipulation Cases:

•   Testifying Expert in numerous high-profile class action securities matters including, but not limited
    to:

       o In Re: Bank of America Corp. Securities, Derivative, and Employee Retirement Income
           Security Act (ERISA) Litigation. Parties settled for $2.4 billion in which I served as
           Plaintiffs’ damages and loss causation expert.
       o   In Re: Schering-Plough Corporation/ Enhance Securities Litigation. Parties settled for $473
           million in which I served as Plaintiffs’ damages and loss causation expert.
       o   In Re: REFCO Inc. Securities Litigation. Parties settled for $367 million in which I served
           as Plaintiffs’ damages and loss causation expert.
       o   In Re: Computer Sciences Corporation Securities Litigation. Parties settled for $98 million
           in which I served as Plaintiffs’ damages and loss causation expert.
       o   Full list of testimonial experience is provided below

•   Engaged several dozen times as a neutral expert by prominent mediators to evaluate economic
    analyses of other experts.

•   Expert consultant for the American Stock Exchange (AMEX) where I evaluated issues related to
    multiple listing of options. Performed econometric analysis of various measures of option spread
    using tens of millions of trades.

•   Performed detailed audit of CDO valuation models employed by a banking institution to satisfy
    regulators – non-litigation matter.

•   Played significant role in highly-publicized internal accounting investigations of two Fortune 500
    companies. One led to restatement of previously issued financial statements and both involved
    SEC investigations.

Testimony:

•   Testifying expert in the matter of Kuo, Steven Wu v. Xceedium Inc, Supreme Court of New York,
    County of New York, Index No. 06-100836. Filed report re: the fair value of Mr. Kuo’s shares.
    Case settled at trial.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 101 of 125 PageID #:
                                     7546
                                              Appendix B                         Chad Coffman
                                                                                 Page 3 of 12

•   Testifying expert in the matter of Pallas, Dennis H. v. BPRS/Chestnut Venture Limited Partnership
    and Gerald Nudo, Circuit Court of Cook County, Illinois, County Department, Chancery Division.
    Filed report re: fair value of Pallas shares. Report: July 9, 2008. Deposition August 6, 2008. Court
    Testimony February 11, 2009.

•   Testifying expert in Washington Mutual Securities Litigation, United States District Court for the
    Western District of Washington at Seattle, No. 2:08-md-1919 MJP, Lead Case No. C08-387 MJP.
    Filed declaration August 5, 2008 re: Plaintiffs’ loss causation theory. Filed expert report April 30,
    2010. Filed expert rebuttal report August 4, 2010. Filed declaration re: Plan of Allocation
    September 25, 2011.

•   Testifying expert in DVI Securities Litigation, Case No. 2:03-CV-05336-LDD, United States
    District Court for the Eastern District of Pennsylvania. Filed expert report October 1, 2008 re:
    damages. Filed expert rebuttal report December 17, 2008. Deposition January 27, 2009. Filed
    expert rebuttal report June 24, 2013.

•   Testifying expert in Syratech Corporation v. Lifetime Brands, Inc. and Syratech Acquisition
    Corporation, Supreme Court of the State of New York, Index No. 603568/2007. Filed expert report
    October 31, 2008.

•   Expert declaration in Jacksonville Police and Fire Pension Fund, et al. v. AIG, Inc., et al., No. 08-
    CV-4772-LTS; James Connolly, et al. v. AIG, Inc., et al., No. 08-CV-5072-LTS; Maine Public
    Employees Retirement System, et al. v. AIG, Inc., et al., No. 08-CV-5464-LTS; and Ontario
    Teachers’ Pension Plan Board, et al. v. AIG, Inc., et al., No. 08-CV-5560-LTS, United States
    District Court for the Southern District of New York. Filed declaration February 18, 2009.

•   Expert declaration in Connetics Securities Litigation, Case No. C 07-02940 SI, United States
    District Court for the Northern District of California, San Francisco Division. Filed expert report
    March 16, 2009. Filed declaration re: Plan of Allocation September 9, 2009.

•   Testifying expert in Boston Scientific Securities Litigation, Master File No. 1:05-cv-11934 (DPW),
    United States District Court District of Massachusetts. Filed expert report August 6, 2009.
    Deposition October 6, 2009.

•   Expert declaration in Louisiana Sheriffs’ Pension and Relief Fund, et al. v. Merrill Lynch & Co,
    Inc., et al., Case Number 08-cv-09063, United States District Court for the Southern District of
    New York. Filed declaration re: Plan of Allocation October, 2009.

•   Testifying expert in Henry J. Wojtunik v. Joseph P. Kealy, John F. Kealy, Jerry A. Kleven, Richard
    J. Seminoff, John P. Stephen, C. James Jensen, John P. Morbeck, Terry W. Beiriger, and Anthony
    T. Baumann. Filed expert report January 25, 2010.

•   Testifying expert in REFCO Inc. Securities Litigation, Case No. 05 Civ. 8626 (GEL), United States
    District Court for the Southern District of New York. Filed expert report February 2, 2010. Filed
    expert rebuttal report March 12, 2010. Deposition March 26, 2010.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 102 of 125 PageID #:
                                     7547
                                             Appendix B                        Chad Coffman
                                                                               Page 4 of 12

•   Expert declaration in New Century Securities Litigation, Case No. 07-cv-00931-DDP, United
    States District Court Central District of California. Filed declaration March 11, 2010.

•   Testifying expert in Louisiana Municipal Police Employees’ Retirement System, et al. v. Tilman J.
    Fertitta, Steven L. Scheinthal, Kenneth Brimmer, Michael S. Chadwick, Michael Richmond, Joe
    Max Taylor, Fertitta Holdings, Inc., Fertitta Acquisition Co., Richard Liem, Fertitta Group, Inc.
    and Fertitta Merger Co, C.A. No. 4339-VCL, Court of Chancery of the State of Delaware. Filed
    expert report April 23, 2010.

•   Testifying expert in Edward E. Graham and William C. Nordlund, individually and d/b/a Silver
    King Capital Management v. Eton Park Capital Management, L.P., Eton Park Associates, L.P. and
    Eton Park Fund, L.P. Case No. 1:07-CV-8375-GBD, Circuit Court of Shelby County, Alabama.
    Filed expert rebuttal report July 8, 2010. Deposition September 1, 2010. Filed supplemental expert
    rebuttal report August 22, 2011.

•   Testifying expert in Moody’s Corporation Securities Litigation. Case No. 1:07-CV-8375-GBD),
    United States District Court for the Southern District of New York. Filed expert rebuttal report
    August 23, 2010. Deposition October 7, 2010. Filed rebuttal reply report November 5, 2010. Filed
    expert report May 25, 2012.

•   Testifying expert in Minneapolis Firefighters’ Relief Association v. Medtronic, Inc., et al. Civil
    No. 08-6324 (PAM/AJB), United States District Court, District of Minnesota. Filed expert report
    January 14, 2011.

•   Testifying expert in Schering-Plough Corporation/ENHANCE Securities Litigation Case No.2:08-
    cv-00397 (DMC) (JAD), United States District Court, District of New Jersey. Filed declaration
    February 7, 2011. Filed expert report September 15, 2011. Filed expert rebuttal report October 28,
    2011. Filed declaration January 30, 2012. Deposition November 15, 2011 and November 29, 2011.

•   Testifying expert in Fannie Mae 2008 Securities Litigation, Master File No. 08 Civ. 7831 (PAC),
    United States District Court for the Southern District of New York. Filed expert report July 18,
    2011.

•   Expert declaration in Grady Scott Weston et. al v. RCS Capital Corporation, et. al, Civil Action
    No. 1:14-CV-10136-GBD, United States District Court for the Southern District of New York.
    Filed declaration re: aggregate damages August 11, 2017.

•   Testifying expert in Bank of America Corp. Securities, Derivative, and Employee Retirement
    Income Security Act (ERISA) Litigation, Master File No. 09 MDL 2058 (PKC), United States
    District Court for the Southern District of New York. Filed expert report August 29, 2011. Filed
    expert rebuttal report September 26, 2011. Filed expert report March 16, 2012. Filed expert rebuttal
    report April 9, 2012. Filed expert rebuttal report April 29, 2012. Deposition October 14, 2011 and
    May 24, 2012.

•   Testifying expert in Toyota Motor Corporation Securities Litigation, Case No. 10-922 DSF
    (AJWx), United States District Court, Central District of California. Filed expert report February




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 103 of 125 PageID #:
                                     7548
                                             Appendix B                        Chad Coffman
                                                                               Page 5 of 12

    17, 2012. Deposition March 28, 2012. Filed expert rebuttal report August 2, 2012. Filed declaration
    re: Plan of Allocation January 28, 2013.

•   Testifying expert in The West Virginia Investment Management Board and the West Virginia
    Consolidated Public Retirement Board v. The Variable Annuity Life Insurance Company, Civil
    No. 09-C-2104, Circuit Court of Kanawha County, West Virginia. Filed expert report June 1, 2012.
    Depositions June 19, 2013 and December 11, 2015.

•   Testifying expert in Aracruz Celulose S.A. Securities Litigation, Case No. 08-23317-CIV-
    LENARD, United States District Court for the Southern District of Florida. Filed expert report July
    20, 2012. Deposition September 14, 2012. Filed expert rebuttal report October 29, 2012. Filed
    declaration re: Plan of Allocation May 20, 2013.

•   Testifying expert in In Re Computer Sciences Corporation Securities Litigation, CIV. A. No. 1:11-
    cv-610-TSE-IDD, United States District Court for the Eastern District of Virginia, Alexandria
    Division. Filed expert report November 9, 2012. Filed supplemental report February 18, 2013.
    Filed expert rebuttal report March 25, 2013. Deposition March 27, 2013. Filed declaration re: Plan
    of Allocation August 7, 2013.

•   Testifying expert in In Re Weatherford International Securities Litigation, Case 1:11-cv-01646-
    LAK, United States District Court for the Southern District of New York. Filed declaration July 1,
    2011. Filed expert report April 1, 2013. Deposition April 26, 2013.

•   Testifying expert in In Re: Regions Morgan Keegan Closed-End Fund Litigation, Case 2:07-cv-
    02830-SHM-dkv, United States District Court for the Western District of Tennessee, Western
    Division. Court testimony April 12, 2013.

•   Testifying expert in City of Roseville Employees’ Retirement System and Southeastern
    Pennsylvania Transportation Authority, derivatively on behalf of Oracle Corporation, Plaintiff, v.
    Lawrence J. Ellison, Jeffrey S. Berg, H. Raymond Bingham, Michael J. Boskin, Safra A. Catz,
    Bruce R. Chizen, George H. Conrades, Hector Garcia-Molina, Donald L. Lucas, and Naomi O.
    Seligman, Defendants, and Oracle Corporation, Nominal Defendant, C.A. No. 6900-CS, Court of
    Chancery of the State of Delaware. Filed expert report May 13, 2013. Filed expert rebuttal report
    June 21, 2013. Deposition July 17, 2013.

•   Testifying expert in In Re BP plc Securities Litigation, No. 4:10-md-02185, Honorable Keith P.
    Ellison, United States District Court for the Southern District of Texas, Houston Division. Filed
    expert report June 14, 2013. Deposition July 25, 2013. Filed expert rebuttal report October 7, 2013.
    Filed declaration re: Plaintiff accounting losses November 17, 2013. Filed expert report January 6,
    2014. Deposition January 22, 2014. Filed expert rebuttal report March 12, 2014. Filed expert report
    March 17, 2014. Hearing testimony April 21, 2014. Deposition June 3, 2014. Filed declaration re:
    damages June 3, 2014.

•   Testifying expert in In Re Celestica Inc. Securities Litigation, Civil Action No. 07-CV-00312-
    GBD, United States District Court for the Southern District of New York. Filed expert report June
    14, 2013. Filed expert rebuttal report September 10, 2013. Deposition September 24, 2013.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 104 of 125 PageID #:
                                     7549
                                              Appendix B                        Chad Coffman
                                                                                Page 6 of 12


•   Testifying expert in In Re Dendreon Corporation Class Action Litigation, Master Docket No. C11-
    01291JLR, United States District Court for the Western District of Washington at Seattle. Filed
    declaration re: Plan of Allocation June 14, 2013.

•   Testifying expert in In Re Hill v. State Street Corporation, Master Docket No. 09-cv12146-GAO,
    United States District Court for the District of Massachusetts. Filed expert report October 28, 2013.

•   Testifying expert in In Re BNP Paribas Mortgage Corporation and BNP Paribas v. Bank of
    America, N.A., Master Docket No. 09-cv-9783-RWS, United States District Court for the Southern
    District of New York. Filed expert report November 25, 2013. Filed expert rebuttal report March
    17, 2014. Deposition June 26-27, 2014.

•   Testifying expert in Stan Better and YRC Investors Group v. YRC Worldwide Inc., William D.
    Zollars, Michael Smid, Timothy A. Wicks and Stephen L. Bruffet, Civil Action No. 11-2072-KHV,
    United States District Court for the District of Kansas. Filed declaration re: Plan of Allocation
    February 5, 2014. Filed expert report May 29, 2015. Filed expert report February 5, 2016. Filed
    expert rebuttal report March 27, 2016.

•   Testifying expert in The Archdiocese of Milwaukee Supporting Fund v. Halliburton Company, et
    al., Civil Action No. 3:02-CV-1152-M, United States District Court for the Northern District of
    Texas, Dallas Division. Filed expert rebuttal report October 30, 2014. Deposition November 11,
    2014. Hearing testimony December 1, 2014. Filed expert report March 11, 2016. Filed expert
    rebuttal report May 13, 2016. Deposition June 10, 2016. Hearing testimony re: Plan of Allocation
    July 31, 2017.

•   Testifying expert in In Re HP Securities Litigation, Master File No. 3:12-cv-05980-CRB, United
    States District Court for the Northern District of California, San Francisco Division. Filed expert
    report November 4, 2014. Deposition December 3, 2014. Filed expert rebuttal report January 26,
    2015.

•   Testifying expert in In Re MGM Mirage Securities, No. 2:09-cv-01558-GMN-VCF, United States
    District Court for the District of Nevada. Filed expert report November 12, 2014. Deposition
    January 6, 2015. Filed expert rebuttal report April 2, 2015.

•   Testifying expert in Adam S. Levy v. Thomas Gutierrez, Richard J. Gaynor, Raja Bal, J. Michal
    Conaway, Kathleen A. Cote, Ernest L. Godshalk, Matthew E. Massengill, Mary Petrovich, Robert
    E. Switz, Noel G. Watson, Thomas Wroe, Jr., Morgan Stanley & Co. LLC, Goldman, Sachs & Co.,
    and Canaccord Genuity Inc., No. 1:14-cv-00443-JL, United States District Court for the District of
    New Hampshire. Filed declaration January 7, 2015. Filed expert report September 20, 2018.
    Deposition December 7, 2018. Filed expert rebuttal report February 22, 2019.

•   Testifying expert in In Re Nu Skin Enterprises, Inc., Securities Litigation, Master File No. 2:14-cv-
    00033-DB, United States District Court for the District of Utah, Central Division. Filed expert
    report June 26, 2015. Deposition August 17, 2015.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 105 of 125 PageID #:
                                     7550
                                              Appendix B                        Chad Coffman
                                                                                Page 7 of 12

•   Testifying expert in In Re Intuitive Surgical Securities Litigation, Master File No. 5:13-cv-01920-
    EJD, United States District Court for the Northern District of California. Filed expert report
    September 1, 2015. Filed expert rebuttal report November 16, 2015. Filed expert report November
    8, 2016. Filed expert report February 8, 2017. Deposition December 12, 2017.

•   Testifying expert in Babak Hatamian, et al., v. Advanced Micro Devices, Inc., et al., No. 4:14-cv-
    00226-YGR, United States District Court for the Northern District of California, San Francisco
    Division. Filed expert report September 4, 2015. Filed expert rebuttal report December 7, 2015.
    Filed expert report November 18, 2016. Filed expert rebuttal report January 17, 2017. Filed
    declaration March 6, 2017. Deposition March 7, 2017.

•   Testifying expert in In Re NII Holdings, Inc. Securities Litigation, No. 1:14-cv-00227-LMB-JFA,
    United States District Court for the Eastern District of Virginia, Alexandria Division. Filed expert
    report September 11, 2015. Deposition September 17, 2015. Filed expert rebuttal report October
    28, 2015. Filed expert report January 8, 2016.

•   Testifying expert in In Re Barrick Gold Securities Litigation, No. 1:13-cv-03851-SAS, United
    States District Court for the Southern District of New York. Filed expert report September 15,
    2015.

•   Expert declaration in In Re Tower Group International, Ltd. Securities Litigation, Master Docket
    No. 1:13-cv-5852-AT, United States District Court for the Southern District of New York. Filed
    declaration re: Plan of Allocation October 6, 2015.

•   Testifying expert in Beaver County Employees’ Retirement Fund et al. v. Tile Shop Holdings Inc.
    et al., No. 0:14-cv-00786-ADM-TNL, United States District Court for the District of Minnesota.
    Filed expert report December 1, 2015. Deposition March 15, 2016. Filed expert report July 1,
    2016. Deposition July 26, 2016. Filed expert reply report August 15, 2016.

•   Testifying expert in In Re Barclays Bank PLC Securities Litigation, Civil Action No. 1:09-cv-
    01989-PAC, United States District Court for the Southern District of New York. Filed expert report
    December 15, 2015. Filed expert rebuttal report February 2, 2016. Filed rebuttal reply expert report
    March 18, 2016. Deposition April 21, 2016.

•   Testifying expert in In Re Petrobras Securities Litigation, Civil Action No. 15-cv-03733-JSR, 15-
    cv-07615-JSR, 15-cv-6618-JSR, 15-cv-02192-JSR, United States District Court for the Southern
    District of New York. Filed expert report May 6, 2016. Filed expert report May 27, 2016. Filed
    expert reply report June 17, 2016. Deposition June 24, 2016.

•   Testifying expert in Zubair Patel, Individually and on Behalf of All Others Similarly Situated,
    Plaintiff, vs. L-3 Communications Holdings, Inc., et al., Defendants, No. 1:14-cv-06038-VEC,
    United States District Court for the Southern District of New York. Filed expert report June 30,
    2016. Deposition July 20, 2016. Filed expert rebuttal report August 26, 2016.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 106 of 125 PageID #:
                                     7551
                                             Appendix B                         Chad Coffman
                                                                                Page 8 of 12

•   Testifying expert in Leonard Howard, Individually and on Behalf of All Others Similarly Situated,
    Plaintiff, vs. Liquidity Services, Inc., et al., Defendants, No. 1:14-cv-01183-BAH, United States
    District Court for the District of Columbia. Filed expert report September 2, 2016.

•   Testifying expert in James Quinn, Derivatively on Behalf of Nominal Defendant Apple REIT Ten,
    Inc., Plaintiff, v. Glade M. Knight, Justin Knight, Kent W. Colton, R. Garnett Hall, Jr., David J.
    Adams, Anthony F. Keating III, David Buckley, Kristian Gathright, David McKenney, Bryan
    Peery, and Apple Hospitality REIT, Inc., Defendants, and Apple REIT Ten, Inc., Nominal
    Defendant, No. 3:16-cv-610, United States District Court for the Eastern District of Virginia,
    Richmond Division. Filed expert report October 14, 2016. Deposition October 20, 2016.

•   Testifying expert in Dr. Joseph F. Kasper, et al., Plaintiff, v. AAC Holdings, Inc., et al.,
    Defendants, No. 3:15-cv-00923, United States District Court for the Middle District of Tennessee,
    Nashville Division. Filed expert report October 18, 2016. Deposition November 29, 2016. Filed
    expert rebuttal report February 10, 2017. Filed expert report December 4, 2017.

•   Testifying expert in KBC Asset Management NV, et al., Plaintiff, v. 3D Systems Corporation,
    Abraham N. Reichental, Damon J. Gregoire, and Ted Hull, Defendants, No. 15-cv-02393-MGL,
    United States District Court for the District of South Carolina, Rock Hill Division. Filed expert
    report October 31, 2016. Deposition January 5, 2017. Filed expert report April 21, 2017.

•   Testifying expert in Arkansas Teacher Retirement System, et al., Plaintiff, v. Virtus Investment
    Partners, Inc., Defendants, No. 15-cv-1249-WHP, United States District Court for the Southern
    District of New York. Filed expert report November 7, 2016. Filed expert rebuttal report February
    17, 2017. Deposition February 28, 2017. Filed expert report June 16, 2017. Filed expert rebuttal
    report July 26, 2017. Deposition August 9, 2017. Filed declaration re: prior reports December 4,
    2017.

•   Testifying expert in Laborers Pension Trust Fund – Detroit, Individually and on Behalf of All
    Others Similarly Situated, Plaintiffs, vs. Conn’s, Inc., et al., Defendants, No. 4:14-cv-00548 (KPE),
    United States District Court for the Southern District of Texas, Houston Division. Filed expert
    report November 10, 2016. Deposition December 9, 2016. Filed expert rebuttal report March 27,
    2017.

•   Testifying expert in Glen Hartsock, individually and on behalf of all others similarly situated
    Plaintiff, v. Spectrum Pharmaceuticals, Inc., and Rajesh C. Shrotriya, Defendants, No. 16-cv-
    02279-RFB-GWF and Olutayo Ayeni, individually and on behalf of all others similarly situated
    Plaintiff, v. Spectrum Pharmaceuticals, Inc., Rajesh C. Shrotriya, Kurt A. Gustafson, Joseph
    Turgeon, and Lee Allen, Defendants, No. 16-cv-02649-KJD-VCF, United States District Court for
    the District of Nevada. Filed declaration re: damages December 8, 2016.

•   Testifying expert in In Re: ARIAD Pharmaceuticals, Inc. Securities Litigation, No. 1:13-cv-12544
    (WGY), United States District Court District of Massachusetts. Filed expert report March 6, 2017.

•   Testifying expert in Washtenaw County Employees’ Retirement System, individually and on
    behalf of all others similarly situated, Plaintiff, v. Walgreen Co., Gregory D. Wasson, and Wade




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 107 of 125 PageID #:
                                     7552
                                              Appendix B                         Chad Coffman
                                                                                 Page 9 of 12

    Miquelon, Defendants, No. 15-cv-3187, United States District Court for the Northern District of
    Illinois. Filed expert report April 21, 2017. Deposition June 15, 2017. Filed expert rebuttal report
    September 15, 2017.

•   Testifying expert in Lou Baker, individually and on behalf of all others similarly situated, Plaintiff,
    v. SeaWorld Entertainment, Inc., James Atchison, James M. Heaney, Marc Swanson, and The
    Blackstone Group L.P., Defendants, No. 3:14-cv-02129-MMA-KSC, United States District Court
    for the Southern District of California. Filed expert report May 19, 2017. Deposition July 20, 2017.
    Filed expert rebuttal report September 14, 2017. Filed expert report January 22, 2019. Filed expert
    rebuttal report March 1, 2019.

•   Testifying expert in Benjamin Gross, individually and on behalf of all others similarly situated,
    Plaintiff, v. GFI Group, Inc., Colin Heffron, and Michael Gooch, Defendants, No. 3:14-cv-09438-
    WHP, United States District Court for the Southern District of New York. Filed expert report May
    30, 2017. Filed expert report August 7, 2017. Filed expert rebuttal report August 28, 2017.
    Deposition September 27, 2017.

•   Testifying expert in Murray Rubinstein, Jeffrey F. St. Clair, William McWade, Harjot Dev and
    Vikas Shah, individually and on behalf of all others similarly situated, Plaintiffs, v. Richard
    Gonzalez and Abbvie Inc., Defendants, No. 14-cv-9465, United States District Court for the
    Northern District of Illinois, Eastern Division. Filed expert report December 21, 2017. Deposition
    February 22, 2018. Filed supplemental expert report March 9, 2018. Filed expert reply report June
    14, 2018. Filed expert sur-sur reply report August 28, 2018.

•   Testifying expert in In Re: SanDisk LLC Securities Litigation, No. 3:15-cv-01455-VC, United
    States District Court for the Northern District of California, San Francisco Division. Filed expert
    report January 19, 2018. Filed expert report August 30, 2018. Filed expert report October 23, 2018.
    Deposition November 15, 2018.

•   Testifying expert in In Re: EZCORP, Inc. Securities Litigation, No. 1:15-cv-00608-SS, United
    States District Court for the Western District of Texas. Filed expert report January 31, 2018.
    Deposition March 6, 2018.

•   Testifying expert in In Re: Rent-A-Center, Inc. Securities Litigation, No. 4:16-cv-00978-ALM-
    CMC, United States District Court for the Eastern District of Texas, Sherman Division. Filed
    expert report March 13, 2018. Filed rebuttal reply report July 12, 2018. Deposition August 21,
    2018.

•   Testifying expert in Public Employees’ Retirement Systems of Mississippi, Individually and On
    Behalf of All Others Similarly Situated, Plaintiff, v. TreeHouse Foods, Inc., Sam K. Reed, Dennis
    F. Riordan and Christopher D. Silva, Defendants, No. 1:16-cv-10632, United States District Court
    for the Northern District of Illinois. Filed expert report July 13, 2018. Deposition September 21,
    2018.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 108 of 125 PageID #:
                                     7553
                                               Appendix B                         Chad Coffman
                                                                                  Page 10 of 12

•   Testifying expert in Gary Hefler, et al., Plaintiffs, v. Wells Fargo & Company, et al., Defendants,
    No. 1:16-cv-05479-JST, United States District Court for the Northern District of California. Filed
    declaration re: Plan of Allocation July 27, 2018.

•   Testifying expert in In re Banco Bradesco S.A. Securities Litigation, No. 1:16-cv-04155-GHW,
    United States District Court for the Southern District of New York. Filed expert report August 17,
    2018. Filed supplemental expert report October 11, 2018. Deposition October 12, 2018. Filed
    expert report December 14, 2018. Filed expert report March 8, 2019.

•   Testifying expert in Richard Di Donato, et al., Plaintiffs, v. Insys Therapeutics Incorporated, et al.
    Defendants, No. CV-16-00302-PHX-NVW, United States District Court for the District of
    Arizona. Filed expert report August 31, 2018. Deposition October 4, 2018. Filed expert report
    November 30, 2018.

•   Consulting expert in In Re: Wilmington Trust Securities Litigation, Master File No. 10-cv-00990-
    ER, United States District Court for the District of Delaware. Filed declaration re: Plan of
    Allocation and calculation of aggregate damages September 17, 2018.

•   Testifying expert in Atul Singh Deora, Individually and On Behalf of All Others Similarly Situated,
    Plaintiffs, v. Nanthealth, Inc., Patrick Soon-Shiong, Paul A. Holt, Michael S. Sitrick, Kirck K. Calhoun,
    Mark Bennett, Edward Miller, Michael Blaszyk, Jefferies Llc, First Analysis Securities Corporation,
    Canaccord Genuity Inc., And Fbr Capital Markets & CO., Defendants., No. 2:17-CV-01825-BRO-
    MRW, United States District Court for the Central District of California Western Division. Filed
    expert report September 20, 2018.

•   Testifying expert in City of Sunrise General Employees’ Retirement Plan, Plaintiff vs. FleetCor
    Technologies, Inc., et al., Defendants, No. 1:17-CV-02207-LMM, United States District Court for
    the Northern District of Georgia Atlanta Division. Filed expert report January 4, 2019.

•   Testifying expert in Guevoura Fund LTD., On Behalf of Itself and All Others Similarly Situated,
    Plaintiffs, v. Robert F.X. Sillerman, D. Geoffrey Armstrong, John Miller, Michael John Meyer, and
    SFX Entertainment, Inc., Defendants, Case No. 1:15-cv-07192-CM, Case No. 1:18-cv-09784-CM,
    United States District Court for the Southern District of New York. Filed expert report January 18,
    2019.

•   Testifying expert in Leon D. Milbeck On Behalf of Himself and All Others Similarly Situated, v.
    TrueCar, Inc, et al., Defendants, No. 2:18-cv-02612-SVW, United States District Court for the
    Central District of California. Filed expert report March 8, 2019.


Experience in Labor Economics and Discrimination-Related Cases:

•   Expert consultant for Cargill in class action race discrimination matter in which class certification
    was defeated.

•   Expert consultant for 3M in class action age discrimination matter.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 109 of 125 PageID #:
                                     7554
                                              Appendix B                         Chad Coffman
                                                                                 Page 11 of 12


•   Expert consultant for Wal-Mart in class action race discrimination matter.

•   Expert consultant on various other significant confidential labor economics matters in which there
    were class action allegations related to race, age and gender.

•   Expert consultant for large insurance company related to litigation and potential regulation
    resulting from the use of credit scores in the insurance underwriting process.

Testimony:

•   Testifying expert in Shirley Cohens v. William Henderson, Postmaster General, C.A 1:00CV-1834
    (TFH) United States Postal Service. United States District Court for the District of Columbia.–
    Filed report re: lost wages and benefits.

•   Testifying expert in Richard Akins v. NCR Corporation. Before the American Arbitration
    Association – Filed report re: lost wages.

•   Testifying expert in Maureen Moriarty v. Dyson, Inc., Case No. 09 CV 2777, United States District
    Court for the Northern District of Illinois, Eastern Division. Filed expert report October 12, 2011.
    Deposition November 10, 2011.

•   Testifying expert in Vincent Torbio, et al. against Feldor Billiards Inc. D/B/A Fatcat Billiards, et
    al., Index No. 153384/14, Supreme Court of the State of New Your, County of New York. Filed
    expert report May 29, 2018. Deposition July 24, 2018.

Selected Experience in Antitrust, General Damages, and Other Matters:

•   Expert consultant in high-profile antitrust matters in the computer and credit card industries.

•   Expert consultant for plaintiffs in re: Brand Name Drugs Litigation. Responsible for managing,
    maintaining and analyzing data totaling over one billion records in one of the largest antitrust cases
    ever filed in the Federal Courts.

•   Served as neutral expert for mediator (Judge Daniel Weinstein) in allocating a settlement in an
    antitrust matter.

•   Expert consultant in Seminole County and Martin County absentee ballot litigation during disputed
    presidential election of 2000.

•   Expert consultant for sub-prime lending institution to determine effect of alternative loan
    amortization and late fee policies on over 20,000 customers of a sub-prime lending institution.
    Case settled favorably at trial immediately after the testifying expert presented an analysis I
    developed showing fundamental flaws in opposing experts calculations.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 110 of 125 PageID #:
                                     7555
                                            Appendix B                       Chad Coffman
                                                                             Page 12 of 12

TEACHING EXPERIENCE:

       KNOX COLLEGE, Teaching Assistant - Statistics, (1995)
       KNOX COLLEGE, Tutor in Mathematics, (1992 - 1993)


PUBLICATIONS:

       Coffman, Chad and Mary Gregson, “Railroad Construction and Land Value.” Journal of Real
          Estate and Finance, 16:2, pp. 191-204 (1998).

       Coffman, Chad, Tara O’Neil, and Brian Starr, Ed. Richard D. Kahlenberg, “An Empirical
          Analysis of the Impact of Legacy Preferences on Alumni Giving at Top Universities,”
          Affirmative Action for the Rich: Legacy Preferences in College Admissions; pp. 101-121
          (2010).


PROFESSIONAL AFFILIATIONS:

       Associate Member CFA Society of Chicago
       Associate Member CFA Institute
       Phi Beta Kappa


AWARDS:

       1994 Ford Fellowship Recipient for Summer Research.
       1993 Arnold Prize for Best Research Proposal.
       1995 Knox College Economics Department Award.


PERSONAL ACTIVITIES:

•   Pro bono consulting for Cook County State’s Attorney’s Office.
•   Pro bono consulting for Cook County Health & Hospitals System – Developed method for hospital
    to assess real-time patient level costs to assist in improving care for Cook County residents and
    prepare for implementation of Affordable Care Act.
•   Pro bono consulting for Chicago Park District to analyze economic impact of park district assets
    and assist in developing strategic framework for decision-making.




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 111 of 125 PageID #:
                                     7556
                               Appendix C
              Description of Preferred Securities




Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 112 of 125 PageID #:
                                     7557
                                                    THE OFFERING

The following is a brief summary of certain terms of this offering. For a more complete description of the terms of the
Series C Preferred Stock, please see the sections entitled “Description of the Series C Preferred Stock” in this prospectus
supplement and “Description of Capital Stock—Preferred Stock” in the accompanying prospectus. For a description of
our common stock, please see the section entitled “Description of Capital Stock” in the accompanying prospectus.

Issuer         Miller Energy Resources, Inc.

Securities     Up to 2,565,000 shares of 10.75% Series C Cumulative Redeemable Preferred Stock and up to $100
Offered        million of shares of our common stock. We are also registering 24,393,150 shares of our common stock
               underlying the Series C Preferred Stock and issuable upon conversion.

Commercially MLV is not required to sell any specific number or dollar amount of our Series C Preferred Stock or
Reasonable   common stock, but has agreed to make all sales using commercially reasonable efforts consistent with its
Efforts      normal trading and sales practices on mutually agreed terms between MLV and us. See “Plan of
             Distribution” on page S- 41.

Dividends      Holders of the Series C Preferred Stock will be entitled to receive cumulative cash dividends at a rate of
               10.75% per annum of the $25.00 per share liquidation preference (equivalent to $2.6875 per annum per
               share) when, as and if declared by our board of directors.

               Dividends will be payable quarterly on the 1st day of each December, March, June and September,
               provided that if any dividend payment date is not a business day, then the dividend which would have been
               payable on that dividend payment date will be paid on the next succeeding business day. Dividends will
               accrue and be cumulative from, and including, the date of original issuance, which was on October 5,
               2012. The first dividend payable on December 1, 2012 in the amount of $0.41 per share will be paid to the
               persons who are the holders of record of the Series C Preferred Stock at the close of business on the
               corresponding record date, which will be November 15, 2012. For the definition of “dividend payment
               date” please see the section entitled “Description of Series C Preferred Stock—Dividends.”

               A portion of the proceeds from the sale of Series C Preferred Stock in an amount equal to anticipated
               dividend payments through September 28, 2013, the anniversary of the initial sale date of the Series C
               Preferred Stock, will be placed in a separate account of the company. Our lender will have a lien on and
               control over this account.

No Maturity    The Series C Preferred Stock has no stated maturity and will not be subject to any sinking fund or
               mandatory redemption. Shares of the Series C Preferred Stock will remain outstanding indefinitely unless
               we decide to redeem or otherwise repurchase them as described below under “—Redemption—Optional
               Redemption or —Special Optional Redemption” or “—Conversion Rights; Market Trigger; Conversion
               and Redemption” or they become convertible and are converted as described below under “—Conversion
               Rights.” We are not required to set aside funds to redeem the Series C Preferred Stock.

Optional       The Series C Preferred Stock is not redeemable until November 1, 2017, except as described below under
Redemption     “—Special Optional Redemption” and under “—Conversion Rights; Market Trigger; Conversion and
               Redemption.” On and after November 1, 2017 we may, at our option, redeem the Series C Preferred
               Stock, in whole or in part, at any time or from time to time, for cash at a redemption price equal to $25.00
               per share, plus any accumulated and unpaid dividends to, but not including, the date fixed for redemption.
               See “Description of Series C Preferred Stock—Redemption—Optional Redemption.”


S- 2

         Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 113 of 125 PageID #:
                                              7558
Special Optional          Upon the occurrence of a Change of Control, provided no Limiting Document (as defined herein) may prohibit it,
Redemption                we may, at our option, redeem the Series C Preferred Stock, in whole or in part, within 120 days after the first date
                          on which such Change of Control occurred, for cash at a redemption price of $25.00 per share, plus any accumulated
                          and unpaid dividends to, but not including, the date fixed for redemption. If, prior to the Change of Control
                          Conversion Date (as defined herein), we have provided notice of our election to redeem some or all of the shares of
                          Series C Preferred Stock (whether pursuant to our optional redemption right described above or this special optional
                          redemption right), the holders of Series C Preferred Stock will not have the Change of Control Conversion Right
                          described below under “—Conversion Rights” with respect to the shares of Series C Preferred Stock called for
                          redemption. Please see the section entitled “Description of the Series C Preferred Stock—Redemption—Special
                          Optional Redemption” in this prospectus supplement. Notwithstanding the foregoing, holders shall always have the
                          right, up to any applicable redemption date, to convert the Series C Preferred Stock into our common stock at a
                          conversion price of $10.00 per share, as such conversion price may be adjusted.

A “Change of Control” is deemed to occur when, after the original issuance of the Series C Preferred Stock, the following
have occurred and are continuing:

       •       the acquisition by any person, including any syndicate or group deemed to be a “person” under Section
               13(d)(3) of the Securities Exchange Act of 1934, as amended, or the Exchange Act, of beneficial
               ownership, directly or indirectly, through a purchase, merger or other acquisition transaction or series of
               purchases, mergers or other acquisition transactions of our stock entitling that person to exercise more than
               50% of the total voting power of all our stock entitled to vote generally in the election of our directors
               (except that such person will be deemed to have beneficial ownership of all securities that such person has
               the right to acquire, whether such right is currently exercisable or is exercisable only upon the occurrence
               of a subsequent condition); and

       •       following the closing of any transaction referred to in the bullet point above, neither we nor the acquiring
               or surviving entity has a class of common securities (or American depositary receipts representing such
               securities) listed on a National Exchange. For the definition of “National Exchange” please see the section
               entitled “Description of Series C Preferred Stock—Dividends.”


S- 3




       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 114 of 125 PageID #:
                                            7559
Market Trigger At any time, we, at our option, may cause the Series C Preferred Stock to be converted in whole or in
Conversion and part, on a pro rata basis, into fully paid and nonassessable shares of common stock at the Conversion
Redemption     Price (defined below) if the Closing Bid Price (as defined hereafter) of the Common Stock shall have
               equaled or exceeded 150% of the Conversion Price for at least 20 trading days in any 30 consecutive
               trading day period ending three days prior to the date of notice of conversion (such event, the “Market
               Trigger”). Any shares of Series C Preferred Stock so converted shall be treated as having been
               surrendered by the holder thereof for conversion on the date of such mandatory conversion (unless
               previously converted at the option of the holder).

                We may, at our option, redeem the Series C Preferred Stock for cash equal to $25.00 per share plus
                accrued and unpaid dividends, if the Market Trigger has occurred in the period ending three days prior to
                the date of notice of redemption (unless previously converted at the option of the holder). See
                “Description of Series C Preferred Stock —Conversion Rights; Market Trigger Conversion and
                Redemption.”

Conversion      Each outstanding share of Series C Preferred Stock shall be convertible at any time at the option of the
Rights          holder into that number of whole shares of our common stock as is equal to $25.00 per share, plus
                accrued and unpaid dividends, divided by an initial conversion price of $10.00. The initial conversion
                price and the conversion price as adjusted are referred to as the “Conversion Price.” A share of Series C
                Preferred Stock called for redemption shall be convertible into shares of our common stock up to and
                including, but not after, the close of business on the date fixed for redemption unless we default in the
                payment of the amount payable upon redemption.

                Upon the occurrence of a Change of Control, in addition to the conversion right noted in the above
                paragraph, each holder of Series C Preferred Stock will have the right subject to our election to redeem
                the Series C Preferred Stock in whole or part, as described above under “—Optional Redemption” or
                “—Special Optional Redemption,” prior to the Change of Control Conversion Date to convert some or all
                of the Series C Preferred Stock held by such holder on the Change of Control Conversion Date into a
                number of shares of our common stock per share of Series C Preferred Stock equal to the lesser of:

•the quotient obtained by dividing (i) the sum of the $25.00 liquidation preference per share of Series C Preferred Stock
 plus the amount of any accumulated and unpaid dividends thereon to, but not including, the Change of Control
 Conversion Date (unless the Change of Control Conversion Date is after a dividend record date (as defined herein) and
 prior to the corresponding dividend payment date (as defined herein) for the Series C Preferred Stock, in which case no
 additional amount for such accrued and unpaid dividends will be included in this sum) by (ii) the Common Stock Price
 (as defined herein); and

•9.51 (the “Share Cap”), subject to adjustments to the Share Cap for any splits, subdivisions or combinations of our
 common stock;

        in each case, on the terms and subject to the conditions described in this prospectus supplement, including
        provisions for the receipt, under specified circumstances, of alternative consideration as described in this
        prospectus supplement.


S- 4




       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 115 of 125 PageID #:
                                            7560
                For definitions of “Change of Control Conversion Right,” “Change of Control Conversion Date” and
                “Common Stock Price” and a description of certain adjustments and provisions for the receipt of
                alternative consideration that may be applicable to the conversion of Series C Preferred Stock in the event
                of a Change of Control, and for other important information, please see the section entitled “Description of
                the Series C Preferred Stock—Conversion Rights.” For definitions of “dividend payment date” and
                “dividend record date,” please see the section entitled “Description of the Series C Preferred
                Stock—Dividends.”

Liquidation     If we liquidate, dissolve or wind up, holders of the Series C Preferred Stock will have the right to receive
Preference      $25.00 per share, plus any accumulated and unpaid dividends to, but not including, the date of payment,
                before any payment is made to the holders of our common stock. Please see the section entitled
                “Description of the Series C Preferred Stock—Liquidation Preference.”

Ranking         The Series C Preferred Stock will rank, with respect to rights to the payment of dividends and the
                distribution of assets upon our liquidation, dissolution or winding up, (A) senior to all classes or series of
                our common stock and to all other equity securities issued by us other than equity securities referred to in
                clauses (B) and (C); (B) junior to our Series B Redeemable Preferred Stock, or Series B Preferred Stock,
                and junior to all equity securities issued by us which do not have dividend rights and with terms
                specifically providing that those equity securities rank senior to the Series C Preferred Stock with respect
                to rights to the distribution of assets upon our liquidation, dissolution or winding up; (C) on parity with all
                other equity securities issued by us with terms specifically providing that those equity securities rank on
                parity with the Series C Preferred Stock with respect to rights to the distribution of our assets upon
                liquidation, dissolution or winding up and (D) effectively junior to all of our existing and future
                indebtedness (including indebtedness convertible to our common stock or preferred stock) and to the
                indebtedness of our existing subsidiary and any future subsidiaries. Please see the section entitled
                “Description of the Series C Preferred Stock—Ranking.”

Voting Rights Holders of Series C Preferred Stock will generally have no voting rights. However, if we do not pay
              dividends on the Series C Preferred Stock for four or more quarterly dividend periods (whether or not
              consecutive), the holders of the Series C Preferred Stock (voting separately as a class with the holders of
              all other classes or series of our equity securities we may issue upon which similar voting rights have been
              conferred and are exercisable and which are entitled to vote as a class with the Series C Preferred Stock in
              the election referred to below) will be entitled to vote for the election of two additional directors to serve
              on our board of directors until we pay, or declare and set aside funds for the payment of, all dividends that
              we owe on the Series C Preferred Stock, subject to certain limitations described in the section entitled
              “Description of the Series C Preferred Stock—Voting Rights.” In addition, the affirmative vote of the
              holders of at least two- thirds of the outstanding shares of Series C Preferred Stock is required for us to
              authorize or issue any class or series of stock ranking senior to the Series C Preferred Stock with respect to
              the payment of dividends or the distribution of assets on liquidation, dissolution or winding up, to amend
              any provision of our second amended and restated charter, as amended, so as to materially and adversely
              affect any rights of the Series C Preferred Stock or to take certain other actions. Please see the section
              entitled “Description of the Series C Preferred Stock—Voting Rights.”


S- 5




       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 116 of 125 PageID #:
                                            7561
Information During any period in which we are not subject to Section 13 or 15(d) of the Exchange Act and any shares of
Rights      Series C Preferred Stock are outstanding, we will use our best efforts to (i) transmit by mail (or other
            permissible means under the Exchange Act) to all holders of Series C Preferred Stock, as their names and
            addresses appear on our record books and without cost to such holders, copies of the annual reports on Form
            10- K and quarterly reports on Form 10- Q that we would have been required to file with the SEC pursuant to
            Section 13 or 15(d) of the Exchange Act if we were subject thereto (other than any exhibits that would have
            been required) and (ii) promptly, upon request, supply copies of such reports to any holders or prospective
            holder of Series C Preferred Stock, subject to certain exceptions described in this prospectus supplement. We
            will use our best efforts to mail (or otherwise provide) the information to the holders of the Series C Preferred
            Stock within 15 days after the respective dates by which a periodic report on Form 10- K or Form 10- Q, as
            the case may be, in respect of such information would have been required to be filed with the SEC, if we were
            subject to Section 13 or 15(d) of the Exchange Act, in each case, based on the dates on which we would be
            required to file such periodic reports if we were a “non- accelerated filer” within the meaning of the Exchange
            Act.

Listing     Our common stock and our Series C Preferred Stock each trade on the NYSE under the symbol “MILL” and
            “MILLprC,” respectively.

Use of      We plan to use the net proceeds from this offering for general corporate purposes. Please see the section
proceeds    entitled “Use of Proceeds” in this prospectus supplement.


S- 6




       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 117 of 125 PageID #:
                                            7562
Risk Factors        Investing in our preferred stock involves risks. You should carefully consider the risks described
                    under “Risk Factors” in this prospectus supplement, in our most recent Annual Report on Form 10- K
                    and our subsequent Quarterly Reports on Form 10- Q as well as the other information contained or
                    incorporated by reference in this prospectus supplement and the accompanying prospectus before
                    making a decision to invest in our common stock.

Material U.S.      For a discussion of the material federal income tax consequences of purchasing, owning and
Federal Income Tax disposing of the Series C Preferred Stock and any common stock purchased in this offering or
Considerations     received upon conversion of the Series C Preferred Stock, please see the section entitled “Material
                   Federal Income Tax Considerations.” You should consult your tax advisor with respect to the U.S.
                   federal income tax consequences of owning the Series C Preferred Stock in light of your own
                   particular situation and with respect to any tax consequences arising under the laws of any state, local,
                   foreign or other taxing jurisdiction.

Book- Entry and     The Series C Preferred Stock will be represented by one or more global certificates in definitive, fully
Form                registered form deposited with a custodian for, and registered in the name of, Cede & Co., the
                    nominee of The Depository Trust Company, or “DTC”. Purchases of our common stock will be
                    recorded in electronic form through DTC.


S- 7




       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 118 of 125 PageID #:
                                            7563
                                                    THE OFFERING

   The following is a brief summary of certain terms of this offering. For a more complete description of the terms of the
   Series D Preferred Stock, please see the sections entitled “Description of the Series D Preferred Stock” in this prospectus
   supplement and “Description of Capital Stock — Preferred Stock” in the accompanying prospectus.

Issuer                              Miller Energy Resources, Inc.

                                    Up to 3,000,000 shares of 10.5% Series D Fixed Rate/Floating Rate Cumulative
Securities Offered
                                    Redeemable Preferred Stock.

                                    MLV is not required to sell any specific number or dollar amount of our Series D
Commercially                        Preferred Stock, but has agreed to make all sales using commercially reasonable
Reasonable Efforts                  efforts consistent with its normal trading and sales practices on mutually agreed terms
                                    between MLV and us. See “Plan of Distribution” on page S−39.

                                    Holders of the Series D Preferred Stock will be entitled to receive cumulative cash
                                    dividends accruing: (i) from, and including, the date of original issuance to, but not
                                    including, December 1, 2018, at an initial annual rate of 10.5% per annum, based on
                                    the $25.00 per share liquidation preference (equivalent to $2.625 per annum per share
Dividends
                                    during that period); and (ii) from, and including, December 1, 2018 and thereafter, at
                                    an annual rate equal to the sum of (a) Three- Month LIBOR (as defined herein) as
                                    calculated on each applicable date of determination and (b) 9.073%, based on the
                                    $25.00 per share liquidation preference per annum.

                                    The term “Three- Month LIBOR” means, on any date of determination, the rate
                                    (expressed as a percentage per year) for deposits in U.S. dollars for a three- month
                                    period as appears on Bloomberg, L.P. page US0003M, as set by the British Bankers
                                    Association at 11:00 a.m. (London time) on such date of determination.

                                    Dividends will be payable quarterly on the first day of each December, March, June
                                    and September, provided that if any dividend payment date is not a business day, then
                                    the dividend which would have been payable on that dividend payment date will be
                                    paid on the next succeeding business day. Holders of Series D Preferred Stock will
                                    only be entitled to dividend payments for each quarterly dividend period during which
                                    they are the holder of record as of the applicable dividend record date. Dividends will
                                    accrue and be cumulative from, and including, the later of September 30, 2013 and
                                    the first day of the quarterly dividend period in which that issuance occurs; provided
                                    that if such shares of the Series D Preferred Stock are issued after a dividend record
                                    date, dividends will accrue and be cumulative from the first day of the next quarterly
                                    dividend period to begin. Accordingly, any shares of Series D Preferred Stock
                                    initially issued after the dividend record date for a quarterly dividend period (which is
                                    expected to be on or about the fifteenth of each month prior to the dividend payment
                                    date) will not be entitled to dividends for such quarterly dividend period.

                                    All dividends shall accrue daily during the relevant dividend period. For dividend
                                    periods beginning on and after December 1, 2018, Three- Month LIBOR shall each be
                                    determined on each dividend payment date, which determination will apply to each
                                    day during the dividend period. For the definition of “dividend payment date” and
                                    “dividend period” please see the section entitled “Description of Series D Preferred
                                    Stock — Dividends.”

                              The first dividend, payable on December 1, 2013 in the amount of $0.4448 per share,
                              will be paid to the persons who are the holders of record of the Series D Preferred
         Case 3:16-cv-00121-TAV-DCP      Document
                              Stock at the            121 on
                                           close of business Filed
                                                                the 04/19/19    Page
                                                                    corresponding       119
                                                                                   record    ofwhich
                                                                                          date, 125 will
                                                                                                       PageID
                                                                                                           be    #:
                                                            7564
                           November 15, 2013.

                           The Series D Preferred Stock has no stated maturity and will not be subject to any
                           sinking fund or mandatory redemption. Shares of the Series D Preferred Stock will
                           remain outstanding indefinitely unless we decide to redeem or otherwise repurchase
No Maturity
                           them as described below under “— Redemption — Optional Redemption” or
                           “— Special Optional Redemption.” We are not required to set aside funds to redeem
                           the Series D Preferred Stock.

S- 5




       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 120 of 125 PageID #:
                                            7565
             The Series D Preferred Stock is not redeemable until September 30, 2018, except as described below under
             “— Special Optional Redemption.” On and after September 30, 2018 we may, at our option, redeem the
Optional     Series D Preferred Stock, in whole or in part, at any time or from time to time, for cash at a redemption
Redemption   price equal to $25.00 per share, plus any accumulated and unpaid dividends to, but not including, the date
             fixed for redemption. See “Description of Series D Preferred Stock — Redemption — Optional
             Redemption.”

             Upon the occurrence of a Change of Control, provided no Limiting Document (as defined herein) may
             prohibit it, we may, at our option, upon not less than 30 nor more than 60 days’ written notice, redeem the
             Series D Preferred Stock, in whole or in part, within 120 days after the first date on which such Change of
             Control occurred, for cash at a redemption price of $25.00 per share, plus any accumulated and unpaid
             dividends to, but not including, the date fixed for redemption. If, prior to the Change of Control
Special
             Conversion Date (as defined herein), we have provided notice of our election to redeem some or all of the
Optional
             shares of Series D Preferred Stock (whether pursuant to our optional redemption right described above or
Redemption
             this special optional redemption right), the holders of Series D Preferred Stock will not have the Change of
             Control Conversion Right described below under “— Change of Control Conversion Rights” with respect
             to the shares of Series D Preferred Stock called for redemption. Please see the section entitled “Description
             of the Series D Preferred Stock — Redemption — Special Optional Redemption” in this prospectus
             supplement.

             A “Change of Control” is deemed to occur when, after the original issuance of the Series D Preferred
             Stock, the following have occurred and are continuing:

             •    the acquisition by any person, including any syndicate or group deemed to be a “person” under
             Section 13(d)(3) of the Securities Exchange Act of 1934, as amended, or the Exchange Act, of beneficial
             ownership, directly or indirectly, through a purchase, merger or other acquisition transaction or series of
             purchases, mergers or other acquisition transactions of our stock entitling that person to exercise more than
             50% of the total voting power of all our stock entitled to vote generally in the election of our directors
             (except that such person will be deemed to have beneficial ownership of all securities that such person has
             the right to acquire, whether such right is currently exercisable or is exercisable only upon the occurrence
             of a subsequent condition); and

S- 6




       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 121 of 125 PageID #:
                                            7566
              •    following the closing of any transaction referred to in the bullet point above, neither we nor the
              acquiring or surviving entity has a class of common securities (or American depositary receipts
              representing such securities) listed on a National Exchange. For the definition of “National Exchange”
              please see the section entitled “Description of Series D Preferred Stock — Dividends.”

              Upon the occurrence of a Change of Control, each holder of Series D Preferred Stock will have the right,
              subject to our election to redeem the Series D Preferred Stock in whole or part, as described above under
Conversion    “— Optional Redemption” or “— Special Optional Redemption,” prior to the Change of Control
Rights        Conversion Date, to convert some or all of the Series D Preferred Stock held by such holder on the Change
              of Control Conversion Date into a number of shares of our common stock per share of Series D Preferred
              Stock equal to the lesser of:

              •    the quotient obtained by dividing (i) the sum of the $25.00 liquidation preference per share of Series D
              Preferred Stock plus the amount of any accumulated and unpaid dividends thereon to, but not including, the
              Change of Control Conversion Date (unless the Change of Control Conversion Date is after a dividend
              record date (as defined herein) and prior to the corresponding dividend payment date (as defined herein) for
              the Series D Preferred Stock, in which case no additional amount for such accrued and unpaid dividends
              will be included in this sum) by (ii) the Common Stock Price (as defined herein); and

              •  7.1225 (the “Share Cap”), subject to adjustments to the Share Cap for any splits, subdivisions or
              combinations of our common stock;

              in each case, on the terms and subject to the conditions described in this prospectus supplement, including
              provisions for the receipt, under specified circumstances, of alternative consideration as described in this
              prospectus supplement.

              For definitions of “Change of Control Conversion Right,” “Change of Control Conversion Date” and
              “Common Stock Price” and a description of certain adjustments and provisions for the receipt of alternative
              consideration that may be applicable to the conversion of Series D Preferred Stock in the event of a Change
              of Control, and for other important information, please see the section entitled “Description of the Series D
              Preferred Stock — Conversion Rights.” For definitions of “dividend payment date” and “dividend record
              date,” please see the section entitled “Description of the Series D Preferred Stock — Dividends.”

            If we liquidate, dissolve or wind up, holders of the Series D Preferred Stock will have the right to receive
Liquidation $25.00 per share, plus any accumulated and unpaid dividends to, but not including, the date of payment,
Preference  before any payment is made to the holders of our common stock. Please see the section entitled
            “Description of the Series D Preferred Stock — Liquidation Preference.”

S- 7




       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 122 of 125 PageID #:
                                            7567
        The Series D Preferred Stock will rank, with respect to rights to the payment of dividends and the distribution of
        assets upon our liquidation, dissolution or winding up, (A) senior to all classes or series of our common stock
        and to all other equity securities issued by us other than equity securities referred to in clauses (B) and (C); (B)
        junior to our Series B Redeemable Preferred Stock, or Series B Preferred Stock, and junior to all equity
        securities issued by us which do not have dividend rights and with terms specifically providing that those equity
        securities rank senior to the Series D Preferred Stock with respect to rights to the distribution of assets upon our
Ranking
        liquidation, dissolution or winding up; (C) on parity with our 10.75% Series C Cumulative Redeemable
        Preferred Stock and all other equity securities issued by us with terms specifically providing that those equity
        securities rank on parity with the Series D Preferred Stock with respect to rights to the distribution of our assets
        upon liquidation, dissolution or winding up and (D) effectively junior to all of our existing and future
        indebtedness and to the indebtedness of our existing subsidiary and any future subsidiaries. Please see the
        section entitled “Description of the Series D Preferred Stock — Ranking.”

          Holders of Series D Preferred Stock will generally have no voting rights. However, if we do not pay dividends
          on the Series D Preferred Stock for four or more quarterly dividend periods (whether or not consecutive), the
          holders of the Series D Preferred Stock (voting separately as a class with the holders of all other classes or series
          of our equity securities we may issue upon which similar voting rights have been conferred and are exercisable
          and which are entitled to vote as a class with the Series D Preferred Stock in the election referred to below) will
          be entitled to vote for the election of two additional directors to serve on our board of directors until we pay, or
Voting    declare and set aside funds for the payment of, all dividends that we owe on the Series D Preferred Stock,
Rights    subject to certain limitations described in the section entitled “Description of the Series D Preferred
          Stock — Voting Rights.” In addition, the affirmative vote of the holders of at least two- thirds of the outstanding
          shares of Series D Preferred Stock is required for us to authorize or issue any class or series of stock ranking
          senior to the Series D Preferred Stock with respect to the payment of dividends or the distribution of assets on
          liquidation, dissolution or winding up, to amend any provision of our amended and restated charter, as amended,
          so as to materially and adversely affect any rights of the Series D Preferred Stock or to take certain other actions.
          Please see the section entitled “Description of the Series D Preferred Stock — Voting Rights.

S- 8




       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 123 of 125 PageID #:
                                            7568
                  During any period in which we are not subject to Section 13 or 15(d) of the Exchange Act and any
                  shares of Series D Preferred Stock are outstanding, we will use our best efforts to (i) transmit by
                  mail (or other permissible means under the Exchange Act) to all holders of Series D Preferred
                  Stock, as their names and addresses appear on our record books and without cost to such holders,
                  copies of the annual reports on Form 10- K and quarterly reports on Form 10- Q that we would
                  have been required to file with the SEC pursuant to Section 13 or 15(d) of the Exchange Act if we
                  were subject thereto (other than any exhibits that would have been required) and (ii) promptly,
Information
                  upon request, supply copies of such reports to any holders or prospective holder of Series D
Rights
                  Preferred Stock, subject to certain exceptions described in this prospectus supplement. We will use
                  our best efforts to mail (or otherwise provide) the information to the holders of the Series D
                  Preferred Stock within 15 days after the respective dates by which a periodic report on Form 10- K
                  or Form 10- Q, as the case may be, in respect of such information would have been required to be
                  filed with the SEC, if we were subject to Section 13 or 15(d) of the Exchange Act, in each case,
                  based on the dates on which we would be required to file such periodic reports if we were a “non-
                  accelerated filer” within the meaning of the Exchange Act.

Listing           Our Series D Preferred Stock trades on the NYSE under the symbol “MILLprD”.

                  We plan to use the net proceeds from this offering for general corporate purposes. To the extent we
                  are prohibited under the Apollo Loan Agreement from paying dividends due in connection with the
                  December 1, 2013 dividend payment date on our Series B Preferred Stock, Series C Preferred
                  Stock and Series D Preferred Stock from any other source, we may use certain equity proceeds for
Use of Proceeds   that purpose, which might include proceeds from this offering. We expect that the total amount of
                  the dividends due on December 1, 2013, will be approximately $2.46 million plus the amount of
                  all dividends that will become payable on or prior to that date on the Series D Preferred Stock
                  issued pursuant to this offering. Please see the section entitled “Use of Proceeds” in this prospectus
                  supplement.

S- 9




       Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 124 of 125 PageID #:
                                            7569
                  Investing in our preferred stock involves risks. You should carefully consider the risks described under
                  “Risk Factors” in this prospectus supplement, in our most recent Annual Report on Form 10- K and our
Risk Factors      subsequent Quarterly Reports on Form 10- Q as well as the other information contained or incorporated
                  by reference in this prospectus supplement and the accompanying prospectus before making a decision
                  to invest in our common stock.

                  For a discussion of the material federal income tax consequences of purchasing, owning and disposing
Material U.S.     of the Series D Preferred Stock and any common stock received upon conversion of the Series D
Federal Income    Preferred Stock, please see the section entitled “Material Federal Income Tax Considerations.” You
Tax               should consult your tax advisor with respect to the U.S. federal income tax consequences of owning the
Considerations    Series D Preferred Stock in light of your own particular situation and with respect to any tax
                  consequences arising under the laws of any state, local, foreign or other taxing jurisdiction.

                The Series D Preferred Stock will be represented by one or more global certificates in definitive, fully
Book- Entry and
                registered form deposited with a custodian for, and registered in the name of, Cede & Co., the nominee
Form
                of The Depository Trust Company, or “DTC”.

S- 10




        Case 3:16-cv-00121-TAV-DCP Document 121 Filed 04/19/19 Page 125 of 125 PageID #:
                                             7570
